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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

Christopher Ghio
Dinsmore & Shohl, LLP
655 W. Broadway Suite 800
San Diego, CA 92101
619−400−0500
619-400-0500




Plaintiff or
Plaintiff or Attorney for
                      for Plaintiff
                          Plaintiff

                                        UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA -− SANTA ANA
In re:

                                                                                        8:23−bk−10571−SC
                                                                              CASE NO.: 8:23-bk-10571-SC


The Litigation Practice Group P.C.                                            CHAPTER: 11



                                                                                                8:23−ap−01046−SC
                                                                              ADVERSARY NUMBER: 8:23-ap-01046-SC
                                                               Debtor(s).

Richard A. Marshack

                                                                                           ANOTHER
                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
Tony Diab                                                                            PROCEEDING [LBR 7004-1]
                                                                                                     7004−1]
(See Attachment A for names of additional defendants)
                                                           Defendant(s)



TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
                                            left−hand corner of this page. The deadline to file and serve a written response is
response on the party shown in the upper left-hand
07/24/2023. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                September 12, 2023
             Time:                01:30 PM
             Hearing Judge:       Scott C Clarkson
             Location:            411 W Fourth St., Crtrm 5C, Santa Ana, CA 92701



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                                                                          KATHLEEN JJ. CAMPBELL
                                                                                          CLERK OF COURT




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                                 ATTACHMENT A
                           Names of plaintiffs and defendants



Plaintiff(s):                               Defendant(s):
Richard A. Marshack                         Tony Diab
                                            Daniel S. March
                                            Rosa Bianca Loli
                                            Lisa Cohen
                                            William Taylor Carss
                                            Eng Tang
                                            Maria Eeya Tan
                                            Jake Akers
                                            Han Trinh
                                            Jayde Trinh
                                            Wes Thomas
                                            Scott James Eadie
                                            Jimmy Chhor
                                            Dongliang Jiang
                                            Oakstone Law Group PC
                                            Greyson Law Center PC
                                            Phoenix Law Group, Inc.
                                            Maverick Management, LLC
                                            LGS Holdco, LLC
                                            Consumer Legal Group, PC
                                            Vulcan Consulting Group LLC
                                            B.A.T. Inc.
                                            Prime Logix, LLC
                                            Teracel Blockchain Fund II LLC
                                            EPPS
                                            Equipay
                                            Authorize Net
                                            World Global
                                            Optimumbank Holdings, Inc.
                                            Marich Bein, LLC
                                            BankUnited, N.A.
                                            Revolv3, Inc.
                                            Fidelity National Information Services, Inc.
                                            Worldpay, Inc.
                                            Worldpay Group
                                            Merit Fund, LLC
                                            Guardian
                                            The United States Postal Service
                                            Fidelity National Information Services, Inc. dba FIS
                                            Worldpay, LLC
                                            Touzi Capital, LLC
                                            Heng Taing
                                            Eng Taing
                                            Stripe, Inc.
                                            Seamless Chex Inc.
                                            Phoenix Law, PC
                                            Payliance, LLC
                                            Optimumbank Holdings, Inc. dba Optimum Bank
                                            Maverick Management Group, LLC
                                            Guardian Processing, LLC
                                            Dwolla, Inc.
                                            Max Chou
                                            BAT Inc. dba Coast Processing
                                            Gallant Law Group
                                            Coast Processing
                                            Optimum Bank
                                            FIS
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                                                              ATTACHMENT A



                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceedhig.
                                                                             proceeding. My business address Is:
                                                                                                             is:




A true and correct copy of the foregoing
                               fcregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY
PROCEEDING [LBR 7004-11
                      7004−1] and (2) the accompanying pleading(s) entitled:
__________________________________________________________________________________________________________
__________________________________________________________________________________________________________
AI
will be served or was served (a) on the Judge
                                        judge in chambers in the form and manner required by LBR 5005-2(d);
                                                                                                 5005−2(d); and (b)
                                                                                                                (b) In
                                                                                                                    in the manner
stated below.
        below:

  7. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING CHEF):
  1.                                                                               (NEF): Pursuant to contrawa
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  Orders and LBR, the foregoing document AI
  Ciders                                                                               hyperlink to the document. On
                                            will be served by the court via NEF and hyperInk
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                      followhvg persons are on the Electronic Mal
  determined that the following                               Mail Notice List to rreceive
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                                                                                            NEF transmission at the emal
                                                                                                                     email
  addresses stated below:




                                                                       F Service information continued on attached page
  2. SERVED BY UNITED STATES MAIL:       MAIL On (date) _____________________, I served the followingfolowing persons and/or
  entities at the last known addresses in this bankruptcy case or adversary proceeding by pladng
  entitles                                                                                       placing a true and correct
  copy thereof in a sealed envelope in the United States mak mail, first class, postage prepaid, aid
                                                                                                 and addressed as folows.
                                                                                                                     follows.
  Listing the Judge
               judge here
                       here constitutes a declaration that maing
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  3. SERVED BY PERSONAL DELNERy, DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
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                                     served): Pursuant to F.R.Civ.P. 5 and/or oantrang
                                                                                  controlling LBR, on (date)
  _____________________, I served the folowhvg
                                           following persons and/or entitles
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  or (for those who consented in writing to such service methcd),
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   I declare under penalty of perjury under the laws of the United States that the foregdng
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                         UNITED STATES BANKRUPTCY COURT


                Early meeting of Counsel and Status Conference Instructions


   1. Service of Order. A copy of this Order re: Rule 26(f) Meeting, Initial Disclosures, and

Scheduling Conference must be served with the summons and complaint. The proof of service

of the summons and complaint must indicate that a copy of this order was served therewith.

   2. Local Bankruptcy Rule 7026-1. Compliance with Local Bankruptcy Rule 7026-1

(ALBR 7026-1") is required in ALL adversary proceedings.

   3. Rule 26(f) Meeting. Unless all defendants default, the parties must meet and confer

pursuant to Rule 26(f) of the Federal Rules of Civil Procedure (ARule 26(f) Meeting@) at least 21

days before the status conference date set forth in the summons. The status conference set

forth in the summons shall also serve as the initial Rule 16(b) Scheduling Conference in this

adversary proceeding.

       The parties are jointly responsible for arranging and attending the Rule 26(f) Meeting,

which may be conducted in person or by telephone. During the Rule 26(f) Meeting, the parties

must, at a minimum: (a) discuss the nature and basis of their claims and defenses and the

possibilities for a prompt settlement or resolution of the case; (b) make or arrange for the initial

disclosures required by Rule 26(a)(1); and ( c) develop a proposed discovery plan. The

discussion of claims and defenses must be substantive and meaningful. The parties are directed

to approach the Rule 26(f) Meeting cooperatively and in good faith.

   4. Initial Disclosures. Rule 26(a)(1) states that a party must, without awaiting discovery

request, provide to other parties:

           a. The name and, if known, the address and telephone number for each individual
              likely to have discoverable information - along with the subjects of that
              information - that the disclosing party may use to support its claims or defenses,
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               unless the use would be solely for impeachment.

           b. A copy of - or a description by category and location - of all documents,
              electronically stored information, and tangible things that the disclosing party has
              in its possession, custody, or control and may use to support its claims or
              defenses, unless the use would be solely for impeachment;

           c. A computation of each category of damages claimed by the disclosing party - who
              must also make available for inspection and copying under Rule 34 the documents
              or other evidentiary material, unless privileged or protected from disclosure, on
              which each computation is based, including materials bearing on the nature and
              extent of injuries suffered; and

           d. For inspection and copying as under Rule 34, any insurance agreement under
              which an insurance business may be liable to satisfy all or part of a possible
              judgment in the action or to indemnify or reimburse for payments made to satisfy
              the judgment.

F.R.Civ.P.26(a)(1)(A). Rule 26(a)(1) requires a party to make its initial disclosures based on the

information that is reasonably available to it. A party is not excused from making its disclosures

because it has not fully completed its investigation of the case or because it challenges the

sufficiency of another party=s disclosures or because another party has not made its disclosures.

F.R.Civ.P.26(a)(1)(E).

   5. Alternative Dispute Resolution (AADR@). The parties must explore the feasibility of

ADR to reach a settlement or early resolution of the adversary proceeding. The specific reasons

for any decision not to participate in a form of early ADR must be explained in the Joint Status

Report. If the parties elect not to participate in an early ADR effort, the Court may nonetheless

direct the parties to ADR before trial

   6. Discovery Plan. At the Rule 26(f) Meeting, the parties must also discuss issues about

preserving discoverable information and develop a proposed discovery plan. The discussion

regarding discovery following the initial disclosures must address the relevance of the discovery

sought and the sequence and timing of such discovery, including whether the discovery will be

conducted informally or formally. The deadlines in the discovery plan must be mutually
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agreeable, with a view to achieve resolution of the case with a minimum of expense and delay.

      7. Joint Status Report. A status report must be filed within the time frames specified

within LBR 7016-1(a)(2).       The Joint Status Report must contain the information set forth in

LBR 7016-1(a)(2), and a statement that the parties have completed the Rule 26(f) Meeting and

made the initial disclosures required by Rule 26(a)(1). The Joint Status Report shall also serve as

the written report of the Rule 26(f) Meeting. If Defendant(s) have not filed and served an answer

to the Complaint, a Unilateral Status report is due seven (7) days prior to the first status

conference hearing.

      8. Status Conference/Rule 16(b) Scheduling Conference. At the Rule 16(b) Scheduling

Conference, the Court will review the discovery plan set forth in the Joint Status Report and set

appropriate deadlines.

         Counsel representing any party in conjunction with the Rule 26(f) Meeting, Joint Status

Report, and Rule 16(b) Scheduling Conference must be authorized to bind the party on all

matters to be covered.

      9. Default. If no response to the complaint is timely filed, plaintiff should request entry of

default by the clerk prior to the status conference date set forth in the summons. F.R.Civ.P.55(a).

Plaintiff may also request entry of a default judgment by filing and serving an appropriate

motion. F.R.Civ.P.55(b)(2).

      10. Sanctions. Failure to comply with these instructions may subject the responsible

party and/or counsel to sanctions, which may include dismissal of the adversary

proceeding. The failure of either party to cooperate in the preparation of timely filing of a

Joint Status Report or appear at the status conference may result in the imposition of

sanctions under LBR 7016-1(f) or (g).

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   11. Joint Pre-Trial Order. Failure to timely file a Joint Pre-Trial order may subject the

responsible party and/or counsel to sanctions, which may include dismissal of the

adversary proceeding. The failure of either party to cooperate in the preparation of timely

filing of a Joint Pre-Trial Conference or appear at the Joint Pre-Trial Conference may

result in the imposition of sanctions under LBR 7016-1(f) or (g).

                                Honorable Scott C. Clarkson
                               United States Bankruptcy Judge
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 1
 1    Christopher B.
      Christopher  B. Ghio
                      Ghio (State
                           (State Bar
                                  Bar No.
                                      No. 259094)
                                          259094)
      Christopher Celentino
      Christopher  Celentino (State Bar No.
                             (State Bar No. 131688)
                                            131688)
 2
 2    Jonathan
      Jonathan Serrano  (State Bar
               Serrano (State  Bar No.
                                   No. 333225)
                                        333225)
      DINSMORE &
      DINSMORE      & SHOHL
                       SHOHL LLPLLP
 3
 3    655  West Broadway,
      655 West  Broadway, Suite
                            Suite 800
                                  800
      San  Diego, CA
      San Diego,  CA 92101
                      92101
 4
 4    Telephone:   619.400.0500
      Telephone: 619.400.0500
      Facsimile: 619.400.0501
      Facsimile:  619.400.0501
 55   christopher.ghio@dinsmore.com
      christopher.ghio@dinsmore.com
      christopher.celentino@dinsmore.com
      christopher.celentino@dinsmore.com
 66   jonathan.serrano@dinsmore.com
      jonathan.serrano@dinsmore.com
 7
 7    Proposed Special
      Proposed         Counsel to
               Special Counsel to Richard
                                  Richard A.
                                          A. Marshack,
                                             Marshack,
      Chapter 11
      Chapter 11 Trustee
                 Trustee
 88

 99
                                   UNITED STATES BANKRUPTCY
                                   UNITED STATES BANKRUPTCY COURT
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10
10
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                                    CENTRAL DISTRICT OF CALIFORNIA
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15
15                                                       Adv. Proc.
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16
16                                                       NOTICE OF
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17
17                                                       RULES OF
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18                                                       BANKRUPTCY   RULES
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19
       RICHARD A.
       RICHARD    A. MARSHACK,
                     MARSHACK,                           Status Conference
                                                         Status Conference
20
20     Chapter 11
       Chapter 11 Trustee,
                  Trustee,

                                Plaintiff,               Date:
                                                         Date:    August 15,
                                                                  August  15, 2023
                                                                              2023
21
21                              Plaintiff,
                                                         Time:
                                                         Time:    11:30 a.m.
                                                                  11:30 a.m.
22
22                         v.
                           v.                            Judge:
                                                         Judge:   Hon. Scott
                                                                  Hon.       C. Clarkson
                                                                       Scott C. Clarkson
                                                         Place:
                                                         Place:   Courtroom 5C
                                                                  Courtroom   5C
23
23     TONY DIAB,
       TONY    DIAB, anan individual;
                          individual; DANIEL
                                      DANIEL S. S.                411 West
                                                                  411       Fourth Street
                                                                      West Fourth  Street
       MARCH, an
       MARCH,     an individual;
                     individual; ROSA
                                  ROSA BIANCA
                                         BIANCA                   Santa Ana, CA
                                                                  Santa Ana,  CA 92701
                                                                                 92701
24
24     LOLI, an
       LOLI,  an individual;
                 individual; LISA
                              LISA COHEN,
                                    COHEN, an an
       individual; WILLIAM
       individual; WILLIAM TAYLOR          CARSS, an
                                TAYLOR CARSS,       an
25
25     individual; ENG
       individual; ENG TAING,
                          TAING, anan individual;
                                      individual;
       HENG TAING,
       HENG    TAING, an an individual;
                            individual; MARIA
                                        MARIA
26
26     EEYA TAN,
       EEYA   TAN, anan individual;
                         individual; JAKE   AKERS,
                                     JAKE AKERS,
       an individual;
       an individual; HAN
                      HAN TRINH,
                             TRINH, anan individual;
                                         individual;
27
27     JAYDE    TRINH, an
       JAYDE TRINH,       an individual;
                             individual; WES
                                         WES
       THOMAS, an
       THOMAS,     an individual;
                       individual; SCOTT
                                   SCOTT JAMES
                                            JAMES
28
28     EADIE, an
       EADIE,   an individual;
                   individual; JIMMY     CHHOR, an
                                JIMMY CHHOR,       an
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 1
 1    individual; DONGLIANG
      individual; DONGLIANG JIANG,        an
                                  JIANG, an
      individual; MAX
      individual; MAX CHOU,
                         CHOU, anan individual;
                                    individual;
 2
 2    OAKSTONE LAW
      OAKSTONE             GROUP PC;
                     LAW GROUP      PC;
      GREYSON LAW
      GREYSON      LAW CENTER
                         CENTER PC; PC; PHOENIX
                                        PHOENIX
 3
 3    LAW, PC;
      LAW,    PC; MAVERICK
                  MAVERICK MANAGEMENT
                                MANAGEMENT
      GROUP, LLC;
      GROUP,    LLC; LGS    HOLDCO, LLC;
                       LGS HOLDCO,      LLC;
 4
 4    CONSUMER LEGAL
      CONSUMER       LEGAL GROUP,
                              GROUP, P.C.;
                                        P.C.;
      VULCAN CONSULTING
      VULCAN      CONSULTING GROUP GROUP LLC;
                                            LLC;
 55   BAT INC.
      BAT         d/b/a COAST
            INC. d/b/a  COAST PROCESSING;
                                PROCESSING;
      PRIME LOGIX,
      PRIME    LOGIX, LLC;
                        LLC; TERACEL
                              TERACEL
 66   BLOCKCHAIN FUND
      BLOCKCHAIN        FUND IIII LLC; EPPS;
                                  LLC; EPPS;
      EQUIPAY; AUTHORIZE.NET;
      EQUIPAY;     AUTHORIZE.NET; WORLD WORLD
 77   GLOBAL; OPTINIUMBANK
      GLOBAL;     OPTIMUMBANK HOLDINGS,
                                      HOLDINGS,
      INC. d/b/a
      INC.  d/b/a OPTIMUM
                  OPTIMUM BANK;
                              BANK; MARICH
                                       MARICH
 88   BEIN, LLC;
      BEIN,         BANKUNITED, N.A.;
              LLC; BANKUNITED,        N.A.;
      REVOLV3, INC.;
      REVOLV3,     INC.; FIDELITY
                          FIDELITY NATIONAL
                                      NATIONAL
 99   INFORMATION SERVICES,
      INFORMATION        SERVICES, INC.     d/b/a
                                      INC. d/b/a
      FIS; WORLDPAY,
      FIS; WORLDPAY, LLC;  LLC; WORLDPAY
                                 WORLDPAY
10
10    GROUP; MERIT
      GROUP;    MERIT FUND,
                         FUND, LLC;
                                 LLC;
      GUARDIAN PROCESSING,
      GUARDIAN       PROCESSING, LLC;LLC;
11
11    PAYLIANCE, LLC;
      PAYLIANCE,            TOUZI CAPITAL,
                      LLC; TOUZI    CAPITAL,
      LLC; SEAMLESS
      LLC;   SEAMLESS CHEXCHEX INC;
                                  INC; DWOLLA,
                                       DWOLLA,
12
12    INC.; STRIPE,
      INC.;            INC.; and
             STRIPE, INC.;   and DOES
                                 DOES 11 through
                                          through
      100, inclusive,
      100, inclusive,
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14                   Defendants.
                     Defendants.

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 11   TO ALL DEFENDANTS:
      TO ALL DEFENDANTS:
 22         PLEASE TAKE
            PLEASE TAKE NOTICE
                        NOTICE that
                               that the
                                    the parties
                                        parties in the above-captioned
                                                in the above-captioned adversary
                                                                       adversary proceeding
                                                                                 proceeding

   are required
 3 are
 3     required to
                to comply
                   comply with
                          with Rule
                               Rule 7026
                                    7026 of
                                         of the
                                            the Federal
                                                Federal Rules
                                                        Rules of
                                                              of Bankruptcy
                                                                 Bankruptcy Procedure
                                                                            Procedure and
                                                                                      and Rule
                                                                                          Rule

 4 7026-1
 4        of the
   7026-1 of the Local Bankruptcy Rules
                 Local Bankruptcy Rules for the Central
                                        for the Central District
                                                        District of
                                                                 of California.
                                                                    California. A
                                                                                A true
                                                                                  true and
                                                                                       and correct
                                                                                           correct

    copy of
 55 copy of Rule
            Rule 7026
                 7026 of
                      of the
                         the Federal
                             Federal Rules
                                     Rules of
                                           of Bankruptcy
                                              Bankruptcy Procedure
                                                         Procedure is attached hereto
                                                                   is attached hereto as
                                                                                      as Exhibit
                                                                                         Exhibit 1.
                                                                                                 1.

    A true
 66 A true and
           and correct
               correct copy of Rule
                       copy of Rule 7026-1 of the
                                    7026-1 of the Local Bankruptcy Rules
                                                  Local Bankruptcy Rules for the Central
                                                                         for the Central District
                                                                                         District of
                                                                                                  of

    California is
 77 California is attached
                  attached hereto
                           hereto as
                                  as Exhibit
                                     Exhibit 2.
                                             2.

 88
    DATED: June
 99 DATED:      22, 2023
           June 22, 2023                          DINSMORE &
                                                  DINSMORE & SHOHL
                                                             SHOHL LLP
                                                                   LLP

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10
                                                  By:
                                                  By:   /s/
                                                        /s/ Jonathan
                                                            Jonathan Serrano
                                                                      Serrano
11
11                                                     Jonathan
                                                       Jonathan Serrano
                                                                  Serrano
                                                  Counsel to
                                                  Counsel  to Richard
                                                              Richard A.
                                                                      A. Marshack,
                                                                         Marshack,
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12
                                                  Chapter 11  Trustee
                                                  Chapter 11 Trustee
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                                Federal Rules of
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                                                                      and Official
                                                                          Official
Bankruptcy Forms > Part VII. Adversary Proceedings



Rule 7026. General Provisions Governing Discovery

         Rule 26 F.R.Civ.P. applies in adversary proceedings.


USCS Federal Rules Annotated
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                                Federal Rules of Civil Procedure > Title V. Disclosures and
                                              of Civil                                  and
Discovery


Rule 26. Duty to Disclose; General Provisions Governing Discovery

      (a) Required Disclosures.
         (1) Initial
             Initial Disclosure.
             (A) In General. Except as exempted by Rule 26(a)(1)(B) or as otherwise stipulated or ordered by
             the court, a party must, without awaiting a discovery request, provide to the other parties:
                 (I)
                 (i) the name and, if known, the address and telephone number of each individual likely to have
                 discoverable information—along with the subjects of that information—that the disclosing party
                 may use to support its claims or defenses, unless the use would be solely for impeachment;
                 (ii) a copy—or a description by category and location—of all documents, electronically stored
                 information, and tangible things that the disclosing party has in its possession, custody, or
                 control and may use to support its claims or defenses, unless the use would be solely for
                 impeachment;
                 (iii) a computation of each category of damages claimed by the disclosing party—who must
                 also make available for inspection and copying as under Rule 34 the documents or other
                 evidentiary material, unless privileged or protected from disclosure, on which each computation
                 is based, including materials bearing on the nature and extent of injuries suffered; and
                 (iv) for inspection and copying as under Rule 34, any insurance agreement under which an
                 insurance business may be liable to satisfy all or part of a possible judgment in the action or to
                 indemnify or reimburse for payments made to satisfy the judgment.
             (B) Proceedings Exempt from Initial Disclosure. The following proceedings are exempt from initial
             disclosure:
                 (i) an action for review on an administrative record;
                 (ii) a forfeiture action in rem arising from a federal statute;
                 (iii) a petition for habeas corpus or any other proceeding to challenge a criminal conviction or
                 sentence;
                 (iv) an action brought without an attorney by a person in the custody of the United States, a
                 state, or a state subdivision;
                 (v) an action to enforce or quash an administrative summons or subpoena;
                 (vi) an action by the United States to recover benefit payments;
                 (vii) an action by the United States to collect on a student loan guaranteed by the United
                 States;
                 (viii) a proceeding ancillary to a proceeding in another court; and
                 (ix) an action to enforce an arbitration award.
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         (C) Time for Initial Disclosures—In General. A party must make the initial disclosures at or within
         14 days after the parties'
                           parties’ Rule 26(f) conference unless a different time is set by stipulation or court
         order, or unless a party objects during the conference that initial disclosures are not appropriate in
         this action and states the objection in the proposed discovery plan. In ruling on the objection, the
         court must determine what disclosures, if any, are to be made and must set the time for disclosure.
         (D) Time for Initial Disclosures—For Parties Served or Joined Later. A party that is first served or
         otherwise joined after the Rule 26(f) conference must make the initial disclosures within 30 days
         after being served or joined, unless a different time is set by stipulation or court order.
         (E) Basis for Initial Disclosure; Unacceptable Excuses. A party must make its initial disclosures
         based on the information then reasonably available to it. A party is not excused from making its
         disclosures because it has not fully investigated the case or because it challenges the sufficiency of
         another party's
                 party’s disclosures or because another party has not made its disclosures.
      (2) Disclosure of
                     of Expert Testimony.
                               Testimony.
         (A) In General. In addition to the disclosures required by Rule 26(a)(1), a party must disclose to
         the other parties the identity of any witness it may use at trial to present evidence under Federal
                                                                                                     Federal
         Rule of
              of Evidence 702, 703, or 705.
         (B) Witnesses Who Must Provide a Written Report. Unless otherwise stipulated or ordered by the
         court, this disclosure must be accompanied by a written report—prepared and signed by the
         witness—if the witness is one retained or specially employed to provide expert testimony in the
                                           party's employee regularly involve giving expert testimony. The
         case or one whose duties as the party’s
         report must contain:
             (I)
             (i) a complete statement of all opinions the witness will express and the basis and reasons for
             them;
             (ii) the facts or data considered by the witness in forming them;
             (iii) any exhibits that will be used to summarize or support them;
             (iv) the witness's
                      witness’s qualifications, including a list of all publications authored in the previous 10
             years;
             (v) a list of all other cases in which, during the previous 4 years, the witness testified as an
             expert at trial or by deposition; and
             (vi) a statement of the compensation to be paid for the study and testimony in the case.
         (C) Witnesses Who Do Not Provide a Written Report. Unless otherwise stipulated or ordered by
         the court, if the witness is not required to provide a written report, this disclosure must state:
             (i) the subject matter on which the witness is expected to present evidence under Federal
             (I)                                                                               Federal Rule
             of
             of Evidence 702, 703, or 705; and
             (ii) a summary of the facts and opinions to which the witness is expected to testify.
         (D) Time to Disclose Expert Testimony. A party must make these disclosures at the times and in
         the sequence that the court orders. Absent a stipulation or a court order, the disclosures must be
         made:
             (i) at least 90 days before the date set for trial or for the case to be ready for trial; or
             (I)
             (ii) if the evidence is intended solely to contradict or rebut evidence on the same subject
             matter identified by another party under Rule 26(a)(2)(B) or (C), within 30 days after the other
             party's
             party’s disclosure.
         (E) Supplementing the Disclosure. The parties must supplement these disclosures when required
         under Rule 26(e).
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      (3) Pretrial
      (3) Pretrial Disclosures.
          (A) In General. In addition to the disclosures required by Rule 26(a)(1) and (2), a party must
          provide to the other parties and promptly file the following information about the evidence that it
          may present at trial other than solely for impeachment:
              (i) the name and, if not previously provided, the address and telephone number of each
              witness—separately identifying those the party expects to present and those it may call if the
              need arises;
              (ii) the designation of those witnesses whose testimony the party expects to present by
              deposition and, if not taken stenographically, a transcript of the pertinent parts of the
              deposition; and
              (iii) an identification of each document or other exhibit, including summaries of other
              evidence—separately identifying those items the party expects to offer and those it may offer if
              the need arises.
          (B) Time for Pretrial Disclosures; Objections. Unless the court orders otherwise, these disclosures
          must be made at least 30 days before trial. Within 14 days after they are made, unless the court
          sets a different time, a party may serve and promptly file a list of the following objections: any
          objections to the use under Rule 32(a) of a deposition designated by another party under Rule
          26(a)(3)(A)(ii); and any objection, together with the grounds for it, that may be made to the
          admissibility of materials identified under Rule 26(a)(3)(A)(iii). An objection not so made—except
          for one under Federal
                          Federal Rule of
                                        of Evidence 402 or 403—is waived unless excused by the court for
          good cause.
      (4) Form ofof Disclosures. Unless the court orders otherwise, all disclosures under Rule 26(a) must be in
      writing, signed, and served.
   (b) Discovery Scope and Limits.
      (1) Scope in General. Unless otherwise limited by court order, the scope of discovery is as follows:
      Parties may obtain discovery regarding any nonprivileged matter that is relevant to any party’s
                                                                                                 party's claim or
      defense and proportional to the needs of the case, considering the importance of the issues at stake in
                                                 parties’ relative access to relevant information, the parties'
      the action, the amount in controversy, the parties'                                              parties’
      resources, the importance of the discovery in resolving the issues, and whether the burden or expense
      of the proposed discovery outweighs its likely benefit. Information within this scope of discovery need
      not be admissible in evidence to be discoverable.
      (2) Limitations on Frequency and
                                   and Extent.
          (A) When Permitted. By order, the court may alter the limits in these rules on the number of
          depositions and interrogatories or on the length of depositions under Rule 30. By order or local rule,
          the court may also limit the number of requests under Rule 36.
          (B) Specific Limitations on Electronically Stored Information. A party need not provide discovery of
          electronically stored information from sources that the party identifies as not reasonably accessible
          because of undue burden or cost. On motion to compel discovery or for a protective order, the
          party from whom discovery is sought must show that the information is not reasonably accessible
          because of undue burden or cost. If that showing is made, the court may nonetheless order
          discovery from such sources if the requesting party shows good cause, considering the limitations
          of Rule 26(b)(2)(C). The court may specify conditions for the discovery.
          (C) When Required. On motion or on its own, the court must limit the frequency or extent of
          discovery otherwise allowed by these rules or by local rule if it determines that:
              (i) the discovery sought is unreasonably cumulative or duplicative, or can be obtained from
              (I)
              some other source that is more convenient, less burdensome, or less expensive;
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              (ii) the party seeking discovery has had ample opportunity to obtain the information by
              discovery in the action; or
              (iii) the proposed discovery is outside the scope permitted by Rule 26(b)(1).
          Trial Preparation: Materials.
      (3) Trial
      (3)
          (A) Documents and Tangible Things. Ordinarily, a party may not discover documents and tangible
          things that are prepared in anticipation of litigation or for trial by or for another party or its
                                              party’s attorney, consultant, surety, indemnitor, insurer, or
          representative (including the other party's
          agent). But, subject to Rule 26(b)(4), those materials may be discovered if:
              (i) they are otherwise discoverable under Rule 26(b)(1); and
              (I)
              (ii) the party shows that it has substantial need for the materials to prepare its case and
              cannot, without undue hardship, obtain their substantial equivalent by other means.
          (B) Protection Against Disclosure. If the court orders discovery of those materials, it must protect
          against disclosure of the mental impressions, conclusions, opinions, or legal theories of a party’s
                                                                                                      party's
          attorney or other representative concerning the litigation.
          (C) Previous Statement. Any party or other person may, on request and without the required
          showing, obtain the person's
                               person’s own previous statement about the action or its subject matter. If the
          request is refused, the person may move for a court order, and Rule 37(a)(5) applies to the award
          of expenses. A previous statement is either:
              (i) a written statement that the person has signed or otherwise adopted or approved; or
              (I)
              (ii) a contemporaneous stenographic, mechanical, electrical, or other recording—or a
                                                                          person’s oral statement.
              transcription of it—that recites substantially verbatim the person's
      (4) Trial
          Trial Preparation: Experts.
          (A) Deposition of an Expert Who May Testify. A party may depose any person who has been
          identified as an expert whose opinions may be presented at trial. If Rule 26(a)(2)(B) requires a
          report from the expert, the deposition may be conducted only after the report is provided.
          (B) Trial-Preparation Protection for Draft Reports or Disclosures. Rules 26(b)(3)(A) and (B) protect
          drafts of any report or disclosure required under Rule 26(a)(2), regardless of the form in which the
          draft is recorded.
          (C) Trial-Preparation Protection for Communications Between a Party's
                                                                           Party’s Attorney and Expert
          Witnesses. Rules 26(b)(3)(A) and (B) protect communications between the party’s
                                                                                       party's attorney and any
          witness required to provide a report under Rule 26(a)(2)(B), regardless of the form of the
          communications, except to the extent that the communications:
              (i) relate to compensation for the expert's
              (I)                                expert’s study or testimony;
              (ii) identify facts or data that the party's
                                                   party’s attorney provided and that the expert considered in
              forming the opinions to be expressed; or
              (iii) identify assumptions that the party’s
                                                  party's attorney provided and that the expert relied on in
              forming the opinions to be expressed.
          (D) Expert Employed Only for Trial Preparation. Ordinarily, a party may not, by interrogatories or
          deposition, discover facts known or opinions held by an expert who has been retained or specially
          employed by another party in anticipation of litigation or to prepare for trial and who is not expected
          to be called as a witness at trial. But a party may do so only:
              (I)
              (i) as provided in Rule 35(b); or
              (ii) on showing exceptional circumstances under which it is impracticable for the party to obtain
              facts or opinions on the same subject by other means.
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          (E) Payment. Unless manifest injustice would result, the court must require that the party seeking
          discovery:
              (i) pay the expert a reasonable fee for time spent in responding to discovery under Rule
              (I)
              26(b)(4)(A) or (D); and
              (ii) for discovery under (D), also pay the other party a fair portion of the fees and expenses it
              reasonably incurred in obtaining the expert's
                                                    expert’s facts and opinions.
      (5) Claiming Privilege or
                             or Protecting Trial-Preparation
                                           Trial-Preparation Materials.
          (A) Information Withheld. When a party withholds information otherwise discoverable by claiming
          that the information is privileged or subject to protection as trial-preparation material, the party
          must:
              (i) expressly make the claim; and
              (ii) describe the nature of the documents, communications, or tangible things not produced or
              disclosed—and do so in a manner that, without revealing information itself privileged or
              protected, will enable other parties to assess the claim.
          (B) Information Produced. If information produced in discovery is subject to a claim of privilege or
          of protection as trial-preparation material, the party making the claim may notify any party that
          received the information of the claim and the basis for it. After being notified, a party must promptly
          return, sequester, or destroy the specified information and any copies it has; must not use or
          disclose the information until the claim is resolved; must take reasonable steps to retrieve the
          information if the party disclosed it before being notified; and may promptly present the information
          to the court under seal for a determination of the claim. The producing party must preserve the
          information until the claim is resolved.
   (c) Protective Orders.
      (1) In General. A party or any person from whom discovery is sought may move for a protective order
      in the court where the action is pending — or as an alternative on matters relating to a deposition, in
      the court for the district where the deposition will be taken. The motion must include a certification that
      the movant has in good faith conferred or attempted to confer with other affected parties in an effort to
      resolve the dispute without court action. The court may, for good cause, issue an order to protect a
      party or person from annoyance, embarrassment, oppression, or undue burden or expense, including
      one or more of the following:
          (A) forbidding the disclosure or discovery;
          (B) specifying terms, including time and place or the allocation of expenses, for the disclosure or
          discovery;
          (C) prescribing a discovery method other than the one selected by the party seeking discovery;
          (D) forbidding inquiry into certain matters, or limiting the scope of disclosure or discovery to certain
          matters;
          (E) designating the persons who may be present while the discovery is conducted;
          (F) requiring that a deposition be sealed and opened only on court order;
          (G) requiring that a trade secret or other confidential research, development, or commercial
          information not be revealed or be revealed only in a specified way; and
          (H) requiring that the parties simultaneously file specified documents or information in sealed
          envelopes, to be opened as the court directs.
      (2) Ordering Discovery. If a motion for a protective order is wholly or partly denied, the court may, on
      just terms, order that any party or person provide or permit discovery.
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      (3) Awarding Expenses. Rule 37(a)(5) applies to the award of expenses.
   (d) Timing and Sequence of Discovery.
      (1) Timing. A party may not seek discovery from any source before the parties have conferred as
      required by Rule 26(f), except in a proceeding exempted from initial disclosure under Rule 26(a)(1)(B),
      or when authorized by these rules, by stipulation, or by court order.
      (2) Early
          Early Rule 34 Requests.
          (A) Time to Deliver. More than 21 days after the summons and complaint are served on a party, a
          request under Rule 34 may be delivered:
              (i) to that party by any other party, and
              (I)
              (ii) by that party to any plaintiff or to any other party that has been served.
          (B) When Considered Served. The request is considered to have been served at the first Rule
          26(f) conference.
      (3) Sequence. Unless the parties stipulate or the court orders otherwise for the parties’
                                                                                       parties' and witnesses’
                                                                                                    witnesses'
      convenience and in the interests of justice:
          (A) methods of discovery may be used in any sequence; and
          (B) discovery by one party does not require any other party to delay its discovery.
   (e) Supplementing Disclosures and Responses.
      (1) In General. A party who has made a disclosure under Rule 26(a)—or who has responded to an
      interrogatory, request for production, or request for admission—must supplement or correct its
      disclosure or response:
          (A) in a timely manner if the party learns that in some material respect the disclosure or response
          is incomplete or incorrect, and if the additional or corrective information has not otherwise been
          made known to the other parties during the discovery process or in writing; or
          (B) as ordered by the court.
      (2) Expert Witness. For an expert whose report must be disclosed under Rule 26(a)(2)(B), the party’s
                                                                                                      party's
      duty to supplement extends both to information included in the report and to information given during
          expert’s deposition. Any additions or changes to this information must be disclosed by the time the
      the expert's
      party’s pretrial disclosures under Rule 26(a)(3) are due.
      party's
   (f) Conference of the Parties; Planning for Discovery.
      (1) Conference Timing. Except in a proceeding exempted from initial disclosure under Rule 26(a)(1)(B)
      or when the court orders otherwise, the parties must confer as soon as practicable—and in any event
      at least 21 days before a scheduling conference is held or a scheduling order is due under Rule 16(b).
      (2) Conference Content; Parties'
                                 Parties’ Responsibilities. In conferring, the parties must consider the nature
      and basis of their claims and defenses and the possibilities for promptly settling or resolving the case;
      make or arrange for the disclosures required by Rule 26(a)(1); discuss any issues about preserving
      discoverable information; and develop a proposed discovery plan. The attorneys of record and all
      unrepresented parties that have appeared in the case are jointly responsible for arranging the
      conference, for attempting in good faith to agree on the proposed discovery plan, and for submitting to
      the court within 14 days after the conference a written report outlining the plan. The court may order the
      parties or attorneys to attend the conference in person.
          Discovery Plan. A discovery plan must state the parties'
      (3) Discovery                                       parties’ views and proposals on:
          (A) what changes should be made in the timing, form, or requirement for disclosures under Rule
          26(a), including a statement of when initial disclosures were made or will be made;
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                (B) the subjects on which discovery may be needed, when discovery should be completed, and
                whether discovery should be conducted in phases or be limited to or focused on particular issues;
                (C) any issues about disclosure, discovery, or preservation of electronically stored information,
                including the form or forms in which it should be produced;
                (D) any issues about claims of privilege or of protection as trial-preparation materials, including —
                if the parties agree on a procedure to assert these claims after production — whether to ask the
                                                                    Federal Rule of
                court to include their agreement in an order under Federal         of Evidence 502;
                (E) what changes should be made in the limitations on discovery imposed under these rules or by
                local rule, and what other limitations should be imposed; and
                (F) any other orders that the court should issue under Rule 26(c) or under Rule 16(b) and (c).
                Expedited Schedule. If necessary to comply with its expedited schedule for Rule 16(b)
            (4) Expedited
            conferences, a court may by local rule:
                                parties’ conference to occur less than 21 days before the scheduling conference is
                (A) require the parties'
                held or a scheduling order is due under Rule 16(b); and
                (B) require the written report outlining the discovery plan to be filed less than 14 days after the
                parties’ conference, or excuse the parties from submitting a written report and permit them to report
                parties'
                orally on their discovery plan at the Rule 16(b) conference.
        (g) Signing Disclosures and Discovery Requests, Responses, and Objections.
            (1) Signature Required; Effect of
                                           of Signature. Every disclosure under Rule 26(a)(1) or (a)(3) and every
            discovery request, response, or objection must be signed by at least one attorney of record in the
            attorney’s own name—or by the party personally, if unrepresented—and must state the signer’s
            attorney's                                                                              signer's
            address, e-mail address, and telephone number. By signing, an attorney or party certifies that to the
                        person’s knowledge, information, and belief formed after a reasonable inquiry:
            best of the person's
                (A) with respect to a disclosure, it is complete and correct as of the time it is made; and
                (B) with respect to a discovery request, response, or objection, it is:
                    (i) consistent with these rules and warranted by existing law or by a nonfrivolous argument for
                    (I)
                    extending, modifying, or reversing existing law, or for establishing new law;
                    (ii) not interposed for any improper purpose, such as to harass, cause unnecessary delay, or
                    needlessly increase the cost of litigation; and
                    (iii) neither unreasonable nor unduly burdensome or expensive, considering the needs of the
                    case, prior discovery in the case, the amount in controversy, and the importance of the issues
                    at stake in the action.
            (2) Failure to Sign. Other parties have no duty to act on an unsigned disclosure, request, response, or
            objection until it is signed, and the court must strike it unless a signature is promptly supplied after the
                                        attorney’s or party's
            omission is called to the attorney's      party’s attention.
            (3) Sanction for  Improper Certification. If a certification violates this rule without substantial justification,
                          for Improper
            the court, on motion or on its own, must impose an appropriate sanction on the signer, the party on
            whose behalf the signer was acting, or both. The sanction may include an order to pay the reasonable
            expenses, including attorney's
                                 attorney’s fees, caused by the violation.

History

Amended Dec. 27, 1946, eff. March 19, 1948; Jan. 21, 1963, eff. July 1, 1963; Feb. 28, 1966, eff. July 1, 1966;
March 30, 1970, eff. July 1, 1970; Apr. 29, 1980, eff. Aug. 1, 1980; Apr. 28, 1983, eff. Aug. 1, 1983; March 2, 1987,
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eff. Aug. 1, 1987; Dec. 1, 1993; Dec. 1, 2000; Dec. 1, 2006; Dec. 1, 2007; As amended April 28, 2010, eff. Dec. 1,
2010; April 29, 2015, eff. Dec. 1, 2015.

USCS Federal Rules Annotated
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      (2)
      (2)   Other Parties.
            Other  Parties. Any
                              Any party
                                    party other    than plaintiff
                                            other than    plaintiff who
                                                                     who has has not   received plaintiffs
                                                                                  not received    plaintiff’s
            proposed pretrial
            proposed   pretrial stipulation
                                stipulation within
                                             within the
                                                      the time
                                                           time limits     set forth
                                                                  limits set          in subsection
                                                                               forth in   subsection (c)   of
                                                                                                       (c) of
            this rule
            this      must prepare,
                 rule must  prepare, file,  and serve
                                      file, and  serve at
                                                        at least   14 days
                                                            least 14          prior to
                                                                      days prior    to the
                                                                                        the trial
                                                                                            trial or
                                                                                                  or pretrial
                                                                                                     pretrial
            conference,
            conference, ifif one
                             one isis ordered,
                                      ordered, aa declaration       attesting to
                                                     declaration attesting       to plaintiffs
                                                                                     plaintiff’s failure   to
                                                                                                  failure to
            prepare and
            prepare  and serve
                         serve aa proposed
                                  proposed pretrial
                                              pretrial stipulation
                                                       stipulation inin aa timely
                                                                           timely manner.
                                                                                   manner.

(f)
(f)   Sanctions for
      Sanctions   for Failure
                       Failure toto Comply    with Rule.
                                     Comply with    Rule. In   addition to
                                                           In addition    to the
                                                                             the sanctions
                                                                                 sanctions authorized
                                                                                            authorized
      by F.R.Civ.P.
      by  F.R.Civ.P. 16(f),
                        16(f), if
                                if aa status
                                      status conference
                                             conference statement
                                                          statement or or aa joint
                                                                              joint proposed
                                                                                    proposed pretrial
                                                                                               pretrial
      stipulation is
      stipulation is not
                     not filed
                          filed or
                                or lodged
                                   lodged within
                                           within the
                                                  the times
                                                      times set
                                                             set forth in subsections
                                                                 forth in  subsections (a),
                                                                                       (a), (b),
                                                                                            (b), or
                                                                                                 or (e),
                                                                                                    (e),
      respectively, of
      respectively,  of this
                        this rule,
                             rule, the
                                   the court may order
                                       court may  order one
                                                        one or
                                                             or more
                                                                more ofof the
                                                                          the following:
                                                                              following:

      (1)
      (1)   A continuance
            A  continuance of
                           of the
                              the trial
                                  trial date,
                                        date, if
                                              if no
                                                 no prejudice
                                                    prejudice is
                                                              is involved
                                                                 involved to
                                                                          to the
                                                                             the party
                                                                                 party who
                                                                                       who is
                                                                                           is not
                                                                                              not
            at fault;
            at fault;

      (2)
      (2)   Entry of
            Entry  of aa pretrial
                         pretrial order
                                  order based
                                        based conforming
                                              conforming party's
                                                         party’s proposed
                                                                 proposed description of the
                                                                          description of the
            facts and law;
            facts and law;

      (3)
      (3)   An award
            An  award ofof monetary
                           monetary sanctions
                                     sanctions including    attorneys’ fees
                                                 including attorneys'        against the
                                                                        fees against the party
                                                                                         party at
                                                                                               at
            fault and/or counsel,
            fault and/or          payable to
                         counsel, payable to the
                                             the party
                                                 party not at fault;
                                                       not at        and/or
                                                              fault; and/or

      (4)
      (4)   An award
            An  award of
                      of non-monetary
                         non-monetary sanctions
                                        sanctions against
                                                   against the
                                                           the party
                                                                party at
                                                                      at fault
                                                                         fault including entry of
                                                                               including entry of
            judgment of
            judgment of dismissal
                         dismissal or
                                   or the
                                      the entry
                                          entry of
                                                of an
                                                   an order
                                                      order striking
                                                             striking the
                                                                      the answer
                                                                          answer and
                                                                                   and entering
                                                                                       entering aa
            default.
            default.

(g)
(g)   Failure to Appear
      Failure to  Appear at at Hearing
                                Hearing oror Prepare
                                              Prepare forfor Trial.  The failure
                                                             Trial. The           of aa party's
                                                                          failure of    party’s counsel
                                                                                                  counsel
      (or the
      (or the party,
              party, if
                      if not
                         not represented
                              represented byby counsel)
                                                 counsel) to
                                                           to appear
                                                               appear before
                                                                       before the
                                                                               the court
                                                                                   court atat the
                                                                                               the status
                                                                                                    status
      conference or
      conference  or pretrial
                     pretrial conference,
                               conference, or
                                            or to
                                                to complete
                                                   complete the
                                                              the necessary
                                                                  necessary preparations
                                                                             preparations therefor,
                                                                                             therefor, or
                                                                                                        or
      to appear
      to appear at
                at or
                   or to
                       to be
                          be prepared
                             prepared for
                                        for trial
                                            trial may
                                                  may bebe considered
                                                           considered anan abandonment
                                                                           abandonment or   or failure  to
                                                                                                failure to
      prosecute or
      prosecute  or defend
                     defend diligently,
                              diligently, and
                                           and judgment
                                                 judgment may
                                                            may bebe entered
                                                                      entered against
                                                                                against the
                                                                                         the defaulting
                                                                                              defaulting
      party either
      party either with
                    with respect
                           respect to
                                    to aa specific
                                          specific issue
                                                     issue or
                                                            or as
                                                                as to
                                                                   to the
                                                                      the entire
                                                                           entire proceeding,
                                                                                   proceeding, or  or the
                                                                                                       the
      proceeding may
      proceeding  may bebe dismissed.
                            dismissed.

LBR 7026-1.
LBR 7026-1. DISCOVERY
            DISCOVERY

(a)
(a)   General.   Compliance with
      General. Compliance   with FRBP
                                 FRBP 7026 and this
                                      7026 and this rule
                                                    rule is required in
                                                         is required in all
                                                                        all adversary
                                                                            adversary
      proceedings.
      proceedings.

      (1)
      (1)   Notice. The
            Notice.     plaintiff must
                    The plaintiff must serve
                                       serve with
                                              with the
                                                    the summons
                                                         summons andand complaint
                                                                        complaint aa notice
                                                                                     notice that
                                                                                            that
            compliance with FRBP   7026 and  this rule is required.
            compliance with FRBP 7026 and this rule is required.

      (2)
      (2)   Proof of
            Proof of Service.
                     Service. The   plaintiff must
                               The plaintiff  must file
                                                   file aa proof
                                                           proof of
                                                                 of service
                                                                    service of
                                                                            of this
                                                                               this notice together
                                                                                    notice together
            with the
            with the proof
                     proof of
                           of service
                              service of
                                      of the
                                         the summons
                                             summons and and complaint.
                                                             complaint.

(b)
(b)   Discovery Conference
      Discovery            and Disclosures.
                Conference and Disclosures.

      (1)
      (1)   Conference of
            Conference   of Parties.
                            Parties. Unless
                                     Unless all
                                             all defendants
                                                 defendants default,
                                                            default, the
                                                                     the parties
                                                                         parties must
                                                                                 must conduct
                                                                                        conduct the
                                                                                                 the
            meeting and
            meeting  and exchange
                          exchange thethe information
                                          information required
                                                       required by
                                                                by FRBP
                                                                     FRBP 7026
                                                                            7026 within
                                                                                   within the
                                                                                           the time
                                                                                               time
            limits set forth
            limits set       therein. Unless
                       forth therein.   Unless otherwise
                                                otherwise ordered,
                                                          ordered, the
                                                                     the initial status conference
                                                                         initial status  conference

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            constitutes the
            constitutes  the "scheduling
                              “scheduling conference"
                                          conference” referred
                                                      referred to
                                                               to in
                                                                  in FRCP
                                                                     FRCP 26(f)(1)
                                                                          26(f)(1)
            (incorporated by
            (incorporated by FRBP
                             FRBP 7026).
                                   7026).

      (2)
      (2)   Joint
            Joint Status  Report. Within
                  Status Report.   Within 77 days  after such
                                              days after such meeting,
                                                              meeting, the
                                                                         the parties
                                                                             parties must
                                                                                     must prepare
                                                                                          prepare aa
            joint status
            joint status report
                         report containing  the information
                                containing the  information set
                                                             set forth
                                                                 forth in  LBR 7016-1(a)(2).
                                                                        in LBR  7016-1(a)(2). The
                                                                                               The
            joint status
            joint status report
                         report will
                                will serve
                                     serve as
                                           as the
                                              the written
                                                  written report
                                                          report of
                                                                 of the
                                                                    the meeting
                                                                        meeting required
                                                                                 required by
                                                                                          by FRBP
                                                                                             FRBP
            7026.
            7026.

(c)
(c)   Failure to Make
      Failure to      Disclosures or
                 Make Disclosures or Cooperate
                                     Cooperate in
                                               in Discovery.
                                                  Discovery.

      (1)
      (1)   General. Unless
            General. Unless excused
                            excused from
                                      from complying   with this
                                            complying with  this rule
                                                                 rule by
                                                                      by order
                                                                         order of
                                                                               of the
                                                                                  the court
                                                                                      court for
                                                                                            for
            good cause
            good cause shown,
                        shown, aa party
                                  party must
                                        must seek
                                             seek to
                                                  to resolve
                                                     resolve any
                                                              any dispute
                                                                  dispute arising
                                                                          arising under
                                                                                  under FRBP
                                                                                        FRBP
            7026-7037  or FRBP
            7026-7037 or  FRBP 2004   in accordance
                                 2004 in accordance with
                                                    with this
                                                         this rule.
                                                              rule.

      (2)
      (2)   Meeting of
            Meeting   of Parties.
                          Parties. Prior
                                    Prior to
                                          to the
                                              the filing
                                                  filing of
                                                         of any
                                                              any motion
                                                                    motion relating
                                                                             relating toto discovery,
                                                                                            discovery, the
                                                                                                        the
            parties must meet in person or by telephone in a good faith effort to resolve aa
            parties must   meet  in  person  or by  telephone     in  a good   faith  effort  to resolve
            discovery  dispute. It
            discovery dispute.        is the
                                   It is the responsibility
                                              responsibility of of the
                                                                    the moving
                                                                         moving party
                                                                                   party toto arrange
                                                                                               arrange the
                                                                                                        the
            conference.   Unless altered
            conference. Unless    altered by
                                          by agreement
                                              agreement ofof the
                                                               the parties
                                                                    parties or
                                                                            or by
                                                                               by order
                                                                                   order of
                                                                                          of the
                                                                                              the court
                                                                                                  court for
                                                                                                        for
            cause  shown, the
            cause shown,   the opposing    party must
                                opposing party    must meet
                                                        meet with
                                                                with the
                                                                      the moving
                                                                          moving party
                                                                                     party within
                                                                                            within 77 days
                                                                                                      days
            of service
            of service upon     the opposing
                         upon the    opposing party
                                                 party of
                                                        of aa letter
                                                                letter requesting     such meeting
                                                                        requesting such      meeting and
                                                                                                       and
            specifying the
            specifying  the terms
                            terms of
                                   of the
                                      the discovery
                                          discovery order
                                                      order to
                                                             to be
                                                                 be sought.
                                                                     sought.

      (3)
      (3)   Moving Papers.
            Moving   Papers. If   the parties
                               If the parties are
                                              are unable
                                                  unable to
                                                         to resolve
                                                            resolve the
                                                                    the dispute,
                                                                        dispute, the
                                                                                 the party
                                                                                     party seeking
                                                                                           seeking
            discovery must
            discovery   must file    and serve
                               file and   serve aa notice
                                                    notice of
                                                            of motion
                                                                motion together
                                                                        together with
                                                                                   with aa written
                                                                                            written
            stipulation by
            stipulation by the
                           the parties.
                                parties.

            (A) The
            (A)      stipulation must
                The stipulation   must bebe contained   in 11 document
                                             contained in      document and
                                                                          and must
                                                                               must identify,
                                                                                     identify,
                separately and
                separately and with
                                 with particularity,
                                      particularity, each
                                                     each disputed
                                                           disputed issue that remains
                                                                    issue that          to be
                                                                               remains to   be
                determined at
                determined  at the
                               the hearing  and the
                                   hearing and  the contentions  and points
                                                     contentions and points and
                                                                            and authorities
                                                                                authorities of
                                                                                            of
                each party
                each party as
                           as to
                              to each
                                 each issue.
                                      issue.

            (B)
            (B) The  stipulation must
                The stipulation   must not
                                       not simply
                                           simply refer
                                                    refer the
                                                          the court  to the
                                                              court to   the document
                                                                             document containing
                                                                                         containing
                the discovery
                the             request forming
                    discovery request             the basis
                                        forming the   basis of
                                                            of the
                                                               the dispute.    For example,
                                                                    dispute. For    example, if  the
                                                                                              if the
                sufficiency of
                sufficiency  of an
                                an answer
                                   answer to
                                           to an
                                              an interrogatory
                                                  interrogatory is
                                                                 is in
                                                                    in issue, the stipulation
                                                                       issue, the  stipulation must
                                                                                               must
                contain, verbatim,
                contain,             both the
                          verbatim, both    the interrogatory
                                                 interrogatory and
                                                                 and the
                                                                       the allegedly
                                                                            allegedly insufficient
                                                                                        insufficient
                answer, followed
                answer,            by each
                         followed by  each party's
                                            party’s contentions,  separately stated.
                                                    contentions, separately    stated.

            (C)
            (C) In  the absence
                In the  absence ofof such
                                      such stipulation
                                            stipulation or
                                                         or aa declaration
                                                               declaration of
                                                                            of aa party
                                                                                  party of
                                                                                         of
                noncooperation  by  the  opposing   party, the court will  not consider
                noncooperation by the opposing party, the court will not consider the   the
                discovery motion.
                discovery motion.

      (4)
      (4)   Cooperation of
            Cooperation   of Parties;
                              Parties; Sanctions.
                                       Sanctions. The    failure of
                                                    The failure  of any
                                                                    any party
                                                                         party either
                                                                               either to
                                                                                      to cooperate
                                                                                         cooperate in
                                                                                                    in
            this procedure,
            this procedure, to
                             to attend
                                attend the
                                        the meeting
                                            meeting of
                                                     of parties,
                                                        parties, or
                                                                 or to
                                                                    to provide
                                                                       provide the
                                                                                the moving
                                                                                    moving party
                                                                                             party the
                                                                                                   the
            information   necessary to
             information necessary     to prepare
                                           prepare the
                                                    the stipulation
                                                         stipulation required
                                                                      required byby this
                                                                                    this rule  within
                                                                                          rule within
            77 days
               days of
                     of the
                        the meeting
                             meeting of  of parties
                                            parties will
                                                     will result  in the
                                                           result in  the imposition
                                                                           imposition ofof sanctions,
                                                                                            sanctions,
            including  the sanctions
             including the sanctions authorized
                                      authorized by
                                                  by FRBP
                                                      FRBP 7037     and LBR
                                                              7037 and  LBR 9011-3.
                                                                              9011-3.



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      (5)
      (5)   Contempt. LBR
            Contempt.    LBR 9020-1   governing contempt
                              9020-1 governing   contempt proceedings
                                                            proceedings applies
                                                                         applies to
                                                                                 to aa discovery
                                                                                       discovery
            motion to
            motion  to compel
                       compel aa non-party
                                 non-party to
                                           to comply
                                              comply with
                                                     with aa deposition
                                                             deposition subpoena
                                                                        subpoena for
                                                                                  for testimony
                                                                                       testimony
            and/or documents
            and/or documents under
                               under FRBP
                                     FRBP 7030
                                            7030 and
                                                 and 7034.
                                                     7034.

LBR 7026-2.
LBR 7026-2. DISCOVERY
            DISCOVERY DOCUMENTS
                      DOCUMENTS —
                                – RETENTION,
                                  RETENTION, FILING, AND COPIES
                                             FILING, AND COPIES

(a)
(a)   Retention by
      Retention   by Propounding
                     Propounding Party.
                                     Party. TheThe following    discovery documents
                                                    following discovery     documents and
                                                                                       and proof
                                                                                           proof of
                                                                                                 of
      service thereof
      service thereof must
                      must not
                            not be
                                be filed  with the
                                   filed with   the clerk
                                                    clerk until
                                                          until there
                                                                there is
                                                                      is aa proceeding
                                                                            proceeding in
                                                                                       in which
                                                                                          which the
                                                                                                the
      document or
      document   or proof
                    proof of
                          of service
                             service is
                                     is in
                                        in issue:
                                           issue:

      (1)
      (1)  Transcripts of
           Transcripts   of depositions
                            depositions upon    oral examination;
                                          upon oral  examination;
      (2)
      (2)  Transcripts
           Transcripts ofof depositions
                            depositions upon    written questions;
                                          upon written   questions;
      (3)
      (3)  Interrogatories;
           Interrogatories;
      (4)
      (4)  Answers or
           Answers   or objections
                         objections to
                                     to interrogatories;
                                         interrogatories;
      (5)
      (5)  Requests for
           Requests       the production
                     for the  production of of documents
                                               documents or or to
                                                               to inspect tangible things;
                                                                  inspect tangible things;
      (6)
      (6)  Responses    or  objections  to requests  for  the production  of documents
           Responses or objections to requests for the production of documents or        or to
                                                                                            to inspect
                                                                                               inspect
           tangible things;
           tangible things;
      (7) Requests
      (7)  Requests for   admission;
                     for admission;
      (8) Responses
      (8)  Responses or or objections
                           objections to
                                       to requests
                                           requests for  admission;
                                                    for admission;
      (9) Notices
      (9)  Notices of
                    of Deposition,
                        Deposition, unless
                                       unless filing  is required
                                               filing is            in order
                                                          required in  order to
                                                                             to obtain
                                                                                obtain issuance
                                                                                        issuance of
                                                                                                  of aa
           subpoena in
           subpoena       another district;
                      in another   district; and
                                             and
      (10) Subpoena
      (10) Subpoena or or Subpoena    Duces Tecum.
                           Subpoena Duces     Tecum.

(b)
(b)   Period  of Retention
      Period of   Retention forfor Discovery
                                   Discovery Documents.
                                             Documents. Discovery
                                                           Discovery documents
                                                                     documents must
                                                                                 must be
                                                                                       be held
                                                                                          held
      by the
      by  the attorney
              attorney for
                        for the
                             the propounding
                                  propounding party
                                              party pending
                                                    pending use
                                                             use pursuant
                                                                 pursuant to
                                                                          to this
                                                                             this rule
                                                                                  rule for the
                                                                                       for the
      period specified
      period  specified in
                         in LBR
                              LBR 9070-1(b)
                                    9070-1(b) for the retention
                                              for the retention of
                                                                of exhibits,
                                                                   exhibits, unless
                                                                             unless otherwise
                                                                                    otherwise
      ordered by
      ordered  by the
                  the court.
                      court.

(c)
(c)   Filing of Discovery
      Filing of Discovery Documents.
                          Documents.
      (1)
      (1)   When required
            When  required in
                            in aa proceeding,
                                  proceeding, only
                                              only that
                                                   that part
                                                        part of
                                                             of the
                                                                the document
                                                                    document that
                                                                             that is
                                                                                  is in
                                                                                     in issue
                                                                                        issue
            must be
            must be filed with the
                    filed with the court.
                                   court.

      (2)
      (2)   When filed,
            When   filed, discovery
                          discovery documents
                                    documents must
                                               must be
                                                     be submitted
                                                        submitted with
                                                                  with aa notice of filing
                                                                          notice of          that
                                                                                     filing that
            identifies the
            identifies the date,
                           date, time,
                                 time, and
                                       and place
                                           place of
                                                 of the
                                                    the hearing
                                                        hearing or
                                                                or trial
                                                                   trial in which it
                                                                         in which       is to
                                                                                    it is  to be
                                                                                               be
            offered.
            offered.

      (3)
      (3)   Original deposition
            Original  deposition transcripts
                                 transcripts are
                                              are treated
                                                  treated as
                                                           as trial
                                                              trial exhibits and must
                                                                    exhibits and must be
                                                                                       be delivered
                                                                                          delivered
            to the
            to the judge
                   judge for
                         for use
                             use at
                                 at the
                                    the hearing
                                        hearing or
                                                 or trial.
                                                    trial. The
                                                           The original
                                                                original deposition
                                                                         deposition transcript
                                                                                    transcript and
                                                                                               and aa
            copy must
            copy  must be
                        be lodged
                           lodged with
                                  with the
                                        the clerk
                                            clerk pursuant
                                                  pursuant toto LBR
                                                                LBR 7030-1(b).
                                                                      7030-1(b).

(d)
(d)   Copies of Discovery
      Copies of Discovery Documents.
                          Documents.

      (1)
      (1)   Unless an
            Unless an applicable
                      applicable protective
                                  protective order
                                             order otherwise  provides, any
                                                    otherwise provides, any entity  may obtain
                                                                             entity may  obtain aa
            copy of
            copy of any
                     any discovery    document described
                           discovery document     described in  subsection (a)
                                                             in subsection  (a) of
                                                                                 of this
                                                                                    this rule
                                                                                          rule by
                                                                                               by
            making aa written
            making    written request
                              request therefor
                                      therefor to
                                               to the
                                                  the clerk and paying
                                                      clerk and paying duplication  costs.
                                                                       duplication costs.




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     Jeremy.freedman@dinsmore.com
 6

 7   Proposed Special Counsel to Richard A. Marshack,
     Chapter 11 Trustee for the Bankruptcy Estate of
 8   The Litigation Practice Group P.C.
 9
                                UNITED STATES BANKRUPTCY COURT
10
                                 CENTRAL DISTRICT OF CALIFORNIA
11
                                           SANTA ANA DIVISION
12
      In re:                                            Case No. 8:23-bk-10571-SC
13
      THE LITIGATION PRACTICE GROUP, PC,                Adv. Proc. No. 8:23-ap-01046-SC
14
               Debtor.                                  Chapter 11
15

16                                                      AMENDED COMPLAINT FOR:

17                                                      (1) INJUNCTIVE RELIEF;
      RICHARD A. MARSHACK,
      Chapter 11 Trustee,                               (2) AVOIDANCE, RECOVERY, AND
18
                                                        PRESERVATION OF TWO-YEAR
                              Plaintiff,                ACTUAL FRAUDULENT TRANSFERS;
19
                         v.                             (3) AVOIDANCE, RECOVERY, AND
20
                                                        PRESERVATION OF TWO-YEAR
      TONY DIAB, an individual; DANIEL S.               CONSTRUCTIVE FRAUDULENT
21    MARCH, an individual; ROSA BIANCA                 TRANSFERS;
      LOLI, an individual; LISA COHEN, an
22    individual; WILLIAM TAYLOR CARSS, an              (4) AVOIDANCE, RECOVERY, AND
      individual; ENG TAING, an individual;             PRESERVATION OF FOUR-YEAR
23    HENG TAING, an individual; MARIA EEYA             ACTUAL FRAUDULENT TRANSFERS;
      TAN, an individual; JAKE AKERS, an
24    individual; HAN TRINH, an individual;             (5) AVOIDANCE, RECOVERY, AND
      JAYDE TRINH, an individual; WES                   PRESERVATION OF FOUR-YEAR
25    THOMAS, an individual; SCOTT JAMES                CONSTRUCTIVE FRAUDULENT
      EADIE, an individual; JIMMY CHHOR, an             TRANSFERS; AND
26    individual; DONGLIANG JIANG, an
      individual; MAX CHOU, an individual;              (6) TURNOVER.
27    OAKSTONE LAW GROUP PC; GREYSON
      LAW CENTER PC; PHOENIX LAW, PC;                   Judge:
28                                                               Hon. Scott C. Clarkson
      MAVERICK MANAGEMENT GROUP,

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      LLC; LGS HOLDCO, LLC; CONSUMER
 1    LEGAL GROUP, P.C.; VULCAN
      CONSULTING GROUP LLC; BAT INC.
 2    d/b/a COAST PROCESSING; PRIME
      LOGIX, LLC; TERACEL BLOCKCHAIN
 3    FUND II LLC; EPPS; EQUIPAY;
      AUTHORIZE.NET; WORLD GLOBAL;
 4    OPTIMUMBANK HOLDINGS, INC. d/b/a
      OPTINIUMBANK
      OPTIMUM BANK; MARICH BEIN, LLC;
 5    BANKUNITED, N.A.; REVOLV3, INC.;
      FIDELITY NATIONAL INFORMATION
 6    SERVICES, INC. d/b/a FIS; WORLDPAY,
      LLC; WORLDPAY GROUP; MERIT FUND,
 7    LLC; GUARDIAN PROCESSING, LLC;
      PAYLIANCE, LLC; TOUZI CAPITAL, LLC;
 8    SEAMLESS CHEX INC; DWOLLA, INC.;
      STRIPE, INC.; and DOES 1 through 100,
 9    inclusive,
10                      Defendants.
11

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 1          For his Complaint for
                               for (1) Injunctive Relief; (2) Avoidance, Recovery, and Preservation of
                                                                                                    of
 2   Two-Year Actual Fraudulent Transfers; (3) Avoidance, Recovery, and Preservation of
                                                                                     of Two-Year
 3   Constructive Fraudulent Transfers; (4) Avoidance, Recovery, and Preservation of
                                                                                  of Four-Year Actual
 4 Fraudulent Transfers; (5) Avoidance, Recovery, and Preservation of
                                                                   of Four-Year Constructive
 5 Fraudulent Transfers; and (6) Turnover (the "Complaint"),
                                               “Complaint”), plaintiff Richard A. Marshack, the
 6   Chapter 11 Trustee (the "Trustee"
                             “Trustee” or "Plaintiff')
                                          “Plaintiff”) for the bankruptcy estate (the "Estate")
                                                                                      “Estate”) of debtor
 7   The Litigation Practice Group, PC (the "Debtor"
                                            “Debtor” or "LPG")
                                                        “LPG”) in the above-captioned bankruptcy case
 8   (the "Bankruptcy Case"), alleges and avers as follows:
 9         STATEMENT OF JURISDICTION, NATURE OF PROCEEDING, AND VENUE

10          1.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 157(b)(2)(A),
11        (H) and (0),
     (E), (II)    (O), 1334(b), and General Order No. 13-05 of the District Court for the Central
12   District of California because this is a core proceeding arising in and/or related to the Bankruptcy
13   Case, which is a case under chapter 11 of title 11 of the United States Code (the "Bankruptcy
                                                                                       “Bankruptcy
14   Code”), and which is pending in the United States Bankruptcy Court for the Central District of
     Code"),
15   California, Santa Ana Division (the "Court").
                                         “Court”). Regardless of whether this proceeding is core, non-
16   core, or otherwise, the Plaintiff consents to the entry of a final order and judgment by the
17   Bankruptcy Court. The Defendant is hereby notified that Rule 7008 of the Federal Rules of
18   Bankruptcy Procedure requires defendants to plead whether consent is given to the entry of a final
19   order and judgment by the bankruptcy court. Venue of this adversary proceeding properly lies in
20   this judicial district pursuant to 28 U.S.C. § 1409(a) because this proceeding is related to the Debtor's
                                                                                                      Debtor’s
21   pending Bankruptcy Case.
22                                              THE PARTIES
23          2.      Debtor LPG is, and at all material times was, a professional corporation organized,
24   existing, and in good standing under the laws of the State of California, with its principal place of
25   business in Tustin, California.
26           3.     Defendant Tony Diab ("Diab")
                                        (“Diab”) is, and at all material times was, an individual
27   residing in the State of California.
28   ///

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 1          4.      Defendant Daniel S. March ("March")
                                              (“March”) is, and at all material times was, an individual
 2   residing in the State of California.
 3           5.     Defendant Lisa Cohen is, and at all material times was, an individual residing in the
 4   State of California.
 5           6.     Defendant Eng Taing is, and at all material times was, an individual residing in the
 6   State of California.
 7           7.     Defendant Heng Taing is, and at all material times was, an individual residing in the
 8   State of California.
 9           8.     Defendant Maria Eeya Tan is, and at all material times was, an individual residing in
10   the State of California.
11           9.     Defendant Jake Akers is, and at all material times was, an individual residing in the
12   State of California.
13          10.     Defendant Han Trinh is, and at all material times was, an individual residing in the
14   State of California.
15          11.     Defendant Jayde Trinh is, and at all material times was, an individual residing in the
16   State of California.
17          12.     Defendant Wes Thomas is, and at all material times was, an individual residing in
18   the State of California.
19          13.     Defendant William Taylor "Ty"
                                             “Ty” Cans
                                                  Carrs is, and at all material times was, an individual
20   residing in the State of California.
21          14.     Defendant Scott James Eadie is, and at all material times was, an individual residing
22   in the State of California.
23          15.     Defendant Jimmy Chhor is, and at all material times was, an individual residing in
24   the State of California.
25          16.     Defendant Dongliang Jiang is, and at all material times was, an individual residing
26   in the State of California.
27          17.     Defendant Max Chou is, and at all material times was, an individual residing in the
28   State of California.

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 1          18.     Defendant Rosa Loli a.k.a. Rosa Bianca Loli a.k.a. Bianca Loli is, and at all material
 2   times was, an individual residing in the State of California.
 3          19.     Defendant Oakstone Law Group, PC ("Oakstone")
                                                     (“Oakstone”) is, and at all material times was,
 4   a professional corporation organized, existing, and in good standing under the laws of the State of
 5 California, with its principal place of business in La Jolla, California.

 6          20.     Defendant Greyson Law Center, PC ("Greyson")
                                                     (“Greyson”) is, and at all material times was, a
 7   professional corporation organized, existing, and in good standing under the laws of the State of
 8   California, with its principal place of business in Costa Mesa, California.
 9          21.     Defendant Phoenix Law, PC ("Phoenix")
                                              (“Phoenix”) is, and at all material times was, a
10   professional corporation organized, existing, and in good standing under the laws of the State of
11   California, with its principal place of business in Irvine, California.
12          22.     Defendant LGS Holdco, LLC is, and at all material times was, a limited liability
13   corporation organized, existing, and in good standing under the laws of the State of Delaware.
14          23.                                        (“CLG”) is, and at all material times was, a
                    Defendant Consumer Legal Group, PC ("CLG")
15   professional corporation organized, existing, and in good standing under the laws of the State of
16   New York.
17          24.     Defendant Maverick Management Group, LLC ("Maverick")
                                                             (“Maverick”) is, and at all material
18   times was, a reserved name for a limited liability corporation in the State of Wyoming.
19          25.     Defendant Teracel Blockchain Fund II, LLC ("Teracel")
                                                              (“Teracel”) is, and at all material times
20   was, a limited liability corporation organized, existing, and in good standing under the laws of the
21   State of Delaware.
22          26.                                            (“Vulcan”) is, and at all material times
                    Defendant Vulcan Consulting Group, LLC ("Vulcan")
23   was, a limited liability corporation organized, existing, and in good standing under the laws of the
24   State of California, with its principal place of business in Newport Coast, California.
25          27.                                               (“Coast Processing")
                    Defendant BAT Inc. d/b/a Coast Processing ("Coast Processing”) is, and at all
26   material times was, a corporation organized, existing, and in good standing under the laws of the
27   State of California, with its principal place of business in Riverside, California.
28   ///

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 1          28.      Defendant Prime Logix, LLC ("Prime
                                                (“Prime Logix")
                                                        Logix”) is, and at all material times was, a
 2   limited liability corporation organized, existing, and in good standing under the laws of the State of
 3   Wyoming, with its principal place of business in Long Beach, California.
 4          29.      Defendant EPPS is, and at all material times was, a corporation organized, existing,
 5 and in good standing under the laws of the State of California.

 6          30.      Defendant EquiPay, LLC ("EquiPay")
                                            (“EquiPay”) is an ACH processor.
 7          31.                              (“Authorize.net”) is a subsidiary of Visa, Inc.
                     Defendant Authorize.net ("Authorize.net")
 8          32.      Defendant World Global is an ACH processor.
 9          33.                                      (“Gallant”), is and at all material times was, a
                     Defendant Gallant Law Group, PC ("Gallant"),
10   professional corporation organized, existing and in good standing under the laws of the State of
11   Pennsylvania.
12          34.      Defendant Merit Fund LLC ("Merit
                                              (“Merit Fund")
                                                      Fund”) is, and at all material times was, a limited
13   liability corporation organized, existing, and in good standing under the laws of the State of
14   California, with its principal place of business in Torrance, California.
15          35.      Defendant OptimumBank Holdings, Inc. d/b/a Optimum Bank ("Optimum
                                                                             (“Optimum Bank")
                                                                                       Bank”)
16   is, and at all material times was, a bank holding company, with its principal place of business in Fort
17   Lauderdale, Florida.
18          36.      Defendant Marich Bein, LLC ("Marich
                                                (“Marich Bein")
                                                         Bein”) is, and at all material times was, a
19   limited liability corporation organized, existing, and in good standing under the laws of the State of
20   New York.
21          37.                                (“BankUnited”) is, and at all material times was, a
                     Defendant BankUnited, NA, ("BankUnited")
22   financial institution insured by the FDIC with its principal place of business in Miami Lakes,
23   Florida.
24          38.                              (“Revolv3”) is, and at all material times was, a limited
                     Defendant Revolv3, Inc. ("Revolv3")
25   liability corporation organized, existing, and in good standing under the laws of the State of
26   Delaware, with its principal place of business in Laguna Beach, California.
27   ///
28   ///

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 1           39.    Defendant Fidelity National Information Services, Inc. d/b/a FIS, including but not
 2   limited to its subsidiaries Worldpay, LLC, Worldpay Group or any other subsidiaries providing
 3                           (“FIS”).
     ACH processing services ("FIS").
 4           40.    Defendant Guardian Processing, LLC ("Guardian")
                                                       (“Guardian”) is, and at all material times was,
 5 a limited liability corporation organized, existing, and in good standing under the laws of the State

 6   of Wyoming, with its principal place of business in Sheridan, Wyoming.

 7           41.    Defendant Payliance, LLC ("Payliance")
                                             (“Payliance”) is and, at all material times was, a limited
 8   liability company organized and existing under the laws of the State of Ohio, with its principal place
 9 of business in Columbus, Ohio.

10           42.    Defendant Touzi Capital, LLC ("Touzi")
                                                 (“Touzi”) is, and at all material times was, a limited
11   liability company organized and existing under the laws of the State of California, with its principal
12   place of business in Walnut, California.
13           43.    Defendant Seamless Chex, Inc. ("Seamless")
                                                  (“Seamless”) is, and at all material times was, a
14   corporation organized under the laws of the State of New York, with its principal place of business

15   in New York, New York.
16           44.    Defendant Dwolla, Inc. ("Dwolla")
                                           (“Dwolla”) is, and at all material times was, a corporation
17   organized under the laws of the State of Iowa, with its principal place of business in Des Moines,
18   Iowa.
19           45.    Defendant Stripe, Inc. ("Stripe")
                                           (“Stripe”) is, and at all material times was, a corporation
20   organized under the laws of the State of Delaware, with its principal place of business in San
21   Francisco, California.
22                                     GENERAL ALLEGATIONS
23           A.     The Bankruptcy Case
24           46.                           “Petition Date"),
                    On March 20, 2023 (the "Petition Date”), the Debtor filed a voluntary petition for
25   relief under chapter 11 of the Bankruptcy Code, commencing the Bankruptcy Case.

26           47.    After the Office of the United States Trustee (the "UST")
                                                                       “UST”) filed the Motion by United
27 States Trustee to Dismiss or Convert Case Pursuant to 11 U.S.C. §§ 1112(b) [Bankr. Docket No. 21]

28   and creditors Debt Validation Fund II, LLC; MC DVI Fund 1, LLC; and MC DVI Fund 2, LLC

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 1   filed the Motion by DVF and MC DVI to Dismiss Chapter 11 Case Pursuant to 11 U.S.C. §§
                                                                                         §§ 105,
 2   305, 349, & 1112, or in the Alternative Convert This Case to Chapter 7 or Appoint a Trustee [Bankr.
 3   Docket No. 44], the Court entered the Order Directing Unites States Trustee to Appoint Chapter 11
 4   Trustee [Bankr. Docket No. 58] on May 4, 2021, thereby granting the UST's
                                                                         UST’s motion and directing
 5 the UST to appoint a Chapter 11 Trustee in the Bankruptcy Case.

 6          48.                                of Appointment as Chapter 11 Trustee [Bankr. Docket
                    Pursuant to the Acceptance of
 7   No. 63; the Order Approving Appointment is Order is Docket No. 65], on May 8, 2023, the Plaintiff
 8   accepted his appointment as the Chapter 11 Trustee in the Bankruptcy Case, and he continues to
 9   serve in this capacity at this time. The Plaintiff was not appointed until after events of the case and,
10   therefore, bases these allegations on information and belief.
11          49.     The Plaintiff brings this action solely in his capacity as the Chapter 11 Trustee for
12                      Debtor’s Estate and its creditors.
     the benefit of the Debtor's
13          B.      LPG’s Ownership and Management
                    LPG's
14          50.                                                                       judge’s signature
                    After being disbarred in both California and Nevada for forging a judge's
15   and stealing large amounts of client funds, Diab transferred his existing debt resolution practice to
16   LPG. LPG is a law fn-m
                       firm that provides consumer debt resolution. LPG services more than 50,000
17   customers across the United States, with annual revenue estimated to total $150,000,000 in 2022.
18          51.     Despite having been disbarred, Diab has controlled and operated LPG since its
19   inception. However, Diab has endeavored to conceal his control of LPG. For example, Diab requires
20   LPG’s
     LPG's employees to call him "Admin,"
                                 “Admin,” and the name plate on his desk reads, "I
                                                                                “I don't
                                                                                   don’t work here."
                                                                                              here.”
21          52.     To pull this off, Diab rents March's
                                                 March’s law license. March masquerades, at times, as the
22   managing partner of LPG but exercises no actual management or control. In fact, Diab sometimes
23                                          March’s signature on contracts. LPG’s
     impersonates March and regularly signs March's                         LPG's primary DocuSign
24                   Diab’s email address, admin@lpglaw.com, where Diab signs contracts as Daniel
     account goes to Diab's
25   March. For use of his law license, March receives an annual salary of $600,000 in addition to
26   irregular bonuses.

27          53.     March’s predecessor at LPG was John Thompson. Thompson was the original sole
                    March's
28   shareholder of LPG from February 2019 to November 2019. But he conveyed interest in LPG to

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 1   March in November 2019 due to concerns about his and LPG’s
                                                          LPG's potential liability. Diab has
 2   impersonated Thompson on many matters representing clients in an attorney capacity. One such
 3   impersonation was in signing that certain Service Application and Service Agreement, submitted by
 4   LPG to Credit Reporting Services, LLC.
 5           C.     LPG’s Business Structure
                    LPG's
 6           54.    Historically, LPG had a business partner called Coast Processing, which was owned
 7   by Brian Real, Arash Asante Bayrooti, and Diab. Coast Processing was one entity through which
 8   LPG ran its'
             its’ in house marketing and client development operations. LPG, however, also had a
 9   network of over 100 marketing affiliates from which LPG purchased new clients. In 2021, Diab
10   bought out the other investors in Coast Processing and merged its operations with LPG, including
11         Processing’s contracts with other marketing affiliates. Despite Coast Processing's
     Coast Processing's                                                          Processing’s operations
12   being merged into LPG, Coast Processing exists as a California corporation in good standing.
13           55.    Marketing affiliates refer clients to LPG. The marketing affiliates locate clients who
14   were victims of predatory lending or who are subject to claims for large debt that are not legally
15   valid under applicable law. After taking on these clients, LPG pays the marketing affiliates a
16   percentage of the fees earned through the debt resolution process. Clients pay fees to LPG over a
17   period of time, ranging from 18 to 30 months, through monthly debits from their bank accounts.

18   The monthly debits are controlled by LPG. Each set of payments due by a client is referred to as a
19 "file."
   “file.”
20           56.    Once a new client has signed up, executed the retainer and payment plan contract,
21   and provided bank ACH information, LPG is responsible for servicing the client file. To this end,
22   LPG utilized software such as DebtPayPro ("DPP")
                                              (“DPP”) and, more recently, cobbled together a less
23   efficient proprietary software such as LUNA to automate the dispute process, facilitate client
24   communications, and track payment information. For instance, the correspondence sent on behalf
25   of clients to creditors, collection agencies, and/or credit bureaus are automated and generic templates
26   sent via U.S. Mail, facsimile, and/or email. Some cases result in the disputed debt being corrected

27          client’s credit report, some result in successful challenges to consumer protection laws, and
     on the client's
28   ///

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 1   others result in debt settlement, which the client is responsible to pay in addition to the payment
 2   plan. In limited instances, LPG will file a lawsuit in an effort to eliminate a disputed debt.
 3          57.      Because LPG and its marketing affiliates receive only incremental payments over a
 4   period of time, LPG would often sell the future cash flow at a discounted rate. The factoring
 5   companies that buy the receivables on account of these files receive a return equal to the difference
 6   between the amount the clients owe on the file and the amount the buyer paid for the file.
 7          58.      The largest factoring company to have purchased accounts receivable on account of
 8   LPG’s
     LPG's files is Validation Partners LLC ("Validation
                                            (“Validation Partners").
                                                         Partners”). Between August 30, 2021 and
 9 August 17, 2022, Validation Partners spent $66,000,000 to purchase accounts receivable from LPG

10             LPG’s marketing affiliates. In total, Validation Partners purchased over 40,000 accounts
     and 58 of LPG's
11   from LPG and its affiliates with a total value greater than $400,000,000.
12          D.       Diab’s Scheme
                     Diab's
13          59.      After selling the aforementioned receivables to Validation Partners and other
14   factoring companies, Diab caused LPG to sell receivables on 719 files for $2,070,000 to Teracel, an
15   entity owned and operated by Touzi, which is headed by Eng Taing, one of Validation Partner's
                                                                                         Partner’s
16   investors, and his brother, Heng Taing. Out of the 719 files purchased by Teracel, 643 of those files
17   had been already purchased by Validation Partners. Despite LPG never receiving a payment from
18   Teracel for the purchase of these files, account receivables on behalf of those files are being paid
19   out directly to Teracel.
20          60.      In particular, despite not paying for these files, Touzi Capital continues to process
21   duplicate ACH electronic funds transfers in its own name and/or in the name of Oakstone via ACH
22   payment processors, most recently to include but not limited to, Payliance using a merchant account
23   in the name of Guardian. Trustee is informed and believes and based thereon alleges that Touzi and
24   Oakstone may also be using additional payment processors including, but not limited to: (i) Paynote
25   by Seamlesschex; (ii) Dwolla; (iii) Stripe; and/or ACH processing accounts held by other entities
26   named herein.

27   ///
28   ///

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 1          61.     All of these files were resold without Validation Partners'
                                                                      Partners’ knowledge or consent.
 2   Yet, thousands of files have been doubly sold in this manner, effectuating Diab and Eng Taing's
                                                                                             Taing’s
 3   Ponzi scheme to defraud creditors.
 4          E.      LPG’s Prepetition Creditors
                    LPG's
 5          62.     In addition to the financing
                                       fmancing provided by factoring companies, LPG has obtained
 6   financing directly from other sources. Both of these sources of financing, having lent hundreds of
 7   millions of dollars to LPG, are among the creditors scheduled by the Debtor.

 8          63.            Debtor’s Schedule D [Bankr. Docket No. 33], the Debtor listed three secured
                    On the Debtor's
 9   creditors—(a) Diverse Capital, LLC with a claim in the amount of $1,224,810, (b) City Capital NY
10   with a claim in the amount of $2,950,000, and (c) Fundura Capital Group with a claim in the amount
11                                “Secured Creditors")—with
     of $2,100,000 (together, the "Secured Creditors”)—with secured claims totaling $6,274,810.
12          64.     In addition, on the Debtor's
                                        Debtor’s Schedule E/F [Bankr. Docket No. 33], the Debtor
13   scheduled 11 unsecured creditors with priority unsecured claims totaling $374,060.04. These
14   priority unsecured creditors include Indiana Dept. of Revenue, Dept. of Labor and Industries,
15   Arizona Dept. of Economic Security, Arkansas Dept. of Finance & Admin., California Franchise

16   Tax Board, Georgia Dept. of Labor, Internal Revenue Service, Mississippi Dept. of Revenue,
17   Nevada Dept. of Taxation, Utah State Tax Commission, and Wisconsin Dept. of Revenue
18                      “Priority Unsecured Creditors").
     (collectively, the "Priority           Creditors”).
19          65.     Another group of creditors that the Debtor listed on its Schedule E/F [Bankr. Docket
20   No. 33] are nonpriority unsecured creditors. Those 58 creditors have scheduled claims totaling
21   $141,439,158.05 and include Ajilon; Anthem Blue Cross; Azevedo Solutions Groups, Inc.; Carolina
22   Technologies & Consulting Invoice; Collaboration Advisors; Credit Reporting Service Inc.; CT
23               – Inv.; Debt Pay Pro; Document Fulfillment Services; EnergyCare, LLC; Exela
     Corporation —
24   Enterprise Solutions; First Legal Network, LLC; GHA Technologies Inc.; Harrington Electric, Inc.;
25   Imagine Reporting; Juize, Inc.; Krisp Technologies, Inc.; Liberty Mutual; Marc Lemauviel —
                                                                                              –
26   Allegra; MarkSYS Holdings, LLC; Netsuite-Oracle; Pitney Bowes; Rapid Credit, Inc.; SBS Leasing

27   A Program of De Lage Landen; Security Solutions; Sharp Business Systems; Streamline
28   Performance, Inc.; Thomson Reuters; Twilio, Inc.; Nationwide Appearance Attorneys; Executive

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 1
 1 Center, LLC; Outsource Accelerator, Ltd.; TaskUs Holdings, Inc.; Marich Bein, LLC; Validation

 2   Partners; MC DVI Fund 1, LLC; MC DVI Fund 2, LLC; Debt Validation Fund II, LLC; Tustin
 3   Executive Center; LexisNexus; JP Morgan Chase; Business Centers of America; Michael Schwartz;
 4   Anibal Colon Jr.; Kathleen Lacey; David Ulery; Kimberly Birdsong; Kevin Carpenter; Karen Suell;
 5   Gloria Eaton; Carolyn Beech; Debra Price; Kenneth Topp; Darcey Williamson, Trustee; James
 6   Hammett; Johnny Rizo; Beverly Graham; Kathleen Scarlett; and Geneve and Myranda Sheffield

 7                      “Nonpriority Unsecured Creditors"
     (collectively, the "Nonpriority           Creditors” and, together with the Secured Creditors and
 8                                     “Prepetition Creditors").
     Priority Unsecured Creditors, the "Prepetition Creditors”).
 9           F.     Transfers to Alter Egos and Fraudulent Conveyances
10           66.    In addition to diverting millions of dollars to third parties, Diab has transferred LPG’s
                                                                                                        LPG's
11 entire business to new law firms free of LPG’s
                                            LPG's obligations to its creditors. These new law firms are
12 alter egos of the Debtor and include Oakstone and Phoenix (collectively, the "Alter
                                                                                “Alter Egos”).
                                                                                       Egos"). As he
13   did with LPG, Diab controls and operates the Alter Egos, despite them being nominally owned by
14   licensed attorneys from which Diab "rented"
                                        “rented” their license to practice law in return for unsustainable
15   salaries.
16           67.    In addition to fraudulent client file transfers to the Alter Egos, described above,
17   Trustee is informed and believes and based thereon alleges that Diab sold with little or no
18   consideration or fraudulently transferred additional LPG client files to Greyson, Gallant, its affiliate
19 Center Pointe Law Group, PC ("Center
                               (“Center Pointe")
                                        Pointe”) and CLG without client consent in exchange for a
20   right to receive a percentage of the revenue stream generated by those files (the "Fraudulent
                                                                                       “Fraudulent
21 Transferees”).
   Transferees").
22           68.    In an effort to make LPG appear insolvent, in February 2023, Diab purchased a shell
23   corporation and the website domain phoenixlaw.co and registered the business with the Better
24   Business Bureau. Similarly, around the same time, Diab set up Oakstone, to run LPG’s
                                                                                    LPG's business
25                               Diab’s actions are contrary his testimony at the 341(a) meeting of
     through these new entities. Diab's
26   creditors where Diab testified that LPG was not able to afford to service the same clients through
27   LPG.
28   ///

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 1           69.     At or around the Petition Date, Diab admitted that LPG had transferred or sold
 2   approximately 15,000 client files to Oakstone (approximately $4.2 million in revenue), 12,000 files
 3   to CLG (approximately $3.3 million in revenue), and the remaining files, approximated at slightly
 4   less than 40,000, to Phoenix (approximately $11.2 million in revenue). Neither LPG nor Diab
 5   obtained consent prior to fraudulently transferring the client files to these alter egos and/or
 6   fraudulent transferees. LPG does not have an executed assignment contract for any of the transferred
 7   client files.

 8           70.     Diab, Ms. Cohen, Ms. Loli and the same group of partners running LPG are now,
 9 post-petition, syphoning off money through these new Alter Egos, using LPG’s
                                                                          LPG's ACH processing
10                                 “Tony Diab"
     accounts at FIS that identify "Tony Diab” as the user of the account and LPG as the merchant
11   account holder. LPG’s
                     LPG's FIS account indicates that, from March 28, 2023 through May 19, 2023, Diab
12   has netted between $6 million and $9.3 million dollars and transferred such funds to LPG’s
                                                                                          LPG's Alter
13   Egos or Fraudulent Transferees from this one ACH processing company alone.
14           71.     Further, Diab, Eng Taing Heng Taing and/or Touzi have used other ACH processing
15   companies including Payliance (using a Guardian merchant account), among others, to process and
16   transfer property of the Estate through Diab's
                                             Diab’s network of Alter Egos and Fraudulent Transferees.
17   With this money, Diab has recently made payroll from an account held by Vulcan. Clients who have
18   requested a refund after their file was transferred to Phoenix were refunded by an account held by
19   Prime Logix. Diab is using LPG’s
                                LPG's Alter Egos and Fraudulent Transferees to re-direct LPG funds
20   for his own personal gain and avoid the protections afforded creditors and the Estate under the
21   Bankruptcy Code. Collectively, the files, accounts receivable, and funds transferred to the Alter
22   Egos and Fraudulent Transferees, are referred to herein as the "Transfers."
                                                                    “Transfers.”
23           G.      Diab’s Control over LPG's
                     Diab's              LPG’s Payment Processing
24           72.     LPG’s
                     LPG's monthly revenue from client files is primarily received via ACH payments.
25   In order to process ACH payments, LPG is required to enlist the services of ACH payment
26   processing companies who handle high risk transactions. In this regard, Diab has enlisted numerous
27   ///
28   ///

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 1                  companies1 in order to easily switch between different vendors and quickly transfer
     ACH processing companies'
 2   millions of dollars of LPG funds to entities he controls, including but not limited to Vulcan, Prime
 3   Logix, Greyson and/or Coast Processing, generally in less than three days from ACH pull, without
 4   oversight and detection and to avoid payment disputes and complications with the vendor itself.
 5 Notably, LPG does not have service contracts with EPPS or Marich Bein, among potential others

 6                                      LPG’s ACH payments. The side deals between Diab and Marich
     who have processed the majority of LPG's
 7   Bein, created to avoid a lawsuit against LPG, evidences Diab's
                                                             Diab’s continued influence and control over
 8   the companies processing LPG and its Alter Egos’
                                                Egos' ACH EFTs—property of the Estate.
 9          73.     LPG’s
                    LPG's monthly gross revenue from receipt of client payments has, pre-petition,
10   ranged between $8.4 million to $11.2 million per month from May 2022 through September 2022.
11   It is estimated that the current monthly revenue from client accounts that are serviced exceed $15
12   million dollars per month, using a conservative growth model and based on the number of estimated
13   client files whose ACH EFTs are successfully processed. Notwithstanding LPG’s
                                                                             LPG's substantial
14   monthly revenue and relatively low pre-petition monthly expenses (ranging between $2.3 to $3.4

15   million at the end of 2022), LPG was not accumulating any cash on hand and claimed to have only

16   $4,500 in its bank account on the Petition Date.
17                                     FIRST CLAIM FOR RELIEF

18                                            Injunctive Relief
19                                        Against All Defendants

20          74.     The Plaintiff realleges and incorporates herein by reference each and every allegation
21   contained in paragraphs 1 through 73 as though set forth in full.
22          75.     The Plaintiff requests that this Court enjoin the Defendants and each of them from
23   interfering with any ACH Transfer being executed pursuant to documents authorizing such transfers
24   to be executed in favor of LPG.
25

26   11    The ACH processing companies LPG uses and which Diab controls include, but are not
   limited to, EPPS; EquiPay; Merit Fund; Authorize.net; World Global; Optimum Bank; BankUnited;
27 Marich Bein; Revolv3; FIS; Guardian; and/or any entity associated with the ACH identification
                “LPG 949-226-6262 #5 2363 RT 9 TOMS RIVER NJ 0875"
28 transaction "LPG                                                0875” or any such substantially
   similar ACH identification transaction.
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 1          76.     The Plaintiff also requests that this Court enter a preliminary injunction prohibiting
 2   interference with any ACH Transfer being executed pursuant to documents authorizing such
 3   transfers to be executed in favor of LPG.
 4          77.     The Plaintiff also requests that this Court enter a preliminary injunction prohibiting
 5   Prime Logix, Maverick and Greyson, and any person or entity acting with or in concert with them,

 6   including, but not limited to, any staff or other attorneys or employees (including, without limitation
 7   Han Trinh or Jayde Trinh) from accessing or attempting to access: 1) LPG client files and/or

 8   information whether stored electronically or in hardcopy, except as ordered by the Court and/or
 9 agreed to by the Chapter 11 Trustee; and 2) LUNA, any other customer relationship management
10   (“CRM”) software on which LPG client information, including without limitation the LPG client
     ("CRM")
11   information subject to the above-described Transfers —
                                                          – is stored; 3) LPG’s
                                                                          LPG's electronic mail ("email")
                                                                                                (“email”)
12   accounts, including but not limited those hosted by Microsoft 365; 4) LPG’s
                                                                           LPG's Netsuite account with
13   Oracle; 5) LPG’s
                LPG's Airtable account with Formgrid; and 6) LPG’s
                                                             LPG's Quickbook account.
14          78.     The Plaintiff also requests that this Court enter a preliminary injunction prohibiting
15   Prime Logix, Maverick and Greyson, and any person or entity acting with or in concert with them
16   including, but not limited to, any staff or other attorneys or employees (including, without limitation
17   Han Trinh or Jayde Trinh) from interfering with Plaintiffs
                                                     Plaintiff’s administration of the Estate or property
18   of the Estate, without limitation. Without limitation on the foregoing, Greyson may continue to
19   process ACH electronic funds transfers for the 48 client files specifically identified by Plaintiff,
20   provided that all of pre- and post-petition payroll obligations of Greyson, without limitation, must
21   be made by Greyson alone and without any contribution from ACH electronic funds transfers
22   derived from any source other than the 48 client files specifically identified by Plaintiff.
23          79.     The Plaintiff also requests that this Court enter a preliminary injunction prohibiting
24   Prime Logix, Oakstone, Touzi, Eng Taing, Heng Taing, Payliance, Seamless, Dwolla, Stripe, and

25   Maverick and any person or entity acting with or in concert with them including, but not limited to,
26   any staff or other attorneys or employees from accessing or attempting to access any ACH electronic
27   funds transfers obtained from LPG client files subject to the above-described Transfers.
28   ///

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 1                                    SECOND CLAIM FOR RELIEF
 2        Avoidance, Recovery, and Preservation of Two-Year Actual Fraudulent Transfers
 3                                          Against All Defendants
 4                                [11 U.S.C. §§ 548(a)(1)(A), 550, and 551]
 5          80.     The Plaintiff realleges and incorporates herein by reference each and every allegation
 6   contained in paragraphs 1 through 79 as though set forth in full.
 7          81.     On or after the date that such Transfers were made, entities to which the Debtor was
 8   indebted include the Prepetition Creditors.
 9          82.     The source of the files, accounts receivable, and funds that are the subject of the
10   Transfers are that of the Debtor.
11          83.     Diab retained possession and control of the files, accounts receivable, and funds
12   transferred to the Alter Egos and Fraudulent Transferees or elsewhere after the Transfers.
13          84.     By creating several entities including the Alter Egos and transferring files, accounts
14   receivable, and funds to such entities, Diab has endeavored to conceal the files, accounts receivable,
15   funds, and Transfers, including to the Fraudulent Transferees.
16          85.     Diab made the Transfers after LPG faced multiple lawsuits including those initiated
17   by factoring companies. Validation Partners initiated a lawsuit on September 20, 2022 (Case No.
18   30-2022-01281911-CU-BC-CXC) in the Superior Court of California, County of Orange. DVF II

19   also filed a lawsuit on January 23, 2023 (Case No. 30-2023-01303355-CU-CO-CXC) in the Superior

20   Court of California, County of Orange. Notably, the lawsuits sought the appointment of a receiver
21   to perform many of the same duties of the Trustee and obtain information, an accounting of LPG
22   funds, assets and accounts receivables and maintain the status quo, among other relief, pending the
23   outcome of the litigation.
24          86.     The files, accounts receivable, and funds that were subject to the Transfers constitute
25                            Debtor’s non-exempt property. In other words, the Transfers were of
     substantially all of the Debtor's
26                            Debtor’s assets.
     substantially all of the Debtor's
27          87.     The Transfers were made by Diab to insiders, Alter Egos of the Debtor that are under
28   Diab’s control and the Fraudulent Transferees.
     Diab's

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 1
 1          88.     In addition, the Debtor received little to no consideration for the Transfers.
 2          89.     The Transfers left the Debtor insolvent. The Debtor scheduled $141,813,219.09 in
 3 total debt to Prepetition Creditors. However, without the files, accounts receivable, and funds, the

 4   Transfers left the Debtor with approximately $12,186,500 in assets and no income stream.
 5          90.     Thus, the Transfers were made with actual intent to hinder, delay, or defraud
 6   creditors of the Debtor.
 7          91.     The Transfers of the Debtor's
                                         Debtor’s files, accounts receivable, and funds occurred within
 8 the two years prior to the Petition Date.

 9          92.     Accordingly, the Transfers that Diab caused the Debtor to make should be avoided
10   as fraudulent under 11 U.S.C. § 548(a)(1)(A), and such property, or the value thereof, should be
11 recovered and preserved for the benefit of the Estate pursuant to 11 U.S.C. §§ 550 and 551.

12                                    SECOND CLAIM FOR RELIEF
13     Avoidance, Recovery, and Preservation of Two-Year Constructive Fraudulent Transfers
14                                          Against All Defendants
15                                [11 U.S.C. §§ 548(a)(1)(B), 550, and 551]
16          93.     The Plaintiff realleges and incorporates herein by reference each and every allegation
17   contained in paragraphs 1 through 92 as though set forth in full.
18          94.     At the time of the Transfers, the Debtor received less than reasonably equivalent
19   value in exchange for the Transfers.
20          95.     In many cases, the Debtor received no consideration for the Transfers.
21          96.     The Transfers left the Debtor insolvent. The Debtor scheduled $141,813,219.09 in
22   total debt to Prepetition Creditors. However, without the files, accounts receivable, and funds, the
23   Transfers left the Debtor with approximately $12,186,500 in assets and no income stream; virtually
24   none of those alleged $12,186,500 assets have been turned over to the Trustee despite repeated
25   request for same.
26          97.     On or after the date that the Transfers were made, the Debtor was not paying debts
27   to the Prepetition Creditors including Validation Partners and DVF II as they came due.
28          98.     Thus, at the time of the Transfers, or as a result thereof, the Debtor either:

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 1
 1                   a.      was insolvent on the date the Transfers were made, or became insolvent was
 2   a result thereof;
 3                   b.      was engaged or was about to engage in a transaction for which any property
 4   remaining with the Debtor was of unreasonably small capital;
 5                   c.      intended to incur, or believed that he would incur, debts beyond his ability to
 6   pay as such debts matured.
 7           99.     The Transfers of the Debtor's
                                          Debtor’s files, accounts receivable, and funds occurred within
 8 the two years prior to the Petition Date.

 9           100.    Accordingly, the Transfers that Diab caused the Debtor to make should be avoided
10   as fraudulent under 11 U.S.C. § 548(a)(1)(B), and such property, or the value thereof, should be
11 recovered and preserved for the benefit of the Estate pursuant to 11 U.S.C. §§ 550 and 551.

12                                    FOURTH CLAIM FOR RELIEF
13        Avoidance, Recovery, and Preservation of Four-Year Actual Fraudulent Transfers
14                                          Against All Defendants
15          [11 U.S.C. §§ 544(b), 550, and 551; CAL. Cm
                                                CAL. CIV. C
                                                          CODE
                                                           ODE §§ 3439.04(a) and 3439.07]

16           101.    The Plaintiff realleges and incorporates herein by reference each and every allegation
17   contained in paragraphs 1 through 100 as though set forth in full.
18           102.    On or after the date that such Transfers were made, entities to which the Debtor was
19   indebted include the Prepetition Creditors.
20           103.    The source of the files, accounts receivable, and funds that are the subject of the
21 Transfers are that of the Debtor.

22           104.    Diab retained possession and control of the files, accounts receivable, and funds
23   transferred to the Alter Egos or elsewhere after the Transfers.
24           105.    By creating several entities including the Alter Egos and transferring files, accounts
25   receivable, and funds to such entities, Diab has endeavored to conceal the files, accounts receivable,
26   funds, and Transfers.
27           106.    Diab made the Transfers after LPG faced multiple lawsuits including those initiated
28   by factoring companies. Validation Partners initiated a lawsuit on September 20, 2022 (Case No.

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 1
 1 30-2022-01281911-CU-BC-CXC) in the Superior Court of California, County of Orange. DVF II

 2   also filed a lawsuit on January 23, 2023 (Case No. 30-2023-01303355-CU-CO-CXC) in the Superior
 3 Court of California, County of Orange. Notably, the lawsuits sought the appointment of a receiver

 4   to perform many of the same duties of the Trustee and obtain information, an accounting of LPG
 5   funds, assets and accounts receivables and maintain the status quo, among other relief, pending the
 6   outcome of the litigation.
 7          107.      The files, accounts receivable, and funds that were subject to the Transfers constitute
 8 substantially all of the Debtor's
                            Debtor’s non-exempt property. In other words, the Transfers were of
 9                            Debtor’s assets.
     substantially all of the Debtor's
10          108.      The Transfers were made by Diab to insiders, Alter Egos of the Debtor that are under
11 Diab's
   Diab’s control.
12          109.      In addition, the Debtor received little to no consideration for the Transfers.
13          110.      The Transfers left the Debtor insolvent. The Debtor scheduled $141,813,219.09 in
14   total debt to Prepetition Creditors. However, without the files, accounts receivable, and funds, the
15   Transfers left the Debtor with approximately $12,186,500 in assets and no income stream; virtually
16   none of those alleged $12,186,500 assets have been turned over to the Trustee despite repeated
17   request for same.
18          111.    As such, the Transfers left the Debtor with remaining assets that were unreasonably
19 small in relation to the transaction.

20          112.    Further, the Debtor was insolvent at the time of the Transfers or became insolvent as
21 a result of the Transfers; the exact aim of Diab's
                                               Diab’s scheme to bankruptcy LPG in the event a receiver
22   was appointed.
23          113.    On or after the date that such Transfers were made, the Debtor was not paying debts
24   to the Prepetition Creditors, all of which arose before the Transfers were made, as they became due.
25          114.      Thus, the Transfers were made with actual intent to hinder, delay, or defraud
26   creditors of the Debtor, as well as the duly appointed Receiver.
27          115.      Thus, at the time of the Transfers, without receiving reasonably equivalent value in
28   exchange for the Transfers, the Debtor either:

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 1                  a.      was engaged or was about to engage in a transaction for which the remaining
 2   assets of the Debtor were unreasonably small in relation to the business or transaction; or
 3                  b.      intended to incur, or believed or reasonably should have believed that the
 4                                        Debtor’s ability to pay as they became due.
     Debtor would incur, debts beyond the Debtor's
 5          116.    The Transfers of the Debtor's
                                         Debtor’s files, accounts receivable, and funds occurred within
 6   the four years prior to the Petition Date.
 7          117.                                                Debtor’s files, accounts receivable, and
                    At all relevant times, the Transfers of the Debtor's

 8   funds are avoidable as fraudulent pursuant to 11 U.S.C. § 544(b) and CAL.
                                                                          CAL. Civ.
                                                                               CIV. C
                                                                                    CODE
                                                                                      ODE §§ 3439.04(a)

 9 and 3439.07 by one or more creditors who held and hold unsecured claims against the Debtor that
10   were and are allowable against his Estate under 11 U.S.C. § 502 or that were not and are not
11   allowable only under 11 U.S.C. § 502(e), including, without limitation, the Prepetition Creditors.
12          118.    Accordingly, the Transfers that Diab caused the Debtor to make should be avoided
13   as fraudulent under 11 U.S.C. §§ 544(b) and CAL.
                                                 CAL. Civ.
                                                      CIV. CODE
                                                           CODE §§ 3439.04(a) and 3439.07, and such
14   property, or the value thereof, should be recovered and preserved for the benefit of the Estate
15   pursuant to 11 U.S.C. §§ 550 and 551 and C AL. Civ.
                                              CAL.  CIV. CODE
                                                         CODE §
                                                              § 3439.07.
16                                     FIFTH CLAIM FOR RELIEF
17     Avoidance, Recovery, and Preservation of Four-Year Constructive Fraudulent Transfers
18                                          Against All Defendants

19           [11 U.S.C. §§ 544(b), 550, and 551; CAL.
                                                 CAL. Civ.
                                                      CIV. C
                                                           CODE
                                                            ODE §§ 3439.05, and 3439.07]

20          119.    The Plaintiff realleges and incorporates herein by reference each and every allegation
21   contained in paragraphs 1 through 118 as though set forth in full.
22          120.    At the time of the Transfers, the Debtor did not receive reasonably equivalent value

23   in exchange for the Transfers.
24          121.    In many cases, the Debtor received no consideration for the Transfers.
25          122.    The Debtor became insolvent as a result of the Transfers. The Debtor scheduled
26   $141,813,219.09 in total debt to Prepetition Creditors. However, without the files, accounts
27   receivable, and funds, the Transfers left the Debtor with approximately $12,186,500 in assets and
28   ///

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 1
 1 no income stream; virtually none of those alleged $12,186,500 assets have been turned over to the

 2   Trustee despite repeated request for same.
 3           123.    The Transfers left the Debtor remaining assets that were unreasonably small in
 4   relation to the transaction.
 5           124.    On or after the date that the Transfers were made, the Debtor was not paying debts

 6   to the Prepetition Creditors including Validation Partners and DVF II as they came due.
 7           125.    At the time of the Transfers, Diab intended the Debtor to incur, or believed or
 8   reasonably should have believed that the Debtor would incur, debts beyond its ability to pay as they
 9   became due.
10           126.    Thus, at the time of the Transfers, or as a result thereof, the Debtor either:
11                   a.      was insolvent on the date the Transfers were made, or became insolvent was
12 a result thereof;

13                   b.      was engaged or was about to engage in a transaction for which any property
14   remaining with the Debtor was of unreasonably small capital; or
15                   c.      intended to incur, or believed that he would incur, debts beyond his ability to
16   pay as such debts matured.
17           127.    The Transfers of the Debtor's
                                          Debtor’s files, accounts receivable, and funds occurred within
18 the four years prior to the Petition Date.
19           128.                                                Debtor’s files, accounts receivable, and
                     At all relevant times, the Transfers of the Debtor's

20   funds are avoidable as fraudulent pursuant to 11 U.S.C. § 544(b) and CAL.
                                                                          CAL. Civ.
                                                                               CIV. CODE
                                                                                    CODE §§ 3439.05
21 and 3439.07 by one or more creditors who held and hold unsecured claims against the Debtor that

22   were and are allowable against his Estate under 11 U.S.C. § 502 or that were not and are not
23   allowable only under 11 U.S.C. § 502(e), including, without limitation, the Prepetition Creditors.
24           129.    Accordingly, the Transfers that Diab caused the Debtor to make should be avoided
25   as fraudulent under 11 U.S.C. §§ 544(b) and CAL.
                                                 CAL. Civ.
                                                      CIV. CODE
                                                           CODE §§ 3439.05 and 3439.07, and such
26   property, or the value thereof, should be recovered and preserved for the benefit of the Estate
27   pursuant to 11 U.S.C. §§ 550 and 551 and C AL. Civ.
                                              CAL.  CIV. CODE
                                                         CODE §
                                                              § 3439.07.
28   ///

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 1                                     SIXTH CLAIM FOR RELIEF
 2                         Turnover of Estate Property Against All Defendants
 3                                            [11 U.S.C. § 542]
 4          130.    The Plaintiff realleges and incorporates herein by reference each and every allegation
 5   contained in paragraphs 1 through 129 as though set forth in full.
 6          131.    One or all of Diab and LPG’s
                                           LPG's Alter Egos or Fraudulent Transferees have possession
 7   or control over property of the Estate, including but not limited to the files, accounts receivable, and
 8   funds; including LPG’s
                      LPG's Merchant Account at FIS where Diab has orchestrated the post-petition
 9 transfer of in excess of $6,000,000 of Estate Property to entities owned and controlled by Diab and

10   his associates/co-conspirators. None of those approximately $6,000,000 in post-petition payment
11   assets have been turned over to the Trustee despite repeated request for same.
12          132.    The files, accounts receivable, funds, and potentially other property are property of
13   the Estate and are not of inconsequential value to the Estate.
14          133.    The files, accounts receivable, and funds that are the subject of the Transfers are
15   paramount to the operation of the Debtor and its ability to pay creditors.
16          134.    Accordingly, the Trustee is entitled to a judgment for turnover of the files, accounts
17   receivable, and funds pursuant to 11 U.S.C. § 542.
18                                     RESERVATION OF RIGHTS

19          135.    The Plaintiff reserves the right to bring all other claims or causes of action that the
20   Plaintiff may have against any of the defendants, on any and all grounds, as allowed under the law
21   or in equity, including but not limited to, those claims not known by the Trustee at this time but that
22   he may discover during the pendency of this adversary proceeding.
23                                         PRAYER FOR RELIEF
24          WHEREFORE, the Plaintiff prays for a judgment as follows:

25          On the First Claim for Relief:
26          1.      Control over ACH Transfers: Entry of a preliminary injunction prohibiting
27   interference with any ACH Transfer being executed pursuant to documents authorizing such
28   transfers to be executed in favor of LPG as follows:

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 1
 1                  a.      Covered Entities and Individuals: The following entities and individuals, and
 2   anyone acting on their behalf: LPG, Oakstone; Greyson; Phoenix; Maverick; LGS Holdco, LLC;
 3 CLG; Vulcan; Coast Processing; Prime Logix; Tony Diab; Rosa Loli aka Rosa Bianca Loli aka

 4   Bianca Loli; Lisa Cohen, Dan March, Ty Carss, Eng Taing, Heng Taing and all other aliases, agents,
 5   or corporate entities affiliated with same shall, absent further order from this Court:
 6                  b.      Enjoined Conduct re ACH Instructions: No covered entity or individual shall
 7   initiate, cause to be initiated, or instruct any company or person that processes ACH transfers and/or
 8 their affiliated financial institution including EPPS; Equipay; Authorize.net; World Global;

 9   Optimum Bank; Marich Bein; BankUnited, N.A.; Revolv3; FIS; Guardian; Payliance; Touzi;
10   Seamless; Dwolla; Stripe; and/or any entity associated with the ACH identification transaction
11 "LPG
   “LPG 949-226-6262 #5 2363 RT 9 TOMS RIVER NJ 0875"
                                                0875” or any such substantially similar ACH
12   identification transaction, to execute any ACH EFT on any file, financial institution, or current or
13   former client of LPG, to or for the benefit of LPG including but not limited to Oakstone; Greyson;
14   Phoenix;; Maverick; Prime Logix; and Vulcan without the express written authorization of Trustee;
15                  c.      Enjoined Conduct re Bank Accounts: No covered entity or individual shall
16   open, or cause to be opened, any account, whether business or personal, that can receive or send
17 money or anything of value, at any company including banking, financial, or similar institution

18 and/or receive, directly or indirectly, any funds drawn from ACH Transfers;
19          2.      Execution of ACH Transfers: Entry of a preliminary injunction prohibiting
20   interference with any ACH Transfer being executed pursuant to documents authorizing such
21 transfers to be executed in favor of LPG as follows:

22                  a.      Covered Entities and Individuals: All companies capable of processing ACH
23   transfers including EPPS; Equipay; Authorize.net; World Global; Optimum Bank; Marich Bein;
24   BankUnited, N.A.; Revolv3; FIS; Guardian; Payliance; Touzi; Seamless; Dwolla; Stripe; and/or any
25                                                             “LPG 949-226-6262 #5 2363 RT 9 TOMS
     entity associated with the ACH identification transaction "LPG
26            0875,” or any such substantially similar ACH identification transaction, are enjoined
     RIVER NJ 0875,"
27   absent further order of this court, from:
28   ///

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 1                         i.       Enjoined Conduct re ACH Transfers: No covered entity or individual
 2   shall initiate or receive funds from any ACH EFT on any file, financial institution, or current or
 3   former client of LPG, to or for the benefit of LPG or any one or more of its alleged assignees or
 4   transferees including, but not limited to, Oakstone; Greyson; Phoenix; Maverick; Prime Logix
 5 and/or Touzi;

 6                        ii.       Injunction Mandating Turnover to Trustee: All covered entities or
 7   individuals shall hold in trust any and all funds, receipts, and transfers related to any account, file,
 8   or current or former client of LPG, or any one or more of its alter egos or fraudulent transferees,
 9   including but not limited to Oakstone; Greyson; Phoenix; Maverick; LGS Holdco, LLC; CLG (as
10   to 40% of all Transfers for which reasonably fair value was not paid at the time each of the
11   Transfers); Vulcan; Coast Processing; Prime Logix; Touzi, Tony Diab; Rosa Loli aka Rosa Bianca
12   Loli aka Bianca Loli; Lisa Cohen, Eng Taing, Heng Taing and/or other aliases, agents or corporate
13   entities affiliated with same until expressly directed to release, wire or transfer such funds by the
14   Trustee and to a bank account whose information shall be provided with any such request; and, shall
15   upon request by the Trustee provide an accounting of any and all such funds held in trust to the
16   Trustee upon written request within 10 days of said request;
17                  b.      enjoining LPG, or any one or more of its alter egos or fraudulent transferees,
18   including but not limited to Oakstone; Greyson; Phoenix; Maverick; LGS Holdco, LLC; CLG;
19   Vulcan; Coast Processing; Prime Logix; Tony Diab; Rosa Loli aka Rosa Bianca Loli aka Bianca
20   Loli; Lisa Cohen and/or other corporate entities affiliated with same, from incurring, taking out, or
21   pledging any receivables of LPG or any one or more of its alter ego entities, including but not limited
22   to, Oakstone; Phoenix; Maverick; Prime Logix and/or CLG without seeking leave of court;

23                  c.      enjoining LPG, or any one or more of its alter egos or fraudulent transferees,
24   including but not limited to Oakstone; Greyson; Phoenix; Maverick; LGS Holdco, LLC; CLG;
25   Vulcan; Coast Processing; Prime Logix; Tony Diab; Rosa Loli aka Rosa Bianca Loli aka Bianca
26   Loli; Lisa Cohen and/or other aliases, agents or corporate entities affiliated with same, from
27   instructing any person and/or Client to cancel and/or demand a refund from LPG; Oakstone;
28   Phoenix; Maverick; LGS Holdco, LLC and/or CLG;

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 1
 1                  d.     enjoining Bank of America from allowing any and all funds on behalf of
 2   Prime Logix or Vulcan, including but not limited to account Nos. ending in xxx951 and xxx9021
 3 and/or any other accounts to be withdrawn, wired, drawn against, moved, or otherwise transferred

 4   without the express consent of the Trustee in writing and to a financial account identified by the
 5   Trustee at the time the authorization is provided, and ordering Bank of America to hold in trust such
 6   funds;
 7                  e.     enjoining all persons identified below from accessing or attempting to gain
 8 access whether physically, remotely, electronically, or virtually to the following locations associated

 9   with LPG, or any one or more of its alter egos, including but not limited to Oakstone;; Phoenix;
10   Maverick; LGS Holdco, LLC; CLG; Vulcan; Coast Processing; Prime Logix; Tony Diab; Rosa Loli
11 aka Rosa Bianca Loli aka Bianca Loli; Lisa Cohen and/or aliases, agents or other corporate entities

12 affiliated with same: (1) 3347 Michelson Drive, Suites 400, 410 & 420, Irvine, California 92612;

13   (2) 17542 17th St Suite 100, Tustin, California 92780; (3) Luna's
                                                                Luna’s domain located on AWS; (4) DPP
14   Data or accounts; (5) Accounting Data and/or accounts on NetSuite, Quickbooks and Microsoft
15   SharePoint, G-Suite or other permanent or cloud based systems; (6) ACH processing accounts,
16   whether individual, merchant or business, held at any ACH processing or affiliated financial
17   institution, including but not limited to EPPS; Equipay; Authorize.net; World Global; Optimum
18 Bank; Marich Bein; BankUnited, N.A.; Revolv3; FIS; Guardian; Payliance; Touzi; Seamless;
19 Dwolla; Stripe; and/or any entity associated with the ACH identification transaction "LPG
                                                                                        “LPG 949-226-
20   6262 #5 2363 RT 9 TOMS RIVER NJ 0875",
                                     0875”, or any such substantially similar ACH identification
21 transaction; (7) Vulcan and/or PrimeLogix'
                                  PrimeLogix’ fmancial
                                              financial accounts at Bank of America, including but
22   not limited to Account Nos. ending in xxx951 and xxx9021; and (8) the Email Data, as follows:
23                  i) Tony Diab;
24                  ii) Rosa Loli aka Rosa Bianca Loli aka Bianca Loli;
25                  iii) Lisa Cohen;

26                  iv) Daniel March;

27                  v) Eng Taing;
28                  vi) Maria Eeya Tan;

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 1                  vii) Jake Akers;

 2                  viii) Han Trinh;

 3                  ix) Jayde Trinh;

 4                  x) Wes Thomas;

 5                  xi) William Taylor "Ty"
                                       “Ty” Cans;
                                            Carrs;
 6                  x) Scott James Eadie;

 7                  xi) Jimmy Chhor;

 8                  xii) Brad Lee;

 9                  xiii) Dongliang Jiang;

10                  (ixx) Heng Taing;

11                  (xx) Max Chou.

12                  f.     requiring the United States Postal Service to re direct all mail directed to (1)

13   LPG, 17542 17th St Suite 100, Tustin, California 92780; (2) Oakstone, 888 Prospect Street, Suite
14   200 La Jolla, California 92037; (3) Phoenix, 3347 Michelson Drive, Suites 400, 410 & 420, Irvine,

15   California 92612 and/or P.O. Box 749, Millville, NJ 08332; (4) Primelogix, 3347 Michelson Drive,

16   Suites 400, 410 & 420, Irvine, California 92612; (5) CLG, P.O. Box 412 Elmsford, NY 10523; and
17   (6) Greyson, 3347 Michelson Drive, Suites 400, 410 & 420, Irvine, California 92612; (7) Oakstone,

18   888 Prospect St., Suite 200, La Jolla California 92037 and/or any other address associated with such
19   entities, and ordering the United States Postal Service to forward and re-direct such mail to an

20   address provided by the Trustee until such time as ordered by the Court.

21          On the Second and Third Claims for Relief:

22          3.      avoiding, recovering, and preserving the two-year transfers against all

23   defendants:

24          On the Fourth and Fifth Claims for Relief:

25          4.      avoiding, recovering, and preserving the four-year transfers against all

26   defendants:

27          On the Sixth Claim for Relief:

28          5.      ordering turnover to the Trustee of the following:

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 1
 1                  a.      Information regarding any and all persons who signed a Legal Services
 2   Contract with LPG or whose file was purchased or otherwise transferred to LPG, or any one or more
 3 of its alter egos or fraudulent transferees, including but not limited to Oakstone; Greyson; Phoenix;

 4   Maverick; LGS Holdco, LLC; CLG; Vulcan; Coast Processing; Prime Logix; Tony Diab; Rosa Loli
 5 aka Rosa Bianca Loli aka Bianca Loli; Lisa Cohen; Eng Taing; Heng Taing; Max Chou and/or other

 6   aliases, agents or corporate entities affiliated with same, for which the client's
                                                                               client’s file remains open
 7   and/or continues to make payments under an agreed upon installment contract.
 8                  b.      All Client files, including but not limited to names, contact information, client

 9   file management, communications, account information, letters, pleadings, communications,
10                    financial account information, credit reports, executed legal services contracts,
     payment history, fmancial
11 ACH contracts, executed installment contracts, account balances, debts in dispute, payment history,

12   file status, settlements, debt invalidations and/or any other information created, managed and stored
13                                         program’s software license, key or account, that was opened
     electronically utilizing DPP software program's
14   and is maintained and controlled by LPG, or any one or more of its alter egos, including but not
15   limited to Oakstone; Phoenix; Maverick; LGS Holdco, LLC; CLG; Vulcan; Coast Processing; Prime
16   Logix; Tony Diab; Rosa Loli aka Rosa Bianca Loli aka Bianca Loli; Lisa Cohen; Eng Taing; Heng
17   Taing; Max Chou and/or other aliases, agents or corporate entities affiliated with same;
18                  c.      All administrative usernames and passwords that give the Trustee access to
19 any DPP account held, maintained or controlled by LPG, or any one or more of its alter egos,

20   including but not limited to Oakstone; Phoenix; Maverick; LGS Holdco, LLC; CLG; Vulcan; Coast
21 Processing; Prime Logix; Tony Diab; Rosa Loli aka Rosa Bianca Loli aka Bianca Loli; Lisa Cohen

22   and/or other aliases, agents or corporate entities affiliated with same;
23                  d.      All Client files, including but not limited to names, contact information, client
24   file management, communications, account information, letters, pleadings, communications,
25                    financial account information, credit reports, executed legal services contracts,
     payment history, fmancial

26   ACH contracts, executed installment contracts, account balances, debts in dispute, payment history,
27   file status, settlements, debt invalidations and/or any other information created, managed and stored
28                                                         “LUNA” hosted on AWS and located at the
     electronically utilizing proprietary software program "LUNA"

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 1
 1 current domain "lunapp.com"
                  “lunapp.com” that is maintained and controlled by LPG, or any one or more of its
 2   alter egos, including but not limited to Oakstone; Phoenix; Maverick; LGS Holdco, LLC; CLG;
 3 Vulcan; Coast Processing; Prime Logix; Tony Diab; Rosa Loli aka Rosa Bianca Loli aka Bianca

 4   Loli; Lisa Cohen and/or other aliases, agents or corporate entities affiliated with same;
 5                  e.      All administrative usernames and passwords that give the Trustee access to
 6   any AWS account where Luna, its software program, databases and client information is held, stored
 7   and hosted that is maintained or controlled by LPG, or any one or more of its alter egos, including
 8 but not limited to Oakstone; Phoenix; Maverick; LGS Holdco, LLC; CLG; Vulcan; Coast

 9   Processing; Prime Logix; Tony Diab; Rosa Loli aka Rosa Bianca Loli aka Bianca Loli; Lisa Cohen

10   and/or other aliases, agents or corporate entities affiliated with same;
11                  f.      All ACH files related to Client information, details, accounts, history of
12   EFTs, payments, amounts held, interest on held amounts, penalty fees, nonsufficient fund fees or
13   other ACH related charges to the Clients stored electronically or in hard copy associated with ACH
14   processing service providers and/or affiliated financial institutions, including but not limited to
15   EPPS; Equipay; Authorize.net; World Global; Optimum Bank; Marich Bein; BankUnited, N.A.;
16   Revolv3; FIS; Guardian; Payliance; Seamless; Dwolla; Stripe; and/or any entity associated with the
17 ACH identification transaction "LPG
                                  “LPG 949-226-6262 #5 2363 RT 9 TOMS RIVER NJ 0875",
                                                                               0875”, or any
18 such substantially similar ACH identification transaction;
19                  g.      All files, information, reports, spreadsheets, account numbers, routing

20   numbers, and databases related to transfer of funds out of any account opened, maintained and
21 controlled by LPG, or any one or more of its alter egos, including but not limited to Oakstone;

22   Phoenix; Maverick; LGS Holdco, LLC; CLG; Vulcan; Coast Processing; Prime Logix; Tony Diab;
23   Rosa Loli aka Rosa Bianca Loli aka Bianca Loli; Lisa Cohen and/or other aliases, agents or
24   corporate entities affiliated with same that were processed and executed by ACH processing service
25   providers and/or their affiliated financial institutions, including but not limited to EPPS; Equipay;
26   Authorize.net; World Global; Optimum Bank; Marich Bein; BankUnited, N.A.; Revolv3; FIS;
27   Guardian; Payliance; Seamless; Dwolla; Stripe; and/or any entity associated with the ACH
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 1                              “LPG 949-226-6262 #5 2363 RT 9 TOMS RIVER NJ 0875",
     identification transaction "LPG                                         0875”, or any such
 2   substantially similar ACH identification transaction;
 3                  h.      All administrative usernames and passwords that give the Trustee access to
 4   any ACH processing accounts, software, database or other program at ACH processing service
 5 providers and/or affiliated financial institutions, including but not limited to EPPS; Equipay;

 6   Authorize.net; World Global; Optimum Bank; Marich Bein; BankUnited, N.A.; Revolv3; FIS;
 7   Guardian; Payliance; Seamless; Dwolla; Stripe; or any entity associated with the ACH identification
 8               “LPG 949-226-6262 #5 2363 RT 9 TOMS RIVER NJ 0875",
     transaction "LPG                                         0875”, or any such substantially
 9 similar ACH identification transaction, used to upload or input Client information, initiate Client

10   ACH EFTs, transfer Client ACH funds to outside financial institutions or otherwise manage any
11   account opened, maintained and controlled by LPG, or any one or more of its alter egos, including
12   but not limited to Oakstone, Phoenix; Maverick; LGS Holdco, LLC; CLG; Vulcan; Coast
13   Processing; Prime Logix; Tony Diab; Rosa Loli aka Rosa Bianca Loli aka Bianca Loli; Lisa Cohen
14   and/or other aliases, agents or corporate entities affiliated with same;
15                  i.      All accounting records, files, data and information for LPG, or any one or
16   more of its alter egos, including but not limited to Oakstone; Phoenix; Maverick; LGS Holdco, LLC;
17   CLG; Vulcan; Coast Processing and Prime Logix stored on NetSuite; Quickbooks and Microsoft
18   SharePoint; G-Suite or other permanent or cloud based systems;
19                  j.      All contracts, records, reports, information, data and details regarding the
20   transfer or sale of any Client files or future Client ACH payments to any other law firm,
21   organization, corporate entity, person(s), or investment group (otherwise known as factoring
22   companies) including but not limited to, Oakstone; Greyson; Phoenix; Maverick; LGS Holdco, LLC
23   and/or CLG;
24                  k.      All contracts, records, reports, information, data, cost basis, payment
25   information and details regarding the transfer or receipt of any Client files or future Client ACH
26   payments from any other law firm, organization, corporate entity, person(s), investment or

27   marketing group (otherwise known as capping companies) to LPG or any one or more of its alter
28   egos including, but not limited to, Oakstone; Phoenix; Maverick; LGS Holdco, LLC and/or CLG;

                                                       29
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 1                    l.
                      1.    All information, data, tables, spreadsheets and reports regarding Client
 2   information stored on Airtable cloud based data management system used by LPG, or any one or
 3   more of its alter egos, including but not limited to, Oakstone; Phoenix; Maverick; LGS Holdco, LLC
 4   and/or CLG to manage the aforementioned information;
 5                    m.    All administrative usernames and passwords that give the Trustee access to

 6   any Airtable account opened, maintained or controlled by LPG, or any one or more of its alter egos,
 7   including but not limited to Oakstone; Phoenix; Maverick; LGS Holdco, LLC and/or CLG;
 8                    n.    All email accounts related to LPG, or any one or more of its alter egos,
 9   including but not limited to, Oakstone; Phoenix; Maverick; LGS Holdco, LLC and/or CLG stored
10   maintained and/or hosted on Office 365, G-suite or any other email server, whether physical or cloud
11   based servers;
12                    o.    All post-petition Client ACH payments processed and received by LPG, or
13   any one or more of its alter egos or fraudulent transferees, including but not limited to Oakstone;
14   Greyson; Phoenix; Maverick; Prime Logix; CLG; LGS Holdco, LLC; Vulcan; Tony Diab; Rosa

15   Loli aka Rosa Bianca Loli aka Bianca Loli; Lisa Cohen and/or any other aliases, agents or entities
16   associated with same related to Clients who entered into a Legal Services Contract pre-petition and
17   who have received the services provided in the contract;
18                    p.    All rental payments made by Tony Diab; Lisa Cohen; Vulcan or Prime Logix

19   or from Bank of America Account No. ending in xxx9021 to any landlord(s), property management

20   company(s) or owner(s), including but not limited to Jason Oppenheim of real property located at
21   20101 S.W. Cypress Street, Newport Beach 92660 and at 8 Almanzora, Newport Coast, California
22   92657 utilizing funds originating from LPG, or any one or more of its alter ego entities or fraudulent
23   transferees, including but not limited to, Oakstone; Phoenix; Maverick; CLG; Vulcan and/or Prime
24   Logix; and
25                    q.    All rental payments made by Tony Diab; Lisa Cohen; Vulcan or Prime Logix

26   or from Bank of America Account No. ending in xxx9021 to any landlord(s), property management

27   company(s) or owner(s), including but not limited to 8 Almanzora, LLC, 310 West Profit Pro, Inc.,
28   Lisa Delaney and/or Tong Gan of real property located at 8 Almanzora, Newport Coast, California

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                                                   55
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 1
 1 92657 utilizing funds originating from LPG, or any one or more of its alter ego entities or fraudulent

 2   transferees, including but not limited to, Oakstone; Phoenix; Maverick; CLG; Vulcan and/or Prime
 3   Logix.
 4            On All Claims for Relief:
 5            6.    granting any other and further relief as the Court deems just and proper.
 6   Dated: June 15, 2023                            Respectfully submitted,
 7

 8                                                   DINSMORE & SHOHL LLP
 9

10                                                   By:     /s/ Christopher B. Ghio
                                                             Christopher B. Ghio
11                                                           Christopher Celentino
                                                             Jeremy Freedman
12                                                        Proposed Special Counsel to
                                                          Richard A. Marshack, Chapter 11 Trustee
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                                                              74



 1 Christopher
 1  Christopher B.
                 B. Ghio
                    Ghio (State Bar No.
                         (State Bar No. 259094)
                                        259094)
    Christopher Celentino
    Christopher  Celentino (State
                           (State Bar
                                  Bar No.
                                      No. 131688)
                                          131688)
 2 Jeremy
 2          B. Freedman
    Jeremy B.  Freedman (State
                         (State Bar
                                Bar No.
                                    No. 308752)
                                        308752)
    DINSMORE &
    DINSMORE       & SHOHL
                     SHOHL LLP LLP                                     FILED & ENTERED
 33 655  West Broadway,
    655 West  Broadway, Suite   800
                          Suite 800
    San  Diego, CA
    San Diego,  CA 92101
                    92101
 4 Telephone:
 4  Telephone: 619.400.0500
                 619.400.0500                                               JUN 23 2023
    Facsimile: 619.400.0501
    Facsimile:  619.400.0501
 55 christopher.ghio@dinsmore.com
    christopher.ghio@dinsmore.com                                      CLERK U.S. BANKRUPTCY COURT
    christopher.celentino@dinsmore.com
    christopher.celentino@dinsmore.com                                 Central District of California
                                                                       BY bolte      DEPUTY CLERK
 66 Jeremy.freedman@dinsmore.com
    Jeremy.freedman@dinsmore.com

 77 Proposed
    Proposed Special  Counsel to
              Special Counsel   to Richard
                                   Richard A.
                                           A. Marshack,
                                              Marshack,
    Chapter 11
    Chapter 11 Trustee
                Trustee for the Bankruptcy
                        for the Bankruptcy Estate  of
                                            Estate of
 88 The
    The Litigation Practice Group
        Litigation Practice  Group P.C.
                                    P.C.

 99

10
10                               UNITED STATES
                                 UNITED STATES BANKRUPTCY
                                               BANKRUPTCY COURT
                                                          COURT

11
11               CENTRAL DISTRICT OF
                 CENTRAL DISTRICT OF CALIFORNIA
                                     CALIFORNIA -- SANTA
                                                   SANTA ANA
                                                         ANA DIVISION
                                                             DIVISION

12
12

13 In
13    re:
   In re:                                                 Case No.
                                                          Case No. 8:23-bk-10571-SC
                                                                   8:23-bk-10571-SC

14 THE
14 THE LITIGATION PRACTICE GROUP
       LITIGATION PRACTICE GROUP P.C.,
                                 P.C.,                    Adv. Proc.
                                                          Adv. Proc. No.
                                                                     No. 8:23-ap-01046-SC
                                                                         8:23-ap-01046-SC
15
15          Debtor.
            Debtor.                                       Chapter 11
                                                          Chapter 11
16
16
   RICHARD A.
   RICHARD    A. MARSHACK,
                 MARSHACK,                                ORDER ON
                                                          ORDER   ON TRUSTEE,   RICHARD
                                                                     TRUSTEE, RICHARD
17 Chapter
17 Chapter 11
           11 Trustee,
              Trustee,                                    MARSHACK’S OMNIBUS
                                                          MARSHACK'S    OMNIBUS MOTION
                                                                                   MOTION
                                                          GRANTING
                                                          GRANTING ::
18
18                           Plaintiff,
                             Plaintiff,                   1) TURNOVER
                                                          1) TURNOVER OFOF ESTATE
                                                                           ESTATE PROPERTY
                                                                                     PROPERTY
                                                          AND RECORDED
                                                          AND  RECORDED INFORMATION
                                                                          INFORMATION
19
19                      v.
                        v.                                PURSUANT
                                                          PURSUANT TO   11 U.S.C.
                                                                     TO 11        § 542;
                                                                           U.S.C. § 542;
                                                          2) PRELIMINARY
                                                          2) PRELIMINARY INJUNCTION;
                                                                           INJUNCTION;
20 TONY
20 TONY DIAB,
           DIAB, anan individual;
                       individual; DANIEL
                                   DANIEL S.   S.
   MARCH, an
   MARCH,    an individual;
                 individual; ROSA
                               ROSA BIANCA
                                      BIANCA LOLI,LOLI,   3) LOCK-OUT;
                                                          3) LOCK-OUT;
21 an
21 an individual;
      individual; LISA     COHEN, an
                  LISA COHEN,        an individual;
                                        individual;       4) RE-DIRECTION OF
                                                          4) RE-DIRECTION   OF UNITED
                                                                               UNITED STATES
                                                                                         STATES
   WILLIAM TAYLOR
   WILLIAM     TAYLOR CARSS,CARSS, an an individual;
                                          individual;     PARCEL   SERVICES MAIL;
                                                          PARCEL SERVICES    MAIL;
22 ENG
22       TAING, an
   ENG TAING,      an individual;
                       individual; HENG
                                   HENG TAING,
                                            TAING, an an  5) ORDER
                                                          5) ORDER TO
                                                                    TO SHOW
                                                                       SHOW CAUSE
                                                                              CAUSE RERE
   individual; MARIA
   individual; MARIA EEYA EEYA TAN,
                                  TAN, anan individual;
                                            individual;   COMPLIANCE WITH
                                                          COMPLIANCE    WITH COURT      ORDER;
                                                                              COURT ORDER;
23 JAKE
23        AKERS, an
   JAKE AKERS,       an individual;
                         individual; HAN
                                     HAN TRINH,
                                            TRINH, an an  AND
                                                          AND
   individual; JAYDE
   individual; JAYDE TRINH,
                          TRINH, anan individual;
                                      individual; WES
                                                    WES   6) OTHER
                                                          6) OTHER RELIEF
                                                                    RELIEF AS
                                                                            AS NECESSARY
                                                                               NECESSARY TO  TO
24 THOMAS,
24 THOMAS, an  an individual;
                   individual; SCOTT
                                SCOTT JAMES
                                          JAMES           EFFICIENT  ADMINISTRATION OF
                                                          EFFICIENT ADMINISTRATION        OF THIS
                                                                                             THIS
   EADIE,
   EADIE, anan individual;
               individual; JIMMY      CHHOR, an
                             JIMMY CHHOR,         an      MATTER
                                                          MATTER
25 individual;
25 individual; DONGLIANG
               DONGLIANG JIANG,  JIANG, an an individual;
                                              individual;
   MAX CHOU,
   MAX    CHOU, an an individual;
                       individual; OAKSTONE
                                   OAKSTONE LAW     LAW Date:
                                                          Date: June  12, 2023
                                                                 June 12, 2023
26 GROUP
26 GROUP PC;PC; GREYSON
                 GREYSON LAW          CENTER PC;
                                LAW CENTER         PC;    Time: 1:30
                                                          Time:  1:30 P.M.
                                                                      P.M.
   PHOENIX LAW,
   PHOENIX     LAW, PC; PC; MAVERICK
                             MAVERICK                     Judge: Hon. Scott
                                                          Judge: Hon.        C. Clarkson
                                                                       Scott C. Clarkson
27 MANAGEMENT
27 MANAGEMENT GROUP,    GROUP, LLC;
                                  LLC; LGS
                                         LGS              Place: Courtroom
                                                          Place: Courtroom 5C5C
   HOLDCO, LLC;
   HOLDCO,             CONSUMER LEGAL
               LLC; CONSUMER                     GROUP,
                                       LEGAL GROUP,              411 W.
                                                                 411 W. Fourth
                                                                         Fourth Street
                                                                                 Street
28 P.C.;
28 P.C.; VULCAN
         VULCAN CONSULTING
                     CONSULTING GROUP   GROUP LLC;LLC;           Santa Ana, CA
                                                                 Santa Ana,  CA 92701
                                                                                  92701
   BAT INC.
   BAT   INC. d/b/a   COAST PROCESSING:
               d/b/a COAST      PROCESSING; PRIME PRIME
Case
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1 LOGIX,
1  LOGIX, LLC;
             LLC; TERACEL      BLOCKCHAIN
                   TERACEL BLOCKCHAIN
   FUND II
   FUND    II LLC;
              LLC; EPPS;
                    EPPS; EQUIPAY;
                           EQUIPAY;
2 AUTHORIZE.NET;
2  AUTHORIZE.NET; WORLD  WORLD GLOBAL;
                                    GLOBAL;
   OPTIMUMBANK HOLDINGS,
   OPTIMUMBANK          HOLDINGS, INC.      d/b/a
                                      INC. d/b/a
33 OPTIMUM
   OPTIMUM BANK;BANK; MARICH
                         MARICH BEIN,BEIN, LLC;
                                           LLC;
   BANKUNITED, N.A.;
   BANKUNITED,        N.A.; REVOLV3,
                            REVOLV3, INC.;
                                         INC.;
4 FIDELITY
4  FIDELITY NATIONAL
                NATIONAL INFORMATION
                              INFORMATION
   SERVICES,
   SERVICES, INC.INC. d/b/a
                       d/b/a FIS;
                             FIS; WORLDPAY,
                                  WORLDPAY, LLC;  LLC;
55 WORLDPAY
   WORLDPAY GROUP; GROUP; MERIT
                             MERIT FUND,
                                      FUND, LLC;
                                              LLC;
   GUARDIAN PROCESSING,
   GUARDIAN       PROCESSING, LLC;  LLC;
66 PAYLIANCE,
   PAYLIANCE, LLC; LLC; TOUZI      CAPITAL, LLC;
                          TOUZI CAPITAL,      LLC;
   SEAMLESS
   SEAMLESS CHEX CHEX INC;     DWOLLA, INC.;
                         INC; DWOLLA,      INC.;
77 STRIPE,
   STRIPE, INC.;    and DOES
              INC.; and DOES 11 through
                                  through 100,
                                          100,
   inclusive,
   inclusive,
88

 99                       Defendants.
                          Defendants.

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 Case
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 1
 1          In his capacity
            In his capacity as
                            as the
                               the duly
                                   duly appointed
                                        appointed and
                                                  and acting
                                                      acting Chapter
                                                             Chapter 11
                                                                     11 Trustee,
                                                                        Trustee, Richard
                                                                                 Richard Marshack
                                                                                         Marshack

 2 ("Trustee")
 2 (“Trustee”) filed an Omnibus
               filed an Omnibus Emergency Motion for
                                Emergency Motion for Turnover of Estate
                                                     Turnover of        Property and
                                                                 Estate Property and Recorded
                                                                                     Recorded

 33 Information
    Information Pursuant
                Pursuant to
                         to 11
                            11 U.S.C.
                               U.S.C. §
                                      § 542; Preliminary Injunction;
                                        542; Preliminary Injunction; Lock-Out; Re-Direction of
                                                                     Lock-Out; Re-Direction of United
                                                                                               United

 4 States
 4        Postal Service
   States Postal         Mail; Setting
                 Service Mail;         an Order
                               Setting an Order To
                                                To Show Cause re
                                                   Show Cause    Compliance with
                                                              re Compliance with the
                                                                                 the Court's
                                                                                     Court’s Order
                                                                                             Order

 55 as
    as to
       to Tony Diab, Rosa
          Tony Diab, Rosa Loli aka Rosa
                          Loli aka Rosa Bianca
                                        Bianca Loli
                                               Loli aka
                                                    aka Bianca
                                                        Bianca Loli ("Rosa Loli"),
                                                               Loli ("Rosa Loli"), Lisa Cohen, Daniel
                                                                                   Lisa Cohen, Daniel

 66 March
    March and
          and William
              William Taylor “Ty” Carss;
                      Taylor "Ty" Carss; and
                                         and Other
                                             Other As
                                                   As Necessary
                                                      Necessary to
                                                                to the
                                                                   the Efficient Administration of
                                                                       Efficient Administration of

 7 this
 7 this Matter
        Matter under seal on
               under seal on May
                             May 25,
                                 25, 2023,
                                     2023, which
                                           which matter
                                                 matter was
                                                        was heard
                                                            heard on
                                                                  on May
                                                                     May 25, 2023, pursuant
                                                                         25, 2023, pursuant to
                                                                                            to Local
                                                                                               Local

 88 Bankruptcy
    Bankruptcy Rule
               Rule 9075-1.
                    9075-1. The Court, having
                            The Court,        considered the
                                       having considered the pleadings
                                                             pleadings on
                                                                       on file
                                                                          file and
                                                                               and the
                                                                                   the discussion of
                                                                                       discussion of

 99 the
    the parties
        parties at
                at the
                   the hearing,
                       hearing, and
                                and having
                                    having placed
                                           placed its
                                                  its findings of fact
                                                      findings of      and conclusions
                                                                  fact and             of law
                                                                           conclusions of     in support
                                                                                          law in support of
                                                                                                         of

10 this order
10 this order orally
              orally on
                     on the
                        the record at the
                            record at the hearing,
                                          hearing, and
                                                   and finding that exigent
                                                       fmding that  exigent circumstances
                                                                            circumstances exist
                                                                                          exist and
                                                                                                and good
                                                                                                    good

11 cause
   cause appearing
         appearing therefor,
                   therefor, hereby
                             hereby ORDERS
                                    ORDERS AS
                                           AS FOLLOWS:
                                              FOLLOWS:

12       TURNOVER ORDER
         TURNOVER ORDER OF
                        OF ESTATE
                           ESTATE PROPERTY AND RECORDED
                                  PROPERTY AND RECORDED INFORMATION:
                                                        INFORMATION:

13
13          A. RECORDED
            A. RECORDED INFORMATION
                        INFORMATION

14          Within twenty-four
            Within twenty-four (24)
                               (24) hours
                                    hours from the date
                                          from the date of
                                                        of this
                                                           this Order
                                                                Order or
                                                                      or notice
                                                                         notice thereof,
                                                                                thereof, whichever
                                                                                         whichever is
                                                                                                   is

15 later, the
15 later, the following
              following information
                        information regarding
                                    regarding any
                                              any and
                                                  and all
                                                      all persons
                                                          persons who
                                                                  who signed
                                                                      signed aa Legal
                                                                                Legal Services Contract
                                                                                      Services Contract

16 with LPG
16 with     or whose
        LPG or whose file was purchased
                     file was purchased or
                                        or otherwise
                                           otherwise transferred
                                                     transferred to
                                                                 to LPG; Oakstone Law
                                                                    LPG; Oakstone     Group, PC
                                                                                  Law Group, PC

17 (“Oakstone”); Greyson
17 ("Oakstone"); Greyson Law, P.C. ("Greyson");
                         Law, P.C. (“Greyson”); Gallant
                                                Gallant Law Group, PC
                                                        Law Group, PC ("Gallant")
                                                                      (“Gallant”) and
                                                                                  and its
                                                                                      its affiliate
                                                                                          affiliate

18 Center Pointe;
18 Center Pointe; Phoenix
                  Phoenix Law, PC (Phoenix");
                          Law, PC (Phoenix”); LGS Holdco., LLC;
                                              LGS Holdco.,      Consumer Legal
                                                           LLC; Consumer       Group, PC
                                                                         Legal Group, PC

19 (“CLG”); Maverick
19 ("CLG"); Maverick Management,
                     Management, LLC (“Maverick”); Vulcan
                                 LLC ("Maverick"); Vulcan Consulting
                                                          Consulting Group,
                                                                     Group, LLC (“Vulcan”);
                                                                            LLC ("Vulcan");

20 BAT
20 BAT Inc. d/b/a Coast
       Inc. d/b/a Coast Processing
                        Processing ("Coast
                                   (“Coast Processing");
                                           Processing”); Strategic Consulting Solutions,
                                                         Strategic Consulting Solutions, LLC
                                                                                         LLC

21 ("SCS");
21 (“SCS”); Prime
            Prime Logix,
                  Logix, LLC (“Prime Logix”);
                         LLC ("Prime Logix"); Touzi Capital, LLC
                                              Touzi Capital, LLC ("Touzi");
                                                                 (“Touzi”); Tony
                                                                            Tony Diab;
                                                                                 Diab; Rosa
                                                                                       Rosa Loli
                                                                                            Loli

22 aka
22 aka Rosa
       Rosa Bianca
            Bianca Loli aka Bianca
                   Loli aka Bianca Loli (“Rosa Loli”);
                                   Loli ("Rosa Loli"); Lisa Cohen; Eng
                                                       Lisa Cohen; Eng Taing; Heng Taing;
                                                                       Taing; Heng Taing; Maria
                                                                                          Maria

23 Eeya
23 Eeya Tan;
        Tan; Jake Akers; Jayde
             Jake Akers;       Trinh; Wes
                         Jayde Trinh; Wes Thomas;
                                          Thomas; Scott
                                                  Scott James;
                                                        James; Eadie,
                                                               Eadie, Jimmy Chhor; Dongliang
                                                                      Jimmy Chhor; Dongliang

24 Jiang; Max Chou;
   Jiang; Max Chou; and/or
                    and/or any
                           any other
                               other alias',
                                     alias’, agents
                                             agents or
                                                    or corporate
                                                       corporate entities
                                                                 entities affiliated
                                                                          affiliated with
                                                                                     with same,
                                                                                          same, for
                                                                                                for which
                                                                                                    which

25 the
25 the client's
       client’s file remains open
                file remains open and/or
                                  and/or continues
                                         continues to
                                                   to make
                                                      make payments
                                                           payments under
                                                                    under an
                                                                          an agreed
                                                                             agreed upon
                                                                                    upon installment
                                                                                         installment

26 contract,
26 contract, except those clients
             except those clients who
                                  who signed
                                      signed aa Legal
                                                Legal Services Contract post-petition
                                                      Services Contract post-petition (hereinafter
                                                                                      (hereinafter
27 "Client")
27 “Client”) shall
             shall be
                   be turned
                      turned over
                             over to
                                  to the
                                     the Trustee
                                         Trustee by
                                                 by Debtor:
                                                    Debtor:

28 ///
28 ///


                                                       1
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 1
 1          1. All Client
            1. All Client files,
                          files, including
                                 including but
                                           but not
                                               not limited
                                                   limited to
                                                           to names,
                                                              names, contact
                                                                     contact information, client file
                                                                             information, client file

 2 management,
 2 management, communications,
               communications, account
                               account information,
                                       information, letters, pleadings, communications,
                                                    letters, pleadings, communications, payment
                                                                                        payment

 33 history,
    history, financial account information,
             financial account information, credit
                                            credit reports,
                                                   reports, executed legal services
                                                            executed legal services contracts,
                                                                                    contracts, automated
                                                                                               automated

 4 clearing
 4 clearing house
            house ("ACH")
                  (“ACH”) contracts,
                          contracts, executed installment contracts,
                                     executed installment contracts, account
                                                                     account balances,
                                                                             balances, debts
                                                                                       debts in
                                                                                             in dispute,
                                                                                                dispute,

 55 payment
    payment history,
            history, file
                     file status,
                          status, settlements,
                                  settlements, debt
                                               debt invalidations
                                                    invalidations and/or
                                                                  and/or any
                                                                         any other
                                                                             other information created,
                                                                                   information created,

 66 managed
    managed and
            and stored
                stored electronically
                       electronically utilizing
                                      utilizing DebtPayPro,
                                                DebtPayPro, aa Forth,
                                                               Forth, Inc. (“DPP”) software
                                                                      Inc. ("DPP") software program's
                                                                                            program’s

 7 software
 7 software license,
            license, key or account,
                     key or account, that
                                     that was
                                          was opened
                                              opened and
                                                     and is
                                                         is maintained
                                                            maintained and
                                                                       and controlled
                                                                           controlled by
                                                                                      by LPG;
                                                                                         LPG;

 88 Oakstone;
    Oakstone; Greyson;
              Greyson; Gallant;
                       Gallant; Phoenix;
                                Phoenix; LGS Holdco., LLC;
                                         LGS Holdco., LLC; CLG;
                                                           CLG; Maverick;
                                                                Maverick; Vulcan;
                                                                          Vulcan; Coast
                                                                                  Coast

 99 Processing;
    Processing; SCS; Prime Logix;
                SCS; Prime Logix; Touzi; Tony Diab;
                                  Touzi; Tony Diab; Rosa
                                                    Rosa Loli;
                                                         Loli; Lisa Cohen; Eng
                                                               Lisa Cohen; Eng Taing; Heng Taing;
                                                                               Taing; Heng Taing;

10 Maria Eeya
10 Maria Eeya Tan;
              Tan; Jake Akers; Jayde
                   Jake Akers;       Trinh; Wes
                               Jayde Trinh; Wes Thomas;
                                                Thomas; Scott
                                                        Scott James;
                                                              James; Eadie,
                                                                     Eadie, Jimmy Chhor;
                                                                            Jimmy Chhor;

11 Dongliang
   Dongliang Jiang; Max Chou;
             Jiang; Max Chou; and/or
                              and/or any
                                     any other
                                         other alias',
                                               alias’, agents
                                                       agents or
                                                              or corporate
                                                                 corporate entities affiliated with
                                                                           entities affiliated with same
                                                                                                    same

12 (the
   (the "DPP
        “DPP Data");
             Data”);

13
13          2. All
            2. All administrative
                   administrative usernames
                                  usernames and
                                            and passwords
                                                passwords that
                                                          that give
                                                               give the
                                                                    the Trustee access to
                                                                        Trustee access to any
                                                                                          any DPP
                                                                                              DPP

14 account
   account held,
           held, maintained
                 maintained or
                            or controlled
                               controlled by
                                          by LPG; Oakstone; Greyson;
                                             LPG; Oakstone;          Gallant; Phoenix;
                                                            Greyson; Gallant; Phoenix; LGS Holdco.,
                                                                                       LGS Holdco.,

15
15 LLC; CLG; Maverick;
   LLC; CLG; Maverick; Vulcan;
                       Vulcan; SCS; Coast Processing;
                               SCS; Coast Processing; Prime
                                                      Prime Logix;
                                                            Logix; Touzi; Tony Diab;
                                                                   Touzi; Tony Diab; Rosa
                                                                                     Rosa Loli;
                                                                                          Loli;

16
16 Lisa Cohen; Eng
   Lisa Cohen; Eng Taing; Heng Taing;
                   Taing; Heng        Maria Eeya
                               Taing; Maria      Tan; Jake
                                            Eeya Tan;      Akers; Jayde
                                                      Jake Akers;       Trinh; Wes
                                                                  Jayde Trinh; Wes Thomas;
                                                                                   Thomas; Scott
                                                                                           Scott

17
17 James;
   James; Eadie,
          Eadie, Jimmy Chhor; Dongliang
                 Jimmy Chhor; Dongliang Jiang; Max Chou;
                                        Jiang; Max Chou; and/or
                                                         and/or any
                                                                any other
                                                                    other alias',
                                                                          alias’, agents
                                                                                  agents or
                                                                                         or corporate
                                                                                            corporate

18 entities affiliated
18 entities affiliated with
                       with same;
                            same;

19
19          3. All
            3. All Client
                   Client files,
                          files, including
                                 including but
                                           but not
                                               not limited
                                                   limited to
                                                           to names,
                                                              names, contact
                                                                     contact information, client file
                                                                             information, client file

20 management,
20 management, communications,
               communications, account
                               account information,
                                       information, letters, pleadings, communications,
                                                    letters, pleadings,                 payment
                                                                        communications, payment

21 history,
21 history, financial account information,
            financial account information, credit
                                           credit reports,
                                                  reports, executed
                                                           executed legal
                                                                    legal services
                                                                          services contracts,
                                                                                   contracts, ACH
                                                                                              ACH

22 contracts,
22 contracts, executed
              executed installment
                       installment contracts,
                                   contracts, account
                                              account balances,
                                                      balances, debts
                                                                debts in dispute, payment
                                                                      in dispute, payment history,
                                                                                          history, file
                                                                                                   file

23 status,
23 status, settlements,
           settlements, debt
                        debt invalidations
                             invalidations and/or
                                           and/or any
                                                  any other
                                                      other information
                                                            information created,
                                                                        created, managed
                                                                                 managed and
                                                                                         and stored
                                                                                             stored

   electronically utilizing
24 electronically utilizing proprietary
                            proprietary software
                                        software program
                                                 program "LUNA"
                                                         “LUNA” hosted
                                                                hosted on
                                                                       on Amazon
                                                                          Amazon Web
                                                                                 Web Services
                                                                                     Services

25 ("AWS")
25 (“AWS”) and
           and located at the
               located at the current
                              current domain
                                      domain "lunapp.com"
                                             “lunapp.com” that
                                                          that is
                                                               is maintained
                                                                  maintained and
                                                                             and controlled by LPG;
                                                                                 controlled by LPG;

26 Oakstone;
26 Oakstone; Greyson;
             Greyson; Gallant;
                      Gallant; Phoenix;
                               Phoenix; LGS Holdco., LLC;
                                        LGS Holdco.,      CLG; Maverick;
                                                     LLC; CLG; Maverick; Vulcan;
                                                                         Vulcan; SCS; Coast
                                                                                 SCS; Coast

27 Processing;
27 Processing; Prime
               Prime Logix; Touzi; Tony
                     Logix; Touzi;      Diab; Rosa
                                   Tony Diab; Rosa Loli;
                                                   Loli; Lisa Cohen; Eng
                                                         Lisa Cohen; Eng Taing; Heng Taing;
                                                                         Taing; Heng        Maria
                                                                                     Taing; Maria

28 Eeya
28 Eeya Tan;
        Tan; Jake Akers; Jayde
             Jake Akers;       Trinh; Wes
                         Jayde Trinh; Wes Thomas;
                                          Thomas; Scott
                                                  Scott James;
                                                        James; Eadie,
                                                               Eadie, Jimmy Chhor; Dongliang
                                                                      Jimmy Chhor; Dongliang

                                                      2
                                                      2
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 1 Jiang;
 1        Max Chou
   Jiang; Max Chou and/or
                   and/or any
                          any other
                              other alias',
                                    alias’, agents
                                            agents or
                                                   or corporate
                                                      corporate entities
                                                                entities affiliated
                                                                         affiliated with
                                                                                    with same
                                                                                         same (the
                                                                                              (the "Luna
                                                                                                   “Luna

 2 Data");
 2 Data”);

 33          4. All
             4. All administrative
                    administrative usernames
                                   usernames and
                                             and passwords
                                                 passwords that
                                                           that give
                                                                give the
                                                                     the Trustee
                                                                         Trustee access
                                                                                 access to
                                                                                        to any
                                                                                           any AWS
                                                                                               AWS

 4 account
 4 account where
           where Luna,
                 Luna, its software program,
                       its software program, databases
                                             databases and
                                                       and client
                                                           client information is held,
                                                                  information is held, stored
                                                                                       stored and
                                                                                              and hosted
                                                                                                  hosted

 55 that
    that is maintained or
         is maintained or controlled by LPG;
                          controlled by LPG; Oakstone;
                                             Oakstone; Greyson;
                                                       Greyson; Gallant;
                                                                Gallant; Phoenix;
                                                                         Phoenix; LGS
                                                                                  LGS Holdco.,
                                                                                      Holdco., LLC;
                                                                                               LLC;

 66 CLG;
    CLG; Maverick;
         Maverick; SCS; Vulcan; Coast
                   SCS; Vulcan; Coast Processing;
                                      Processing; Prime
                                                  Prime Logix;
                                                        Logix; Touzi;
                                                               Touzi; Tony Diab; Rosa
                                                                      Tony Diab; Rosa Loli;
                                                                                      Loli; Lisa
                                                                                            Lisa

 77 Cohen;
    Cohen; Eng
           Eng Taing; Heng Taing;
               Taing; Heng Taing; Maria
                                  Maria Eeya Tan; Jake
                                        Eeya Tan;      Akers; Jayde
                                                  Jake Akers;       Trinh; Wes
                                                              Jayde Trinh; Wes Thomas;
                                                                               Thomas; Scott
                                                                                       Scott

 88 James;
    James; Eadie,
           Eadie, Jimmy Chhor; Dongliang
                  Jimmy Chhor; Dongliang Jiang; Max Chou
                                         Jiang; Max Chou and/or
                                                         and/or any
                                                                any other
                                                                    other alias',
                                                                          alias’, agents
                                                                                  agents or
                                                                                         or corporate
                                                                                            corporate

 99 entities
    entities affiliated
             affiliated with
                        with same;
                             same;

10
10           5. All ACH
             5. All ACH files related to
                        files related to Client
                                         Client information, details, accounts,
                                                information, details, accounts, history
                                                                                history of
                                                                                        of electronic
                                                                                           electronic fund
                                                                                                      fund

11 transfers
11 transfers ("EFT"),
             (“EFT”), payments,
                      payments, amounts
                                amounts held,
                                        held, interest on held
                                              interest on held amounts,
                                                               amounts, penalty
                                                                        penalty fees,
                                                                                fees, nonsufficient
                                                                                      nonsufficient fund
                                                                                                    fund

12 fees
12 fees or
        or other
           other ACH
                 ACH related
                     related charges to the
                             charges to the Clients
                                            Clients stored
                                                    stored electronically
                                                           electronically or
                                                                          or in
                                                                             in hard
                                                                                hard copy associated with
                                                                                     copy associated with

13 ACH
13 ACH processing
       processing service
                  service providers
                          providers and/or
                                    and/or affiliated
                                           affiliated financial
                                                      financial institutions, including but
                                                                institutions, including but not
                                                                                            not limited
                                                                                                limited to
                                                                                                        to

14 EPPS;
14 EPPS; EquiPay,
         EquiPay, LLC (“EquiPay”); Merit
                  LLC ("EquiPay"); Merit Fund,
                                         Fund, LLC (“Merit Fund");
                                               LLC ("Merit Fund”); Authorize.net
                                                                   Authorize.net aa subsidiary
                                                                                    subsidiary of
                                                                                               of

15 Visa,
15 Visa, Inc.
         Inc. (“Authorize.net”); World Global;
              ("Authorize.net"); World Global; OptimumBank
                                               OptimumBank Holdings,
                                                           Holdings, Inc.
                                                                     Inc. dba
                                                                          dba Optimum
                                                                              Optimum Bank
                                                                                      Bank

16 ("Optimum
16 (“Optimum Bank");
             Bank”); BankUnited,
                     BankUnited, Inc.
                                 Inc. ("BankUnited");
                                      (“BankUnited”); Marich
                                                      Marich Bein,
                                                             Bein, LLC (“Marich Bein");
                                                                   LLC ("Marich Bein”);

17 Revolv3,
17 Revolv3, Inc. (“Revolv3”); Fidelity
            Inc. ("Revolv3"); Fidelity National
                                       National Information
                                                Information Services,
                                                            Services, Inc. dba FIS
                                                                      Inc. dba FIS ,, including
                                                                                      including but
                                                                                                but not
                                                                                                    not

18 limited
18 limited to
           to its
              its subsidiaries
                  subsidiaries Worldpay,
                               Worldpay, LLC
                                         LLC ,, Worldpay
                                                Worldpay Group
                                                         Group or
                                                               or any
                                                                  any other
                                                                      other subsidiaries
                                                                            subsidiaries providing
                                                                                         providing ACH
                                                                                                   ACH

19 processing
19 processing services
              services ("FIS");
                       (“FIS”); Guardian
                                Guardian Processing,
                                         Processing, LLC (“Guardian”); Payliance,
                                                     LLC ("Guardian"); Payliance, LLC (“Payliance”);
                                                                                  LLC ("Payliance");

20 Seamless
20          Chex, Inc.
   Seamless Chex, Inc. ("Seamless");
                       (“Seamless”); Dwolla,
                                     Dwolla, Inc. (“Dwolla”) Stripe,
                                             Inc. ("Dwolla") Stripe, Inc. (“Stripe”); and/or
                                                                     Inc. ("Stripe"); and/or any
                                                                                             any entity
                                                                                                 entity

21 associated
21 associated with
              with the
                   the ACH
                       ACH identification
                           identification transaction
                                          transaction "LPG
                                                      “LPG 949-226-6262
                                                           949-226-6262 #5 2363 RT
                                                                        #5 2363 RT 99 TOMS
                                                                                      TOMS RIVER
                                                                                           RIVER

22 NJ
22 NJ 0875"
      0875” or
            or any
               any such
                   such substantially
                        substantially similar
                                      similar ACH
                                              ACH identification
                                                  identification transaction
                                                                 transaction (hereinafter
                                                                             (hereinafter the
                                                                                          the "ACH
                                                                                              “ACH

23 Data");
23 Data”);

24
24           6. All files,
             6. All files, information,
                           information, reports,
                                        reports, spreadsheets,
                                                 spreadsheets, account
                                                               account numbers,
                                                                       numbers, routing
                                                                                routing numbers, and
                                                                                        numbers, and

25 databases
25 databases related to transfer
             related to transfer of
                                 of funds
                                    funds out
                                          out of
                                              of any
                                                 any account
                                                     account opened,
                                                             opened, maintained
                                                                     maintained and
                                                                                and controlled
                                                                                    controlled by
                                                                                               by LPG;
                                                                                                  LPG;

26 Oakstone;
26 Oakstone; Greyson;
             Greyson; Gallant;
                      Gallant; Phoenix;
                               Phoenix; LGS Holdco., LLC;
                                        LGS Holdco.,      CLG; Maverick;
                                                     LLC; CLG; Maverick; SCS; Vulcan; Coast
                                                                         SCS; Vulcan; Coast
27 Processing;
27 Processing; Prime
               Prime Logix; Touzi; Tony
                     Logix; Touzi;      Diab; Rosa
                                   Tony Diab; Rosa Loli;
                                                   Loli; Lisa Cohen; Eng
                                                         Lisa Cohen; Eng Taing; Heng Taing;
                                                                         Taing; Heng        Maria
                                                                                     Taing; Maria

28 Eeya
28 Eeya Tan;
        Tan; Jake Akers; Jayde
             Jake Akers;       Trinh; Wes
                         Jayde Trinh; Wes Thomas;
                                          Thomas; Scott
                                                  Scott James;
                                                        James; Eadie,
                                                               Eadie, Jimmy Chhor; Dongliang
                                                                      Jimmy Chhor; Dongliang

                                                       33
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 1 Jiang;
 1        Max Chou;
   Jiang; Max Chou; and/or
                    and/or any
                           any other
                               other alias',
                                     alias’, agents
                                             agents or
                                                    or corporate entities affiliated
                                                       corporate entities affiliated with
                                                                                     with same
                                                                                          same that
                                                                                               that were
                                                                                                    were

 2 processed
 2 processed and
             and executed
                 executed by
                          by ACH
                             ACH processing
                                 processing service
                                            service providers
                                                    providers and/or
                                                              and/or their
                                                                     their affiliated
                                                                           affiliated financial
                                                                                      financial

 33 institutions,
    institutions, including
                  including but
                            but not
                                not limited
                                    limited to
                                            to EPPS;
                                               EPPS; EquiPay; Merit Fund;
                                                     EquiPay; Merit Fund; Authorize.net;
                                                                          Authorize.net; World
                                                                                         World Global;
                                                                                               Global;

 4 Optimum
 4 Optimum Bank;
           Bank; BankUnited;
                 BankUnited; Marich
                             Marich Bein;
                                    Bein; Revolv3;
                                          Revolv3; FIS;
                                                   FIS; Guardian;
                                                        Guardian; Payliance;
                                                                  Payliance; Seamless; Dwolla;
                                                                             Seamless; Dwolla;

 55 Stripe; and/or any
    Stripe; and/or any entity
                       entity associated
                              associated with
                                         with the
                                              the ACH
                                                  ACH identification transaction "LPG
                                                      identification transaction “LPG 949-226-6262 #5
                                                                                      949-226-6262 #5

 66 2363
    2363 RT
         RT 99 TOMS RIVER NJ
               TOMS RIVER NJ 0875"
                             0875” or
                                   or any
                                      any such
                                          such substantially
                                               substantially similar
                                                             similar ACH
                                                                     ACH identification transaction
                                                                         identification transaction

 77 (hereinafter
    (hereinafter the
                 the "ACH
                     “ACH Transfer Data”);
                          Transfer Data");

 88         7. All
            7. All administrative
                   administrative usernames
                                  usernames and
                                            and passwords
                                                passwords that
                                                          that give the Trustee
                                                               give the Trustee access
                                                                                access to
                                                                                       to any
                                                                                          any ACH
                                                                                              ACH

 99 processing
    processing accounts,
               accounts, software,
                         software, database
                                   database or
                                            or other
                                               other program
                                                     program at
                                                             at ACH
                                                                ACH processing
                                                                    processing service
                                                                               service providers
                                                                                       providers

10 and/or
10 and/or affiliated
          affiliated financial
                     financial institutions,
                               institutions, including but not
                                             including but not limited
                                                               limited to
                                                                       to EPPS;
                                                                          EPPS; EquiPay; Merit Fund;
                                                                                EquiPay; Merit Fund;

11 Authorize.net;
11 Authorize.net; World Global; Optimum
                  World Global; Optimum Bank;
                                        Bank; BankUnited;
                                              BankUnited; Marich
                                                          Marich Bein;
                                                                 Bein; Revolv3;
                                                                       Revolv3; FIS;
                                                                                FIS; Guardian;
                                                                                     Guardian;

12 Payliance;
12 Payliance; Seamless; Dwolla; Stripe;
              Seamless; Dwolla;         and/or any
                                Stripe; and/or any entity
                                                   entity associated
                                                          associated with
                                                                     with the
                                                                          the ACH
                                                                              ACH identification
                                                                                  identification

13 transaction
13 transaction "LPG
               “LPG 949-226-6262
                    949-226-6262 #5 2363 RT
                                 #5 2363 RT 99 TOMS
                                               TOMS RIVER
                                                    RIVER NJ
                                                          NJ 0875"
                                                             0875” or
                                                                   or any
                                                                      any such
                                                                          such substantially
                                                                               substantially

14 similar
14 similar ACH
           ACH identification
               identification transaction
                              transaction used
                                          used to
                                               to upload or input
                                                  upload or input Client
                                                                  Client information, initiate Client
                                                                         information, initiate Client

15 ACH
15 ACH EFTs, transfer Client
       EFTs, transfer Client ACH
                             ACH funds to outside
                                 funds to outside financial
                                                  financial institutions
                                                            institutions or
                                                                         or otherwise
                                                                            otherwise manage
                                                                                      manage any
                                                                                             any

16 account
16 account opened,
           opened, maintained
                   maintained and
                              and controlled
                                  controlled by
                                             by LPG; Oakstone; Greyson;
                                                LPG; Oakstone; Greyson; Phoenix;
                                                                        Phoenix; LGS Holdco.,
                                                                                 LGS Holdco.,

17 LLC;
17      CLG; SCS;
   LLC; CLG;      Vulcan; Coast
             SCS; Vulcan; Coast Processing;
                                Processing; Prime
                                            Prime Logix;
                                                  Logix; Touzi;
                                                         Touzi; Tony Diab; Rosa
                                                                Tony Diab; Rosa Loli;
                                                                                Loli; Lisa Cohen;
                                                                                      Lisa Cohen;

18 Eng
18 Eng Taing; Heng Taing;
       Taing; Heng        Maria Eeya
                   Taing; Maria Eeya Tan;
                                     Tan; Jake Akers; Jayde
                                          Jake Akers; Jayde Trinh; Wes Thomas;
                                                            Trinh; Wes Thomas; Scott
                                                                               Scott James;
                                                                                     James; Eadie,
                                                                                            Eadie,

19 Jimmy
19       Chhor; Dongliang
   Jimmy Chhor; Dongliang Jiang; Max Chou;
                          Jiang; Max Chou; and/or
                                           and/or any
                                                  any other
                                                      other alias',
                                                            alias’, agents
                                                                    agents or
                                                                           or corporate
                                                                              corporate entities
                                                                                        entities

20 affiliated
20 affiliated with
              with same;
                   same;

21
21          8. All accounting
            8. All accounting records,
                              records, files,
                                       files, data and information
                                              data and information for
                                                                   for LPG; Oakstone; Greyson;
                                                                       LPG; Oakstone;          Gallant;
                                                                                      Greyson; Gallant;

22 Phoenix;
22 Phoenix; LGS
            LGS Holdco.,
                Holdco., LLC; CLG; SCS;
                         LLC; CLG;      Vulcan; Coast
                                   SCS; Vulcan; Coast Processing;
                                                      Processing; and
                                                                  and Prime
                                                                      Prime Logix stored on
                                                                            Logix stored on

23 NetSuite,
23 NetSuite, Quickbooks
             Quickbooks and
                        and Microsoft
                            Microsoft SharePoint, G-Suite or
                                      SharePoint, G-Suite or other
                                                             other permanent
                                                                   permanent or
                                                                             or cloud
                                                                                cloud based
                                                                                      based systems
                                                                                            systems

24 (hereinafter
24 (hereinafter the
                the "Accounting
                    “Accounting Data");
                                Data”);

25
25          9. All contracts,
            9. All contracts, records,
                              records, reports,
                                       reports, information,
                                                information, data
                                                             data and
                                                                  and details regarding the
                                                                      details regarding the transfer
                                                                                            transfer or
                                                                                                     or sale
                                                                                                        sale

26 of
26 of any
      any Client
          Client files
                 files or
                       or future Client ACH
                          future Client ACH payments
                                            payments to
                                                     to any
                                                        any other
                                                            other law
                                                                  law firm, organization, corporate
                                                                      firm, organization, corporate

27 entity,
27 entity, person(s),
           person(s), or
                      or investment
                         investment group
                                    group (otherwise
                                          (otherwise known
                                                     known as
                                                           as factoring companies) by
                                                              factoring companies) by LPG; Oakstone;
                                                                                      LPG; Oakstone;

28 Greyson;
28 Greyson; Phoenix;
            Phoenix; LGS Holdco., LLC;
                     LGS Holdco., LLC; and/or
                                       and/or CLG
                                              CLG (hereinafter
                                                  (hereinafter the
                                                               the "Client
                                                                   “Client Transfer-Out Data”);
                                                                           Transfer-Out Data");

                                                       4
                                                       4
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 1
 1          10. All contracts,
            10. All contracts, records,
                               records, reports,
                                        reports, information,
                                                 information, data,
                                                              data, cost
                                                                    cost basis,
                                                                         basis, payment
                                                                                payment information and
                                                                                        information and

 2 details
 2 details regarding
           regarding the
                     the transfer
                         transfer or
                                  or receipt
                                     receipt of
                                             of any
                                                any Client
                                                    Client files or future
                                                           files or future Client
                                                                           Client ACH
                                                                                  ACH payments
                                                                                      payments from
                                                                                               from any
                                                                                                    any

 33 other
    other law
          law firm, organization, corporate
              firm, organization, corporate entity, person(s), investment
                                            entity, person(s), investment or
                                                                          or marketing
                                                                             marketing group
                                                                                       group (otherwise
                                                                                             (otherwise

 4 known
 4 known as
         as capping companies) to
            capping companies) to LPG; Oakstone; Greyson;
                                  LPG; Oakstone; Greyson; Gallant;
                                                          Gallant; Phoenix;
                                                                   Phoenix; LGS Holdco., LLC;
                                                                            LGS Holdco., LLC;

 55 Maverick;
    Maverick; and/or
              and/or CLG
                     CLG (hereinafter the "Client
                         (hereinafter the “Client Transfer-In Data”);
                                                  Transfer-In Data");

 66         11. All
            11. All information,
                    information, data, tables, spreadsheets
                                 data, tables, spreadsheets and
                                                            and reports
                                                                reports regarding Client information
                                                                        regarding Client information stored
                                                                                                     stored

 7 on
 7 on Formgrid,
      Formgrid, Inc. dba Airtable's
                Inc. dba Airtable’s ("Airtable")
                                    (“Airtable”) cloud based data
                                                 cloud based data management
                                                                  management system
                                                                             system used
                                                                                    used by
                                                                                         by LPG;
                                                                                            LPG;

 88 Oakstone;
    Oakstone; Greyson; Phoenix; LGS
              Greyson; Phoenix;     Holdco., LLC;
                                LGS Holdco.,      and/or CLG
                                             LLC; and/or CLG to
                                                             to manage
                                                                manage the
                                                                       the aforementioned
                                                                           aforementioned

 99 information
    information (hereinafter the "Airtable
                (hereinafter the “Airtable Data");
                                           Data”); and
                                                   and

10          12. All
            12. All administrative
                    administrative usernames
                                   usernames and
                                             and passwords
                                                 passwords that
                                                           that give
                                                                give the
                                                                     the Trustee access to
                                                                         Trustee access to any
                                                                                           any Airtable
                                                                                               Airtable

11 account
   account opened,
           opened, maintained
                   maintained or
                              or controlled by LPG;
                                 controlled by      Oakstone; Greyson,
                                               LPG; Oakstone; Greyson, Phoenix;
                                                                       Phoenix; LGS Holdco., LLC;
                                                                                LGS Holdco., LLC;

12 Maverick;
   Maverick; and/or
             and/or CLG;
                    CLG; and
                         and

13
13          13. All
            13. All email
                    email accounts
                          accounts related
                                   related to
                                           to LPG; Oakstone; Greyson;
                                              LPG; Oakstone; Greyson; Gallant;
                                                                      Gallant; Phoenix;
                                                                               Phoenix; LGS Holdco.,
                                                                                        LGS Holdco.,

14 LLC; and/or CLG
   LLC; and/or CLG stored
                   stored maintained
                          maintained and/or
                                     and/or hosted
                                            hosted on
                                                   on Office
                                                      Office 365,
                                                             365, g-suite
                                                                  g-suite or
                                                                          or any
                                                                             any other
                                                                                 other email
                                                                                       email server,
                                                                                             server,

15 whether physical
15 whether physical or
                    or cloud based servers
                       cloud based servers (hereinafter “Email Data").
                                           (hereinafter "Email Data”).

16          14. Nothing
            14. Nothing herein
                        herein is
                               is intended to require
                                  intended to require Greyson or its
                                                      Greyson or its owner,
                                                                     owner, Scott
                                                                            Scott Eadie, or Greyson
                                                                                  Eadie, or Greyson

17 employees Jayde
17 employees Jayde Trinh or Han
                   Trinh or Han Trinh
                                Trinh to
                                      to turn
                                         turn over:
                                              over: (a)
                                                    (a) any
                                                        any files
                                                            files for Clients which
                                                                  for Clients which Greyson
                                                                                    Greyson did
                                                                                            did not
                                                                                                not

18 obtain from
18 obtain      or through
          from or through access
                          access to
                                 to data or personnel,
                                    data or personnel, including affiliated attorneys,
                                                       including affiliated attorneys, from
                                                                                       from LPG, Phoenix,
                                                                                            LPG, Phoenix,

19 Oakstone, LGS
19 Oakstone,     Holdco, LLC,
             LGS Holdco,      CLG, or
                         LLC, CLG, or Gallant;
                                      Gallant; (b)
                                               (b) any
                                                   any accounting
                                                       accounting records,
                                                                  records, files,
                                                                           files, data and
                                                                                  data and

20 information
20 information for Clients which
               for Clients which Greyson
                                 Greyson did
                                         did not
                                             not obtain
                                                 obtain from or through
                                                        from or through any
                                                                        any access
                                                                            access to
                                                                                   to data
                                                                                      data or
                                                                                           or personnel,
                                                                                              personnel,

21 including
21 including affiliated
             affiliated attorneys,
                        attorneys, from
                                   from LPG, Phoenix, Oakstone,
                                        LPG, Phoenix, Oakstone, LGS Holdco, LLC,
                                                                LGS Holdco,      CLG, or
                                                                            LLC, CLG, or Gallant;
                                                                                         Gallant;

22 (c)
22 (c) contracts,
       contracts, records,
                  records, reports, information, data
                           reports, information, data and
                                                      and details
                                                          details regarding
                                                                  regarding the
                                                                            the transfer
                                                                                transfer or
                                                                                         or sale
                                                                                            sale of
                                                                                                 of any
                                                                                                    any Client
                                                                                                        Client

23 files
23 files or
         or future Client ACH
            future Client ACH payments
                              payments to
                                       to any
                                          any other
                                              other law firm, organization,
                                                    law firm, organization, corporate
                                                                            corporate entity, person(s),
                                                                                      entity, person(s),

   or investment
24 or            group for
      investment group for Clients
                           Clients which
                                   which Greyson
                                         Greyson did
                                                 did not
                                                     not obtain
                                                         obtain from or through
                                                                from or through any
                                                                                any access
                                                                                    access to
                                                                                           to data
                                                                                              data or
                                                                                                   or

25 personnel,
25 personnel, including
              including affiliated
                        affiliated attorneys,
                                   attorneys, from
                                              from LPG, Phoenix, Oakstone,
                                                   LPG, Phoenix, Oakstone, LGS Holdco, LLC,
                                                                           LGS Holdco,      CLG,
                                                                                       LLC, CLG,

26 or
26 or Gallant. Further, nothing
      Gallant. Further, nothing herein
                                herein is intended to
                                       is intended to prevent
                                                      prevent Greyson
                                                              Greyson from
                                                                      from storing,
                                                                           storing, maintaining,
                                                                                    maintaining, and/or
                                                                                                 and/or
27 hosting
27 hosting email
           email accounts
                 accounts and
                          and domains
                              domains on
                                      on Office
                                         Office 365, g-suite or
                                                365, g-suite or any
                                                                any other
                                                                    other email server, whether
                                                                          email server, whether

28 physical
28 physical or
            or cloud
               cloud based,
                     based, that
                            that is unrelated to
                                 is unrelated to LPG, Phoenix, Oakstone,
                                                 LPG, Phoenix, Oakstone, LGS Holdco, LLC,
                                                                         LGS Holdco,      CLG, or
                                                                                     LLC, CLG, or

                                                         55
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 1 Gallant,
 1 Gallant, and
            and provided
                provided that
                         that such
                              such email accounts and
                                   email accounts and domains
                                                      domains were
                                                              were not
                                                                   not funded
                                                                       funded through,
                                                                              through, acquired
                                                                                       acquired or
                                                                                                or

 2 developed
 2 developed by
             by funds
                funds the
                      the genesis
                          genesis of
                                  of which
                                     which was
                                           was the
                                               the legacy files of
                                                   legacy files of LPG, including but
                                                                   LPG, including but not
                                                                                      not limited to
                                                                                          limited to

 33 any
    any funds
        funds delivered
              delivered after
                        after January 1, 2019,
                              January 1, 2019, from, through or
                                               from, through or affiliated
                                                                affiliated with
                                                                           with Maverick,
                                                                                Maverick, Vulcan.
                                                                                          Vulcan. Coast
                                                                                                  Coast

 4 Processing;
 4 Processing; SCS, Prime Logix,
               SCS, Prime        Oakstone, Gallant,
                          Logix, Oakstone, Gallant, Touzi,
                                                    Touzi, and/or
                                                           and/or any
                                                                  any of
                                                                      of the
                                                                         the ACH
                                                                             ACH payment
                                                                                 payment processors
                                                                                         processors

 55 or
    or financial
       financial institutions
                 institutions named
                              named in
                                    in this
                                       this Order.
                                            Order.

 66         B. ESTATE
            B.        FUNDS
               ESTATE FUNDS

 77         Within five
            Within five (5)
                        (5) calendar days from
                            calendar days from the
                                               the date
                                                   date of
                                                        of this
                                                           this order
                                                                order or
                                                                      or notice
                                                                         notice thereof,
                                                                                thereof, whichever
                                                                                         whichever is later,
                                                                                                   is later,

 88 the
    the following shall be
        following shall be turned
                           turned over
                                  over to
                                       to the
                                          the Trustee:
                                              Trustee:

 99         1. All
            1. All post-petition
                   post-petition Client
                                 Client ACH
                                        ACH payments
                                            payments processed
                                                     processed on
                                                               on or
                                                                  or after
                                                                     after March
                                                                           March 20,
                                                                                 20, 2023,
                                                                                     2023, and
                                                                                           and received
                                                                                               received

10 by
10 by LPG; Oakstone; Greyson;
      LPG; Oakstone; Greyson; Gallant;
                              Gallant; Phoenix;
                                       Phoenix; LGS Holdco., LLC;
                                                LGS Holdco.,      CLG; Maverick;
                                                             LLC; CLG; Maverick; SCS; Vulcan;
                                                                                 SCS; Vulcan;

11 Coast
11 Coast Processing;
         Processing; Prime
                     Prime Logix;
                           Logix; Touzi;
                                  Touzi; Tony
                                         Tony Diab;
                                              Diab; Rosa
                                                    Rosa Loli;
                                                         Loli; Lisa Cohen; Eng
                                                               Lisa Cohen;     Taing; Heng
                                                                           Eng Taing; Heng Taing;
                                                                                           Taing;

12 Maria
12 Maria Eeya
         Eeya Tan;
              Tan; Jake Akers; Jayde
                   Jake Akers;       Trinh; Wes
                               Jayde Trinh; Wes Thomas;
                                                Thomas; Scott
                                                        Scott James;
                                                              James; Eadie,
                                                                     Eadie, Jimmy Chhor;
                                                                            Jimmy Chhor;

13 Dongliang
13 Dongliang Jiang; Max Chou;
             Jiang; Max Chou; and/or
                              and/or any
                                     any other
                                         other alias',
                                               alias’, agents
                                                       agents or
                                                              or corporate
                                                                 corporate entities affiliated with
                                                                           entities affiliated with same
                                                                                                    same

14 related
14 related to
           to LPG Clients who
              LPG Clients who entered
                              entered into
                                      into aa Legal
                                              Legal Services Agreement pre-petition
                                                    Services Agreement pre-petition and
                                                                                    and who
                                                                                        who have
                                                                                            have

15 received
15 received the
            the services
                services provided
                         provided in
                                  in the
                                     the contract;
                                         contract;

16
16          2. The
            2.     $6,308,702.72 million
               The $6,308,702.72 million dollars
                                         dollars in
                                                 in post-petition
                                                    post-petition ACH
                                                                  ACH EFTs processed through
                                                                      EFTs processed through LPG's
                                                                                             LPG’s

17 Revolv3,
17 Revolv3, Inc. merchant account
            Inc. merchant account from
                                  from March
                                       March 2023
                                             2023 to
                                                  to the
                                                     the present,
                                                         present, including
                                                                  including any
                                                                            any amounts
                                                                                amounts that
                                                                                        that have
                                                                                             have

18 been
18 been transferred,
        transferred, wired
                     wired or
                           or otherwise
                              otherwise withdrawn
                                        withdrawn from
                                                  from LPG’s Revolv3, Inc.
                                                       LPG's Revolv3,      merchant account
                                                                      Inc. merchant account to
                                                                                            to

19 Oakstone;
19 Oakstone; Greyson;
             Greyson; Gallant;
                      Gallant; Phoenix;
                               Phoenix; LGS Holdco., LLC;
                                        LGS Holdco.,      CLG; Maverick;
                                                     LLC; CLG; Maverick; SCS; Vulcan; Coast
                                                                         SCS; Vulcan; Coast

20 Processing;
20 Processing; Prime
               Prime Logix; Touzi; Tony
                     Logix; Touzi;      Diab; Rosa
                                   Tony Diab; Rosa Loli;
                                                   Loli; Lisa Cohen; Eng
                                                         Lisa Cohen;     Taing; Heng
                                                                     Eng Taing; Heng Taing; Maria
                                                                                     Taing; Maria

21 Eeya
21 Eeya Tan;
        Tan; Jake Akers; Jayde
             Jake Akers;       Trinh; Wes
                         Jayde Trinh; Wes Thomas;
                                          Thomas; Scott
                                                  Scott James;
                                                        James; Eadie,
                                                               Eadie, Jimmy Chhor; Dongliang
                                                                      Jimmy Chhor; Dongliang

22 Jiang;
22        Max Chou;
   Jiang; Max Chou; and/or
                    and/or any
                           any other
                               other alias',
                                     alias’, agents
                                             agents or
                                                    or corporate entities affiliated
                                                       corporate entities affiliated with
                                                                                     with same;
                                                                                          same;

23
23          3. Nothing
            3. Nothing herein
                       herein is
                              is intended
                                 intended to
                                          to require Greyson to
                                             require Greyson to turnover
                                                                turnover any
                                                                         any post-petition
                                                                             post-petition Client
                                                                                           Client ACH
                                                                                                  ACH

24 payments
24 payments related
            related to
                    to the
                       the approximate
                           approximate 48
                                       48 LPG clients who
                                          LPG clients who are
                                                          are contemplated
                                                              contemplated to
                                                                           to be
                                                                              be serviced
                                                                                 serviced by
                                                                                          by Greyson
                                                                                             Greyson

25 and
25 and for whom Greyson
       for whom         provides the
                Greyson provides the Chapter
                                     Chapter 11
                                             11 Trustee with signed
                                                Trustee with signed retention
                                                                    retention agreement
                                                                              agreement to
                                                                                        to the
                                                                                           the extent
                                                                                               extent

26 such
26 such funds were processed
        funds were processed or
                             or received
                                received after
                                         after the
                                               the date
                                                   date of
                                                        of the
                                                           the signed
                                                               signed retention
                                                                      retention agreement
                                                                                agreement with
                                                                                          with Greyson.
                                                                                               Greyson.
27 ///
27 ///

28 ///
28 ///

                                                         66
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 1
 1                                   PRELIMINARY
                                     PRELIMINARY INJUNCTION
                                                 INJUNCTION

 2
 2          From the
            From the date
                     date of
                          of this
                             this ORDER
                                  ORDER and
                                        and until
                                            until further
                                                  further Ordered
                                                          Ordered by
                                                                  by this
                                                                     this Court:
                                                                          Court:

 33         1. Control
            1.         Over ACH
               Control Over ACH Transfers: All covered
                                Transfers: All         entities and
                                               covered entities and individuals
                                                                    individuals (defined
                                                                                (defined below)
                                                                                         below) are
                                                                                                are

 4 hereby
 4 hereby enjoined
          enjoined and
                   and shall
                       shall not
                             not interfere with any
                                 interfere with any ACH
                                                    ACH electronic
                                                        electronic funds
                                                                   funds transfer
                                                                         transfer being
                                                                                  being executed
                                                                                        executed

 55 pursuant
    pursuant to
             to documents
                documents authorizing
                          authorizing such
                                      such transfers
                                           transfers to
                                                     to be
                                                        be executed
                                                           executed in
                                                                    in favor of LPG
                                                                       favor of     as follows:
                                                                                LPG as follows:

 66                a) Covered
                   a) Covered Entities and Individuals:
                              Entities and Individuals: The
                                                        The following
                                                            following entities and individuals,
                                                                      entities and individuals, and
                                                                                                and

 7 anyone
 7 anyone acting
          acting on
                 on their
                    their behalf:
                          behalf: LPG; Oakstone; Greyson;
                                  LPG; Oakstone; Greyson; Gallant;
                                                          Gallant; Phoenix;
                                                                   Phoenix; LGS Holdco., LLC;
                                                                            LGS Holdco.,      CLG;
                                                                                         LLC; CLG;

 88 Maverick;
    Maverick; Vulcan;
              Vulcan; Coast
                      Coast Processing;
                            Processing; Prime
                                        Prime Logix;
                                              Logix; SCS; Touzi; Tony
                                                     SCS; Touzi;      Diab; Rosa
                                                                 Tony Diab; Rosa Loli;
                                                                                 Loli; Lisa Cohen;
                                                                                       Lisa Cohen;

 99 Eng
    Eng Taing; Heng Taing;
        Taing; Heng        Maria Eeya
                    Taing; Maria Eeya Tan;
                                      Tan; Jake Akers; Jayde
                                           Jake Akers; Jayde Trinh; Wes Thomas;
                                                             Trinh; Wes Thomas; Scott
                                                                                Scott James;
                                                                                      James; Eadie,
                                                                                             Eadie,

10
10 Jimmy Chhor; Dongliang
   Jimmy Chhor; Dongliang Jiang; Max Chou;
                          Jiang; Max Chou; and/or
                                           and/or any
                                                  any other
                                                      other alias',
                                                            alias’, agents
                                                                    agents or
                                                                           or corporate
                                                                              corporate entities
                                                                                        entities

11 affiliated
   affiliated with
              with same
                   same shall,
                        shall, absent
                               absent further
                                      further order
                                              order from this Court,
                                                    from this Court, are
                                                                     are Preliminary
                                                                         Preliminary Enjoined
                                                                                     Enjoined as
                                                                                              as follows:
                                                                                                 follows:

12                         i) Enjoined
                           i)          Conduct re
                              Enjoined Conduct re ACH
                                                  ACH Instructions: No covered
                                                      Instructions: No covered entity or individual
                                                                               entity or individual

13 shall initiate,
13 shall           cause to
         initiate, cause to be
                            be initiated,
                               initiated, or
                                          or instruct any company
                                             instruct any company or
                                                                  or person
                                                                     person that
                                                                            that processes
                                                                                 processes ACH
                                                                                           ACH transfers
                                                                                               transfers

14 and/or
   and/or their
          their affiliated
                affiliated financial
                           financial institutions, including EPPS;
                                     institutions, including EPPS; EquiPay; Merit Fund;
                                                                   EquiPay; Merit Fund; Authorize.net;
                                                                                        Authorize.net;

15 World Global;
15 World Global; Optimum
                 Optimum Bank;
                         Bank; BankUnited;
                               BankUnited; Marich
                                           Marich Bein;
                                                  Bein; Revolv3;
                                                        Revolv3; FIS;
                                                                 FIS; Guardian;
                                                                      Guardian; Payliance;
                                                                                Payliance;

16
16 Seamless; Dwolla; Stripe;
   Seamless; Dwolla;         and/or any
                     Stripe; and/or any entity
                                        entity associated
                                               associated with
                                                          with the
                                                               the ACH
                                                                   ACH identification transaction "LPG
                                                                       identification transaction “LPG

17
17 949-226-6262 #5 2363
   949-226-6262 #5 2363 RT
                        RT 99 TOMS RIVER NJ
                              TOMS RIVER NJ 0875"
                                            0875” or
                                                  or any
                                                     any such
                                                         such substantially
                                                              substantially similar
                                                                            similar ACH
                                                                                    ACH

18 identification transaction,
18 identification transaction, to
                               to execute
                                  execute any
                                          any ACH
                                              ACH EFT on any
                                                  EFT on any file,
                                                             file, financial
                                                                   financial institution, or current
                                                                             institution, or current or
                                                                                                     or

19 former client
19 former        of LPG,
          client of      to or
                    LPG, to or for the benefit
                               for the benefit of
                                               of LPG, including but
                                                  LPG, including but not
                                                                     not limited to Oakstone;
                                                                         limited to Oakstone; Greyson;
                                                                                              Greyson;

20 Phoenix;
20 Phoenix; CLG;
            CLG; Prime
                 Prime Logix;
                       Logix; SCS; Maverick; and/or
                              SCS; Maverick; and/or Vulcan,
                                                    Vulcan, without
                                                            without the
                                                                    the express
                                                                        express authorization
                                                                                authorization of
                                                                                              of

21 Trustee;
21 Trustee;

22
22                         ii) Enjoined
                           ii)          Conduct re
                               Enjoined Conduct    Bank Accounts:
                                                re Bank Accounts: No
                                                                  No covered
                                                                     covered entity or individual
                                                                             entity or individual shall
                                                                                                  shall

23 open,
23 open, or
         or cause
            cause to
                  to be
                     be opened,
                        opened, any
                                any account,
                                    account, whether
                                             whether business
                                                     business or
                                                              or personal,
                                                                 personal, that
                                                                           that can
                                                                                can receive
                                                                                    receive or
                                                                                            or send
                                                                                               send

   money or
24 money or anything
            anything of
                     of value,
                        value, at
                               at any
                                  any company
                                      company including banking, financial,
                                              including banking, financial, or
                                                                            or similar
                                                                               similar institutions
                                                                                       institutions

25 and/or
25 and/or receive,
          receive, directly
                   directly or
                            or indirectly,
                               indirectly, any
                                           any funds drawn from
                                               funds drawn      ACH electronic
                                                           from ACH            fund transfers;
                                                                    electronic fund transfers;

26
26          2. Enjoined
            2. Enjoined Execution of ACH
                        Execution of ACH Transfer: All covered
                                         Transfer: All covered entities and individuals
                                                               entities and individuals (defined
                                                                                        (defined
27 below)
27 below) are
          are hereby
              hereby enjoined and prohibited
                     enjoined and prohibited from interfering with
                                             from interfering with any
                                                                   any ACH
                                                                       ACH electronic
                                                                           electronic funds transfer
                                                                                      funds transfer

28 ///
28 ///

                                                      77
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 1 being
 1 being executed pursuant to
         executed pursuant to documents
                              documents authorizing
                                        authorizing such
                                                    such transfers
                                                         transfers to
                                                                   to be
                                                                      be executed
                                                                         executed in favor of
                                                                                  in favor of LPG as
                                                                                              LPG as

 2 follows:
 2 follows:

 33                 a) Covered
                    a) Covered Entities
                               Entities and
                                        and Individuals: All companies
                                            Individuals: All           capable of
                                                             companies capable of processing
                                                                                  processing ACH
                                                                                             ACH

 4 electronic
 4 electronic funds transfers, including
              funds transfers, including EPPS;
                                         EPPS; EquiPay; Merit Fund;
                                               EquiPay; Merit Fund; Authorize.net;
                                                                    Authorize.net; World
                                                                                   World Global;
                                                                                         Global;

 55 Optimum
    Optimum Bank;
            Bank; BankUnited;
                  BankUnited; Marich
                              Marich Bein;
                                     Bein; Revolv3;
                                           Revolv3; FIS;
                                                    FIS; Guardian;
                                                         Guardian; Payliance,
                                                                   Payliance, Seamless; Dwolla;
                                                                              Seamless; Dwolla;

 66 Stripe; and/or any
    Stripe; and/or any entity
                       entity associated
                              associated with
                                         with the
                                              the ACH
                                                  ACH identification transaction "LPG
                                                      identification transaction “LPG 949-226-6262 #5
                                                                                      949-226-6262 #5

 77 2363
    2363 RT
         RT 99 TOMS RIVER NJ
               TOMS RIVER NJ 0875"
                             0875” or
                                   or any
                                      any such
                                          such substantially
                                               substantially similar
                                                             similar ACH
                                                                     ACH identification transaction
                                                                         identification transaction

 88 are
    are enjoined
        enjoined absent
                 absent further order of
                        further order of this
                                         this court,
                                              court, from:
                                                     from:

 99                         i) Enjoined
                            i)          Conduct re
                               Enjoined Conduct re ACH
                                                   ACH Transfers:
                                                       Transfers: No
                                                                  No covered
                                                                     covered entity
                                                                             entity or
                                                                                    or individual shall
                                                                                       individual shall

10 transfer,
10 transfer, wire,
             wire, divert
                   divert or
                          or otherwise
                             otherwise permit
                                       permit the
                                              the withdraw
                                                  withdraw any
                                                           any funds received from
                                                               funds received from any
                                                                                   any ACH
                                                                                       ACH electronic
                                                                                           electronic

11 funds
11 funds transfer
         transfer on
                  on any
                     any client
                         client file,
                                file, financial institution, or
                                      fmancial institution,  or current
                                                                current or
                                                                        or former
                                                                           former client of LPG,
                                                                                  client of      to or
                                                                                            LPG, to or for the
                                                                                                       for the

12 benefit
12 benefit of
           of LPG
              LPG or
                  or any
                     any or
                         or more
                            more of
                                 of its
                                    its alleged
                                        alleged assignees
                                                assignees or
                                                          or transferees,
                                                             transferees, including
                                                                          including but
                                                                                    but not
                                                                                        not limited to
                                                                                            limited to

13 Oakstone;
13 Oakstone; Greyson; Gallant; Phoenix;
             Greyson; Gallant; Phoenix; LGS Holdco., LLC;
                                        LGS Holdco., LLC; CLG
                                                          CLG and/or
                                                              and/or Maverick
                                                                     Maverick to
                                                                              to any
                                                                                 any financial
                                                                                     financial

14 account
14 account maintained,
           maintained, owned
                       owned or
                             or controlled
                                controlled by
                                           by Vulcan;
                                              Vulcan; Coast
                                                      Coast Processing;
                                                            Processing; Prime
                                                                        Prime Logix;
                                                                              Logix; SCS;
                                                                                     SCS; Touzi;
                                                                                          Touzi;

15 Tony
15 Tony Diab;
        Diab; Rosa
              Rosa Loli;
                   Loli; Lisa Cohen; Eng
                         Lisa Cohen;     Taing; Heng
                                     Eng Taing; Heng Taing; Maria Eeya
                                                     Taing; Maria      Tan; Jake
                                                                  Eeya Tan;      Akers; Jayde
                                                                            Jake Akers; Jayde

16 Trinh;
16 Trinh; Wes Thomas; Scott
          Wes Thomas; Scott James;
                            James; Eadie,
                                   Eadie, Jimmy Chhor; Dongliang
                                          Jimmy Chhor; Dongliang Jiang; Max Chou;
                                                                 Jiang; Max Chou; and/or
                                                                                  and/or any
                                                                                         any

17 other
17 other alias',
         alias’, agents
                 agents or
                        or corporate
                           corporate entities
                                     entities affiliated
                                              affiliated with
                                                         with same.
                                                              same. All
                                                                    All ACH
                                                                        ACH funds
                                                                            funds held
                                                                                  held by
                                                                                       by any
                                                                                          any covered
                                                                                              covered

18 entity
18 entity or
          or individual
             individual shall
                        shall be
                              be held
                                 held in
                                      in trust
                                         trust until
                                               until such
                                                     such time
                                                          time as
                                                               as written
                                                                  written authorization
                                                                          authorization and
                                                                                        and instruction is
                                                                                            instruction is

19 provided
19 provided by
            by Trustee;
               Trustee;

20
20                          ii) Preliminary
                            ii) Preliminary Injunction Mandating Turnover
                                            Injunction Mandating          to Trustee:
                                                                 Turnover to          all covered
                                                                             Trustee: all covered entities
                                                                                                  entities

21 and
21 and individuals shall hold
       individuals shall hold in trust any
                              in trust any and
                                           and all
                                               all funds, receipts, and
                                                   funds, receipts, and transfers
                                                                        transfers related
                                                                                  related to
                                                                                          to any
                                                                                             any account,
                                                                                                 account,

22 file,
22 file, or
         or current or former
            current or former client
                              client of
                                     of LPG; Oakstone; Greyson;
                                        LPG; Oakstone; Greyson; Phoenix;
                                                                Phoenix; LGS Holdco., LLC;
                                                                         LGS Holdco., LLC; CLG;
                                                                                           CLG;

23 Maverick;
23 Maverick; Vulcan;
             Vulcan; Coast
                     Coast Processing;
                           Processing; Prime
                                       Prime Logix;
                                             Logix; SCS; Touzi; Tony
                                                    SCS; Touzi;      Diab; Rosa
                                                                Tony Diab; Rosa Loli;
                                                                                Loli; Lisa Cohen;
                                                                                      Lisa Cohen;

24 Eng
24 Eng Taing; Heng Taing;
       Taing; Heng        Maria Eeya
                   Taing; Maria Eeya Tan;
                                     Tan; Jake Akers; Jayde
                                          Jake Akers;       Trinh; Wes
                                                      Jayde Trinh; Wes Thomas;
                                                                       Thomas; Scott
                                                                               Scott James;
                                                                                     James; Eadie,
                                                                                            Eadie,

25 Jimmy
25       Chhor; Dongliang
   Jimmy Chhor; Dongliang Jiang; Max Chou
                          Jiang; Max Chou and/or
                                          and/or other alias’, agents
                                                 other alias', agents or
                                                                      or corporate
                                                                         corporate entities affiliated
                                                                                   entities affiliated

26 with
26 with same
        same until
             until expressly directed to
                   expressly directed to release, wire or
                                         release, wire or transfer
                                                          transfer such
                                                                   such funds by the
                                                                        funds by the Trustee
                                                                                     Trustee and
                                                                                             and to
                                                                                                 to aa bank
                                                                                                       bank
27 account
27 account whose
           whose information
                 information shall
                             shall be
                                   be provided
                                      provided with
                                               with any
                                                    any such
                                                        such request;
                                                             request; and,
                                                                      and, shall
                                                                           shall upon
                                                                                 upon request
                                                                                      request by
                                                                                              by the
                                                                                                 the

28 ///
28 ///

                                                         88
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 1 Trustee
 1 Trustee provide
           provide an
                   an accounting
                      accounting of
                                 of any
                                    any and
                                        and all
                                            all such
                                                such funds
                                                     funds held
                                                           held in trust to
                                                                in trust to the
                                                                            the Trustee
                                                                                Trustee upon
                                                                                        upon written
                                                                                             written

 2 request
 2 request within
           within 10
                  10 days
                     days of
                          of said
                             said request;
                                  request;

 33         3. LPG;
            3.      Oakstone; Greyson;
               LPG; Oakstone; Greyson; Gallant;
                                       Gallant; Phoenix;
                                                Phoenix; LGS Holdco., LLC;
                                                         LGS Holdco.,      CLG; SCS;
                                                                      LLC; CLG;      Vulcan; Coast
                                                                                SCS; Vulcan; Coast

 4 Processing;
 4 Processing; Prime
               Prime Logix;
                     Logix; SCS;
                            SCS; Touzi;
                                 Touzi; Tony Diab; Rosa
                                        Tony Diab; Rosa Loli;
                                                        Loli; Lisa Cohen; Eng
                                                              Lisa Cohen; Eng Taing; Heng Taing;
                                                                              Taing; Heng Taing;

 55 Maria
    Maria Eeya
          Eeya Tan;
               Tan; Jake Akers; Jayde
                    Jake Akers; Jayde Trinh; Wes Thomas;
                                      Trinh; Wes Thomas; Scott
                                                         Scott James;
                                                               James; Eadie,
                                                                      Eadie, Jimmy Chhor;
                                                                             Jimmy Chhor;

 66 Dongliang
    Dongliang Jiang; Max Chou
              Jiang; Max Chou and/or
                              and/or any
                                     any other
                                         other alias',
                                               alias’, agents
                                                       agents or
                                                              or corporate
                                                                 corporate entities
                                                                           entities affiliated
                                                                                    affiliated with
                                                                                               with same
                                                                                                    same

 77 are
    are hereby enjoined and
        hereby enjoined and shall
                            shall not
                                  not incur,
                                      incur, take
                                             take out
                                                  out or
                                                      or pledge
                                                         pledge any
                                                                any receivables of LPG;
                                                                    receivables of      Oakstone;
                                                                                   LPG; Oakstone;

 88 Greyson;
    Greyson; Gallant;
             Gallant; Phoenix;
                      Phoenix; Prime
                               Prime Logix;
                                     Logix; SCS;
                                            SCS; Touzi; Maverick; and/or
                                                 Touzi; Maverick; and/or CLG
                                                                         CLG without
                                                                             without seeking
                                                                                     seeking leave
                                                                                             leave

 99 of
    of court;
       court;

10
10          4. Any
            4. Any and
                   and all
                       all funds
                           funds held
                                 held at
                                      at Bank
                                         Bank of
                                              of America
                                                 America on
                                                         on behalf
                                                            behalf of
                                                                   of Prime
                                                                      Prime Logix and/or Vulcan,
                                                                            Logix and/or Vulcan,

11 including
11 including but
             but not
                 not limited
                     limited to
                             to account
                                account Nos.
                                        Nos. ending in xxx951
                                             ending in xxx951 and
                                                              and xxx9021
                                                                  xxx9021 and/or
                                                                          and/or any
                                                                                 any other
                                                                                     other financial
                                                                                           financial

12 accounts
12 accounts having
            having received
                   received funds
                            funds originating
                                  originating from
                                              from LPG; Oakstone; Greyson;
                                                   LPG; Oakstone; Greyson; Gallant;
                                                                           Gallant; Phoenix;
                                                                                    Phoenix; LGS
                                                                                             LGS

13 HoldCo.,
13 HoldCo., LLC; CLG; and/or
            LLC; CLG; and/or Maverick
                             Maverick shall
                                      shall be
                                            be held
                                               held in trust and
                                                    in trust and shall
                                                                 shall not
                                                                       not be
                                                                           be with
                                                                              with withdrawn,
                                                                                   withdrawn, wired,
                                                                                              wired,

14 drawn
14 drawn against,
         against, moved,
                  moved, or
                         or otherwise
                            otherwise transferred
                                      transferred without
                                                  without the
                                                          the express consent of
                                                              express consent of the
                                                                                 the Trustee
                                                                                     Trustee in writing
                                                                                             in writing

15 and
15 and to
       to aa financial account identified
             financial account identified by
                                          by the
                                             the Trustee
                                                 Trustee at
                                                         at the
                                                            the time
                                                                time the
                                                                     the authorization
                                                                         authorization is
                                                                                       is provided.
                                                                                          provided.

16
16          5. Nothing herein
            5. Nothing herein is
                              is intended
                                 intended to
                                          to prevent
                                             prevent Greyson
                                                     Greyson or
                                                             or its owner, Scott
                                                                its owner, Scott Eadie, or Greyson
                                                                                 Eadie, or Greyson

17 employees
17 employees Jayde Trinh or
             Jayde Trinh or Han
                            Han Trinh
                                Trinh from initiating, causing
                                      from initiating, causing to
                                                               to be
                                                                  be initiated,
                                                                     initiated, or
                                                                                or instructing
                                                                                   instructing any
                                                                                               any

18 company
18 company or
           or person
              person that
                     that process
                          process ACH
                                  ACH transfers
                                      transfers to
                                                to execute
                                                   execute any
                                                           any ACH
                                                               ACH EFT on any
                                                                   EFT on any file
                                                                              file or
                                                                                   or financial
                                                                                      financial

19 institution
19 institution related
               related to
                       to any
                          any Clients
                              Clients which
                                      which Greyson
                                            Greyson did not obtain
                                                    did not obtain from
                                                                   from or
                                                                        or through
                                                                           through access
                                                                                   access to
                                                                                          to data
                                                                                             data or
                                                                                                  or

20 personnel,
20 personnel, including
              including affiliated
                        affiliated attorneys,
                                   attorneys, from
                                              from LPG, Phoenix, Oakstone,
                                                   LPG, Phoenix, Oakstone, LGS Holdco, LLC,
                                                                           LGS Holdco,      CLG,
                                                                                       LLC, CLG,

21 or
21 or Gallant, or related
      Gallant, or related to
                          to the
                             the approximate
                                 approximate 48
                                             48 LPG
                                                LPG clients
                                                    clients who
                                                            who are
                                                                are contemplated
                                                                    contemplated to
                                                                                 to be
                                                                                    be serviced
                                                                                       serviced by
                                                                                                by

22 Greyson,
22 Greyson, or
            or whom
               whom Greyson
                    Greyson provides
                            provides the
                                     the Chapter
                                         Chapter 11
                                                 11 Trustee
                                                    Trustee with
                                                            with signed
                                                                 signed retention
                                                                        retention agreement,
                                                                                  agreement, and
                                                                                             and as
                                                                                                 as

23 to
23 to which
      which such
            such processing
                 processing occurs
                            occurs from
                                   from and
                                        and after
                                            after the
                                                  the date
                                                      date of
                                                           of the
                                                              the signed
                                                                  signed retention
                                                                         retention agreement.
                                                                                   agreement.

24
24                                           LOCKOUT ORDER
                                             LOCKOUT ORDER

25
25          From the
            From the date
                     date of
                          of this
                             this ORDER
                                  ORDER until
                                        until further order of
                                              further order of this
                                                               this Court:
                                                                    Court:

26
26          1. All
            1. All persons
                   persons identified
                           identified below
                                      below are
                                            are enjoined and shall
                                                enjoined and shall not
                                                                   not access
                                                                       access or
                                                                              or attempt
                                                                                 attempt to
                                                                                         to gain access
                                                                                            gain access

27 whether
27 whether physically,
           physically, remotely,
                       remotely, electronically, or virtually
                                 electronically, or virtually to
                                                              to the
                                                                 the following locations associated
                                                                     following locations associated with
                                                                                                    with

28 LPG;
28      Oakstone; Greyson;
   LPG; Oakstone; Greyson; Gallant;
                           Gallant; Phoenix;
                                    Phoenix; LGS Holdco., LLC;
                                             LGS Holdco.,      CLG; Maverick;
                                                          LLC; CLG; Maverick; Vulcan;
                                                                              Vulcan; Coast
                                                                                      Coast

                                                       99
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 1 Processing;
 1 Processing; Prime
               Prime Logix;
                     Logix; SCS;
                            SCS; Touzi;
                                 Touzi; Tony Diab; Rosa
                                        Tony Diab; Rosa Loli;
                                                        Loli; Lisa Cohen; Eng
                                                              Lisa Cohen;     Taing; Heng
                                                                          Eng Taing; Heng Taing;
                                                                                          Taing;

 2 Maria
 2 Maria Eeya
         Eeya Tan;
              Tan; Jake Akers; Jayde
                   Jake Akers;       Trinh; Wes
                               Jayde Trinh; Wes Thomas;
                                                Thomas; Scott
                                                        Scott James;
                                                              James; Eadie,
                                                                     Eadie, Jimmy Chhor;
                                                                            Jimmy Chhor;

 33 Dongliang
    Dongliang Jiang; Max Chou;
              Jiang; Max Chou; and/or
                               and/or any
                                      any other alias’, agents
                                          other alias', agents or
                                                               or corporate
                                                                  corporate entities affiliated with
                                                                            entities affiliated with same:
                                                                                                     same:

 4 a)
 4 a) 3347 Michelson Drive,
      3347 Michelson Drive, Suites 400, 410
                            Suites 400, 410 &
                                            & 420,
                                              420, Irvine, California 92612;
                                                   Irvine, California        b) 17542
                                                                      92612; b) 17542 17th
                                                                                      17th St
                                                                                           St Suite
                                                                                              Suite

 55 100,
    100, Tustin, California 92780;
         Tustin, California        b) Luna’s
                            92780; b) Luna's domain located on
                                             domain located on AWS;
                                                               AWS; c)
                                                                    c) DPP
                                                                       DPP Data
                                                                           Data or
                                                                                or accounts;
                                                                                   accounts; d)
                                                                                             d)

 66 Accounting
    Accounting Data
               Data and/or
                    and/or accounts
                           accounts on
                                    on NetSuite,
                                       NetSuite, Quickbooks
                                                 Quickbooks and
                                                            and Microsoft
                                                                Microsoft SharePoint, G-Suite or
                                                                          SharePoint, G-Suite or

 77 other
    other permanent
          permanent or
                    or cloud based systems;
                       cloud based systems; e)
                                            e) ACH
                                               ACH processing
                                                   processing accounts,
                                                              accounts, whether
                                                                        whether individual,
                                                                                individual, merchant
                                                                                            merchant

 88 or
    or business,
       business, held
                 held at
                      at any
                         any ACH
                             ACH processing
                                 processing or
                                            or affiliated
                                               affiliated financial institution, including
                                                          financial institution, including but
                                                                                           but not
                                                                                               not limited
                                                                                                   limited

 99 to
    to EPPS;
       EPPS; EquiPay; Merit Fund;
             EquiPay; Merit Fund; Authorize.net;
                                  Authorize.net; World
                                                 World Global;
                                                       Global; Optimum
                                                               Optimum Bank;
                                                                       Bank; BankUnited;
                                                                             BankUnited; Marich
                                                                                         Marich

10 Bein;
10 Bein; Revolv3;
         Revolv3; FIS;
                  FIS; Guardian;
                       Guardian; Payliance;
                                 Payliance; Seamless; Dwolla; Stripe;
                                            Seamless; Dwolla;         and/or any
                                                              Stripe; and/or any entity
                                                                                 entity associated
                                                                                        associated

11 with
11 with the
        the ACH
            ACH identification transaction "LPG
                identification transaction “LPG 949-226-6262 #5 2363
                                                949-226-6262 #5 2363 RT
                                                                     RT 99 TOMS
                                                                           TOMS RIVER
                                                                                RIVER NJ
                                                                                      NJ 0875"
                                                                                         0875”

12 or
12 or any
      any such
          such substantially
               substantially similar
                             similar ACH
                                     ACH identification transaction; f)
                                         identification transaction; f) Vulcan
                                                                        Vulcan and/or
                                                                               and/or PrimeLogix'
                                                                                      PrimeLogix’

13 financial
13 financial accounts
             accounts at
                      at Bank
                         Bank of
                              of America,
                                 America, including
                                          including but
                                                    but not
                                                        not limited
                                                            limited to
                                                                    to Account
                                                                       Account Nos.
                                                                               Nos. ending
                                                                                    ending in
                                                                                           in xxx951
                                                                                              xxx951

14 and
14 and xxx9021;
       xxx9021; and
                and g)
                    g) the
                       the Email Data, as
                           Email Data, as follows:
                                          follows:

15
15                 i) Tony
                   i) Tony Diab;
                           Diab;

16
16                 ii) Rosa
                   ii) Rosa Loli aka Rosa
                            Loli aka Rosa Bianca
                                          Bianca Loli aka Bianca
                                                 Loli aka Bianca Loli;
                                                                 Loli;

17
17                 iii) Lisa
                   iii)      Cohen;
                        Lisa Cohen;

18
18                 iv) Daniel
                   iv) Daniel March;
                              March;

19
19                 v) Eng
                   v) Eng Taing;
                          Taing;

20
20                 vi) Maria
                   vi) Maria Eeya Tan (except
                             Eeya Tan (except as
                                              as may
                                                 may be
                                                     be authorized
                                                        authorized by
                                                                   by the
                                                                      the Trustee in the
                                                                          Trustee in the exercise
                                                                                         exercise of
                                                                                                  of

21 his
21 his business
       business judgment)
                judgment)

22
22                 vii) Jake
                   vii)      Akers;
                        Jake Akers;

23
23                 viii) Han
                   viii) Han Trinh;
                             Trinh;

24
24                 ix) Jayde
                   ix)       Trinh;
                       Jayde Trinh;

25
25                 x) Wes
                   x) Wes Thomas;
                          Thomas;

26
26                 xi) William
                   xi) William Taylor
                               Taylor "Ty"
                                      “Ty” Carss
                                           Carss (except
                                                 (except at
                                                         at may
                                                            may be
                                                                be authorized
                                                                   authorized by
                                                                              by the
                                                                                 the Trustee
                                                                                     Trustee in
                                                                                             in the
                                                                                                the
27 exercise
27 exercise of
            of his
               his business
                   business judgment);
                            judgment);

28
28                 x) Scott
                   x) Scott James
                            James Eadie;
                                  Eadie;

                                                      10
                                                      10
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 1
 1                 xi) Jimmy
                   xi)       Chhor;
                       Jimmy Chhor;

 2
 2                 xii) Brad
                   xii) Brad Lee;
                             Lee;

 33                xiii) Dongliang
                   xiii) Dongliang Jiang;
                                   Jiang;

 4
 4                 xiv) Heng
                   xiv) Heng Taing; and
                             Taing; and

 55                xiiv) Max
                   xiiv) Max Chou.
                             Chou.

 66         Nothing herein
            Nothing herein is
                           is intended
                              intended to
                                       to prevent
                                          prevent Greyson
                                                  Greyson or
                                                          or its owner or
                                                             its owner or employees from accessing
                                                                          employees from accessing or
                                                                                                   or

 77 attempting
    attempting to
               to gain
                  gain access
                       access whether
                              whether physically,
                                      physically, remotely,
                                                  remotely, electronically, or virtually
                                                            electronically, or virtually to
                                                                                         to 3347
                                                                                            3347 Michelson
                                                                                                 Michelson

 88 Drive,
    Drive, Suites 400B, Irvine,
           Suites 400B,         California 92612
                        Irvine, California       (but, for
                                           92612 (but, for the
                                                           the sake
                                                               sake of
                                                                    of clarity,
                                                                       clarity, nothing
                                                                                nothing herein confers any
                                                                                        herein confers any

 99 legal
    legal right
          right to
                to possession
                   possession of
                              of access
                                 access to
                                        to such
                                           such suite,
                                                suite, which
                                                       which possession
                                                             possession or
                                                                        or access
                                                                           access is
                                                                                  is governed
                                                                                     governed by
                                                                                              by applicable
                                                                                                 applicable

10 law)
10 law) or
        or from accessing or
           from accessing or attempting
                             attempting to
                                        to gain access whether
                                           gain access whether physically,
                                                               physically, remotely,
                                                                           remotely, electronically,
                                                                                     electronically, or
                                                                                                     or

11 virtually
11 virtually to
             to ACH
                ACH processing
                    processing accounts
                               accounts with
                                        with Revolv3
                                             Revolv3 so
                                                     so long as Greyson
                                                        long as Greyson or
                                                                        or its
                                                                           its owner
                                                                               owner or
                                                                                     or employees
                                                                                        employees do
                                                                                                  do

12 not
12 not access
       access or
              or attempt
                 attempt to
                         to access
                            access any
                                   any ACH
                                       ACH processing
                                           processing account
                                                      account at
                                                              at Revolv3
                                                                 Revolv3 or
                                                                         or otherwise
                                                                            otherwise held
                                                                                      held by
                                                                                           by LPG;
                                                                                              LPG;

13 Prime
13 Prime Logix; Guardian; Oakstone;
         Logix; Guardian; Oakstone; Phoenix;
                                    Phoenix; and/or
                                             and/or any
                                                    any other
                                                        other account
                                                              account previously
                                                                      previously used
                                                                                 used to
                                                                                      to processes
                                                                                         processes

14 LPG
14 LPG client ACH transfers
       client ACH transfers that
                            that is
                                 is not
                                    not in
                                        in Greyson's
                                           Greyson’s own
                                                     own name
                                                         name and
                                                              and established
                                                                  established by
                                                                              by or
                                                                                 or through
                                                                                    through funds
                                                                                            funds the
                                                                                                  the

15 source
15 source of
          of which
             which is
                   is unrelated
                      unrelated to
                                to legacy
                                   legacy LPG
                                          LPG clients and established
                                              clients and established in Greyson’s own
                                                                      in Greyson's own name
                                                                                       name after
                                                                                            after the
                                                                                                  the

16 date
16 date of
        of this
           this Order.
                Order.

17
17                                   ORDER TO
                                     ORDER    RE-DIRECT MAIL
                                           TO RE-DIRECT MAIL

18
18          From the
            From the date
                     date of
                          of this
                             this ORDER
                                  ORDER until
                                        until further order of
                                              further order of this
                                                               this Court:
                                                                    Court:

19
19          1. Trustee
            1.         is hereby
               Trustee is hereby authorized
                                 authorized to
                                            to instruct the United
                                               instruct the United States Postal Service
                                                                   States Postal         to re-direct
                                                                                 Service to re-direct any
                                                                                                      any

20 and
20 and all
       all mail
           mail processed
                processed by
                          by the
                             the United
                                 United States Postal Service
                                        States Postal         Directed to:
                                                      Service Directed to: a)
                                                                           a) LPG, 17542 17th
                                                                              LPG, 17542 17th St
                                                                                              St Suite
                                                                                                 Suite

21 100,
21 100, Tustin, California 92780;
        Tustin, California        b) Oakstone,
                           92780; b) Oakstone, 888 Prospect Street,
                                               888 Prospect Street, Suite 200 La
                                                                    Suite 200 La Jolla, California
                                                                                 Jolla, California

22 92037;
22 92037; c) Phoenix, 3347
          c) Phoenix, 3347 Michelson
                           Michelson Drive,
                                     Drive, Suites 400, 410
                                            Suites 400, 410 &
                                                            & 420,
                                                              420, Irvine, California 92612;
                                                                   Irvine, California        d) Prime
                                                                                      92612; d) Prime

23 Logix,
23 Logix, 3347 Michelson Drive,
          3347 Michelson Drive, Suites 400, 410
                                Suites 400, 410 &
                                                & 420,
                                                  420, Irvine, California 92612;
                                                       Irvine, California 92612; e) CLG, PO
                                                                                 e) CLG, PO Box
                                                                                            Box 412
                                                                                                412

24 Elmsford,
24           NY 10523;
   Elmsford, NY 10523; f) Greyson, 3347
                       f) Greyson, 3347 Michelson
                                        Michelson Drive,
                                                  Drive, Suites 400, 410
                                                         Suites 400, 410 &
                                                                         & 420,
                                                                           420, Irvine,
                                                                                Irvine, California
                                                                                        California

25 92612;
25        and/or any
   92612; and/or any other
                     other address
                           address associated
                                   associated with
                                              with such
                                                   such entities,
                                                        entities, shall
                                                                  shall be
                                                                        be forwarded and re-directed
                                                                           forwarded and re-directed to
                                                                                                     to

26 an
26 an address
      address provided
              provided by
                       by the
                          the Trustee
                              Trustee until
                                      until such
                                            such time
                                                 time as
                                                      as ordered
                                                         ordered by
                                                                 by the
                                                                    the Court.
                                                                        Court. To
                                                                               To the
                                                                                  the extent that the
                                                                                      extent that the
27 Trustee
27 Trustee receives
           receives any
                    any mail
                        mail addressed
                             addressed to
                                       to Greyson,
                                          Greyson, the
                                                   the Trustee
                                                       Trustee shall
                                                               shall .pdf
                                                                     .pdf aa copy
                                                                             copy of
                                                                                  of the
                                                                                     the correspondence
                                                                                         correspondence

28 to
28 to Greyson's
      Greyson’s counsel, Doug Plazak
                counsel, Doug Plazak of
                                     of Reid
                                        Reid &
                                             & Hellyer
                                               Hellyer at
                                                       at dplazak@rhlaw.com,
                                                          dplazak@rhlaw.com, within
                                                                             within 24
                                                                                    24 hours of
                                                                                       hours of


                                                      11
                                                      11
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 C se 8:23-ap-01046-SC               83 Filed 06/23/23
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 1 said
 1 said receipt,
        receipt, unless
                 unless receipt
                        receipt falls on aa Friday
                                falls on    Friday or
                                                   or aa day
                                                         day preceding
                                                             preceding any
                                                                       any Federal
                                                                           Federal or
                                                                                   or State holiday and/or
                                                                                      State holiday and/or

 2 emergency
 2 emergency requiring Trustee’s office
             requiring Trustee's office to
                                        to close, in which
                                           close, in which case
                                                           case any
                                                                any mail
                                                                    mail received by Trustee
                                                                         received by         and
                                                                                     Trustee and

 33 addressed
    addressed to
              to Greyson shall be
                 Greyson shall be forwarded
                                  forwarded to
                                            to Greyson’s counsel the
                                               Greyson's counsel the next business day.
                                                                     next business day.

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 55                                    NOTICE TO
                                       NOTICE    LPG CLIENTS
                                              TO LPG CLIENTS

 66         Trustee
            Trustee is hereby authorized
                    is hereby authorized to
                                         to provide
                                            provide notice
                                                    notice to
                                                           to any
                                                              any and
                                                                  and all
                                                                      all LPG clients, including
                                                                          LPG clients, including those
                                                                                                 those

 77 transferred
    transferred and/or
                and/or assigned
                       assigned to
                                to Oakstone;
                                   Oakstone; Greyson;
                                             Greyson; Gallant;
                                                      Gallant; Phoenix;
                                                               Phoenix; LGS Holdco., LLC;
                                                                        LGS Holdco.,      CLG;
                                                                                     LLC; CLG;

 88 and/or
    and/or Maverick
           Maverick regarding:
                    regarding: i)
                               i) LPG’s Bankruptcy filing;
                                  LPG's Bankruptcy         ii) pending
                                                   filing; ii) pending evaluation of their
                                                                       evaluation of their file;
                                                                                           file; and
                                                                                                 and iii)
                                                                                                     iii)

 99 status
    status prior
           prior to
                 to assuming
                    assuming or
                             or rejecting
                                rejecting their
                                          their contract
                                                contract in
                                                         in substantially
                                                            substantially the
                                                                          the same
                                                                              same form
                                                                                   form of
                                                                                        of notice
                                                                                           notice attached
                                                                                                  attached

10 to
10 to this
      this Order
           Order as
                 as Exhibit 1.
                    Exhibit 1.

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      Date: June 23, 2023                             Scott C. Clarkson
24
24                                                    United States Bankruptcy Judge

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11                                                            Exhibit 1
                                                              Exhibit 1

22
                [Client Name]
                [Client Name]
33                [Date]
                  [Date]
4
4               [Address Line
                [Address Line 1]
                              1]
                [Address Line
                [Address Line 2]
                              2]
 5
 5              [Address Line
                [Address Line 3]
                              3]
                Tel:
                Tel:
 6
 6              Email:
                Email:
 7
 7

 8
 8               RE: STATUS
                 RE:                REGARDING YOUR
                       STATUS REGARDING               YOUR MATTER
                                                               MATTER WITH   WITH THE         LITIGATION
                                                                                       THE LITIGATION
           PRACTICE
           PRACTICE GROUP   GROUP
 99              Dear [Name],
                 Dear  [Name],
                 Please be
                 Please  be advised
                              advised that
                                       that on
                                            on May
                                                May 20,20, 2023,
                                                           2023, The
                                                                  The Litigation    Practice Group
                                                                        Litigation Practice    Group ("LPG")
                                                                                                        (“LPG”)
10
10         filed for
           filed  for protection
                      protection under
                                    under Chapter
                                           Chapter 1111 of
                                                         of the
                                                            the Bankruptcy
                                                                 Bankruptcy Code.
                                                                                Code. OnOn May
                                                                                            May 8,     2023, the
                                                                                                   8, 2023,   the
           United States
           United             Bankruptcy Court—Central
                    States Bankruptcy       Court—Central District
                                                               District of
                                                                         of California,
                                                                             California, Case
                                                                                           Case No.
                                                                                                  No. 8:23-bk-
                                                                                                        8:23-bk-
11
11         10571, appointed
           10571,   appointed Richard
                                  Richard Marshack,
                                           Marshack, Esq.    as the
                                                        Esq. as  the duly
                                                                     duly appointed
                                                                           appointed Chapter
                                                                                        Chapter 1111 Trustee   to
                                                                                                      Trustee to
           oversee the
           oversee   the administration
                          administration ofof LPG’s    Bankruptcy matter.
                                              LPG's Bankruptcy       matter. See    Docket No.
                                                                               See Docket   No. 65.
                                                                                                  65.
12
12               Subsequently,
                 Subsequently, the the United
                                        United States    Bankruptcy Court
                                                 States Bankruptcy     Court authorized
                                                                               authorized Trustee
                                                                                            Trustee to to obtain
                                                                                                           obtain
           information in
           information     in order
                              order to
                                     to review
                                        review and
                                                 and evaluate
                                                      evaluate the
                                                                the status
                                                                     status of
                                                                             of your
                                                                                your file  at LPG
                                                                                      file at        and/or any
                                                                                              LPG and/or     any
13
13         other debt
           other  debt relief   law firm
                        relief law  firm your
                                         your file
                                               file may
                                                    may have
                                                         have been
                                                               been transferred
                                                                     transferred oror assigned
                                                                                      assigned toto at
                                                                                                    at or
                                                                                                       or around
                                                                                                          around
           the time
           the  time LPG     filed for
                      LPG filed        Bankruptcy, including
                                   for Bankruptcy,    including but
                                                                  but not
                                                                      not limited   to Oakstone
                                                                           limited to  Oakstone Law       Group,
                                                                                                    Law Group,
14
14         P.C.; Greyson
           P.C.;   Greyson LawLaw Center,
                                    Center, P.C.;
                                             P.C.; Gallant
                                                    Gallant Law
                                                              Law Group,
                                                                    Group, PC;PC; Phoenix
                                                                                   Phoenix Law,      P.C.; LGS
                                                                                              Law, P.C.;    LGS
           Holdco., LLC;
           Holdco.,            Consumer Legal
                       LLC; Consumer                Group, P.C.
                                           Legal Group,      P.C. and/or
                                                                   and/or Maverick
                                                                            Maverick Management
                                                                                        Management Group, Group,
15
15         LLC.
           LLC.
                 Over the
                 Over  the coming     weeks, Trustee
                             coming weeks,    Trustee Richard
                                                        Richard Marshack
                                                                  Marshack willwill provide
                                                                                    provide status
                                                                                              status of
                                                                                                     of your
                                                                                                         your
16
16         file and
           file and continuation
                     continuation of of legal services pursuant
                                        legal services   pursuant to
                                                                   to the
                                                                      the Legal
                                                                          Legal Services     Agreement with
                                                                                  Services Agreement        with
           LPG.
           LPG.
17
17               We greatly
                 We             appreciate your
                      greatly appreciate   your patience
                                                  patience and
                                                            and cooperation
                                                                 cooperation while
                                                                                while we
                                                                                       we work
                                                                                           work on on your
                                                                                                       your
           behalf.
           behalf.
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                                                                                 Sincerely,
                                                                                 Sincerely,
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20                                                                               [Signatory name]
                                                                                 [Signatory name]

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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

DINSMORE & SHOHL LLP
655 West Broadway, Suite 800
San Diego, California 92101

A true and correct copy (1) of the foregoing document entitled: ANOTHER SUMMONS AND NOTICE OF STATUS
CONFERENCE IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:

ORDER RE: RULE 26(f) MEETING, INITIAL DISCLOSURE, AND SCHEDULING CONFERENCE

NOTICE OF REQUIRED COMPLIANCE WITH RULE 7026 OF THE FEDERAL RULES OF BANKRUPTCY
PROCEDURE AND RULE 7026-1 OF THE LOCAL BANKRUPTCY RULES

AMENDED COMPLAINT FOR: (1) INJUNCTIVE RELIEF; (2) AVOIDANCE, RECOVERY, AND PRESERVATION OF
TWO-YEAR ACTUAL FRAUDULENT TRANSFERS; (3) AVOIDANCE, RECOVERY, AND PRESERVATION OF TWO-
YEAR CONSTRUCTIVE FRAUDULENT TRANSFERS; (4) AVOIDANCE, RECOVERY, AND PRESERVATION OF
FOUR-YEAR ACTUAL FRAUDULENT TRANSFERS; (5) AVOIDANCE, RECOVERY, AND PRESERVATION OF
FOUR-YEAR CONSTRUCTIVE FRAUDULENT TRANSFERS; AND (6) TURNOVER.

ORDER ON TRUSTEE, RICHARD MARSHACK'S
                             MARSHACK’S OMNIBUS MOTION GRANTING: 1) TURNOVER OF ESTATE
PROPERTY AND RECORDED INFORMATION PURSUANT TO 11 U.S.C. § 542; 2) PRELIMINARY INJUNCTION; 3)
LOCK-OUT; 4) RE-DIRECTION OF UNITED STATES PARCEL SERVICES MAIL; 5) ORDER TO SHOW CAUSE RE
COMPLIANCE WITH COURT ORDER; AND 6) OTHER RELIEF AS NECESSARY TO EFFICIENT ADMINISTRATION
OF THIS MATTER

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
                                                                       111 Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) June 23, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Quickbooks - Intuit Inc.
c/o 1505 Corporation / CSC - Lawyers Incorporating Service, Agent for Service of Process
do
2710 Gateway Oaks Drive, Suite 150N
Sacramento, California 95833                                   IZI Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA PERSONAL SERVICE/DELIVERY:
                                                                      D Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 23, 2023               Nicolette D. Murphy                                            egfrol4e                     )
 Date                        Printed
                             Printed Name                                                    Signature
         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2016                                                                                    F 7004-1.SUMMONS.ADV.PROC
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IN RE THE LITIGATION
IN        LITIGATION PRACTICE GROUP P.C. /RICHARD / RICHARD A. MARSHACK
                                                                 MARSHACK v. TONY
                                                                                TONY DIAB, et al.
                    United States Bankruptcy Court Case No. 8:23-bk-10571-SC
                                                            8:23-bk-10571-SC
           United States Bankruptcy Court Adversary Proceeding Case No. 8:23-mp-0102


                                              SERVICE LIST
                                                      LIST


Jake Akers                                              Authorize.Net, a subsidiary of Visa
27 Songbird Lane                                        Attn: 1505 Corporation / CT Corporation System,
Aliso Viejo, California 92656-1232                      Agent for Service of Process
                                                        330 North Brand Boulevard
                                                        Glendale, California 91203

BankUnited, N.A.                                        William Taylor Carss
7815 NW 148th Street                                    6080 Center Drive, 6th Floor
Miami Lakes, Florida 33016                              Los Angeles, California 90045

William Taylor Carss                                    Jimmy Chhor
3347 Michelson Drive, Suite 400                         1918 Pepperdale Drive
Irvine, California 92612                                Rowland Heights, California 91748-3252

Lisa Cohen                                              Consumer Legal Group, P.C.
20101 SW Cypress Street                                 c/o Ronald Richards, Esq.
Newport Beach, California 92660                         LAW OFFICE OF RONALD RICHARDS
                                                        Post Office Box 11480
                                                        Beverly Hills, California 90213

Consumer Legal Group, P.C.                              Tony Diab
c/o USACORP Inc., Agent for Service of Process          20101 SW Cypress Street
325 Division Avenue, Suite 201                          Newport Beach, California 92660
Brooklyn, New York 11211

Scott James Eadie                                       Scott James Eadie
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555 Anton Boulevard, Suite 150                          Newport Beach, California 92660-2140
Costa Mesa, California 92626

Scott James Eadie                                       Equipay
GREYSON LAW CENTER, P.C.                                c/o Resident Agents Inc., Agent for Service of Process
440 North Barranca Avenue, Suite 1331                   8 The Green, Suite R
Covina, California 91723                                Dover, Delaware 19901

Fidelity National Information Service, Inc. d/b/a FIS   Gallant Law Group, PC
Attn: 1505 Corporation / CT Corporation System,         123 South Broad Street, Suite 1640
Agent for Service of Process                            Philadelphia, Pennsylvania 19109
330 North Brand Boulevard
Glendale, California 91203



                                                        1
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Greyson Law Center, P.C.                        Greyson Law Center, P.C.
c/o Douglas A. Plazak, Esq.                     c/o Scott James Eadie
Post Office Box 1300                            440 North Barranca Avenue, Suite 1331
Riverside, California 92502                     Covina, California 91723

Dongliang Jiang                                   LGS Holdco, LLC
19200 Von Karman Avenue, 4-6 Floors               c/o USACORP DE INC., Agent for Service of Process
Irvine, California 92612                          1811 Silverside Road
                                                  Wilmington, Delaware 19810

LGS Holdco, LLC                                   Rosa Bianca Loli
c/o The LLC, Agent for Service of Process         1220 Ensenada Avenue
11 Broadway, Suite 300                            Laguna Beach, California 92651
New York, New York 10004

Rosa Bianca Loli                                  Daniel S. March
3347 Michelson Drive, Suite 400                   LPG / LAW OFFICE OF DANIEL MARCH
Irvine, California 92612                          17291 Irvine Boulevard, Suite 101
                                                  Tustin, California 92780-2966

Marich Bein, LLC                                  Merit Fund, LLC
c/o The LLC, Agent for Service of Process         c/o Mike S Patel, Agent for Service of Process
99 Wall Street, Suite 2669                        3531 Torrance Boulevard
New York, New York 10005                          Torrance, California 90503

Oakstone Law Group, P.C.                          Optimum Bank Holdings, Inc. d/b/a Optimum Bank
c/o 1505 Corporation / CT Corporation System,     c/o Mary Franco, Agent for Service of Process
Agent for Service of Process                      2929 East Commercial Boulevard, Suite 101
330 North Brand Boulevard                         Fort Lauderdale, Florida 33308
Glendale, California 91203

Prime Logix, LLC                                  Prime Logix, LLC
c/o Cloud Peak Law, LLC, Agent for Service of     c/o Rosa Bianca Loli
Process                                           3347 Michelson Drive, Suite 400
1095 Sugar View Drive, Suite 500                  Irvine, California 92612
Sheridan, Wyoming 82801

Prime Logix, LLC                                  Revolv3, Inc.
c/o Rosa Bianca Loli                              c/o United States Corporation Agents, Inc., Agent for
1220 Ensenada Avenue                              Service of Process
Laguna Beach, California 92651                    101 North Brand Boulevard, 11th Floor
                                                  Glendale, California 91203

Maria Eeya Tan                                    Teracel Blockchain Fund II, LLC
3347 Michelson Drive, Suite 400                   c/o Harvard Business Services, Inc., Agent for Service
Irvine, California 92612                          of Process
                                                  16192 Coastal Highway
                                                  Lewes, Delaware 19958



                                                 2
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Wes Thomas                                       Han Trinh
2030 Main Street, Suite 1300                     2128 West Cherry Drive
Irvine California 92614                          Orange, California 92868

Jayde Trinh                                           Vulcan Consulting Group, LLC
2128 West Cherry Drive                                c/o Lisa Cohen, Agent for Service of Process
Orange California 92868-1927                          20101 SW Cypress Street
                                                      Newport Beach, California 92660

WorldPay Global, LLC                                  WorldPay Group
Business Filings Incorporated, Agent for Service of   1505 Corporation / CT Corporation System, Agent for
Process                                               Service of Process
187 Wolf Road, Suite 101                              330 North Brand Boulevard
Albany, New York 12205                                Glendale, California 91203

Amazon.com, Inc.                                      Bank of America, N.A.
c/o Corporation Services Company, Agent for           800 Samoset Drive
Service of Process                                    Newark, Delaware 19713
Attn: Legal Department —– Legal Process
300 Deschutes Way SW, Suite 20
Tumwater, Washington 98501

Formgrid, Inc., d/b/a Airtable                        Google
c/o Corporation Service Company, Agent for            c/o Corporation Service Company, Agent for Service
Service of Process                                    of Process
80 State Street                                       2710 Gateway Oaks Drive, Suite 150N
Albany, New York 12207-2543                           Sacramento, CA 95833

Microsoft                                             Netsuite, a Subsidiary of Oracle
CSC - Lawyers Incorporating Service, Agent for        1505 Corporation / CSC - Lawyers Incorporating
Service of Process                                    Service, Agent for Service of Process
2710 Gateway Oaks Drive, Suite 150N                   2710 Gateway Oaks Drive, Suite 150N
Sacramento, California 95833                          Sacramento, California 95833-3502




                                                      3
